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                                     United States District Court
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

    JUAN LOZADA-LEONI                                          §
                                                               §
    V.                                                         §                              No. 4:20CV68-RWS-CMC
                                                               §
    MONEYGRAM INTERNATIONAL,                                   §
    INC. and MONEYGRAM PAYMENT                                 §
    SYSTEMS, INC.                                              §


                                 REPORT AND RECOMMENDATION
                            OF THE UNITED STATES MAGISTRATE JUDGE


           The above-referenced case was referred to the undersigned United States Magistrate Judge

    for pre-trial purposes in accordance with 28 U.S.C. § 636. Before the Court are the following

    pending motions:

           Defendant MoneyGram International, Inc.’s Motion for Summary Judgment,
           and Brief in Support (Docket Entry # 83); and

           Defendants’ Motion for Summary Judgment, and Brief in Support (Docket
           Entry # 109).

    The Court, having reviewed the relevant briefing, recommends Defendants’ motions for summary

    judgment be DENIED.

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                                           I. FACTUAL BACKGROUND

           In his original complaint and First Amended Complaint, Plaintiff Juan Lozada-Leoni

    (“Plaintiff”) sued MoneyGram International, Inc. (“MGI”), as well as Juan Manuel Gonzalez and

    Christopher Ponder, pursuant to the whistleblower provision of the Corporate and Criminal Fraud

    Accountability Act of 2002, also known as the Sarbanes-Oxley Act (“SOX”), codified at 18 U.S.C.

    § 1514A(a),1 as amended by Section 929A of the Dodd-Frank Wall Street Reform and Consumer

    Protection Act of 2010. On May 16, 2019, Plaintiff filed his Second Amended Complaint (“SAC”),

    dismissing the individual defendants and adding MoneyGram Payments Systems, Inc. (“MPSI”) as

    a defendant, along with MGI (collectively, “Defendants”). See Docket Entry # 21. MPSI is a

    subsidiary of parent company MGI, a publicly-traded money transfer company; MPSI’s financial

    information is included in the consolidated financial statements of MGI. Id., ¶¶ 5-7.

           According to the SAC, on October 21, 2009, MGI entered a Stipulated Order with the Federal

    Trade Commission (“2009 FTC Order”), which enjoined MGI from, among other things, failing to

    establish, implement, and maintain a comprehensive anti-fraud program that was reasonably

    designed to protect United States and Canadian consumers. Id., ¶ 11. On November 9, 2012, MGI

    entered a Deferred Prosecution Agreement (“DPA”) with the United States Department of Justice

    (“DOJ”). Id., ¶ 12. In the DPA, MGI admitted to criminally aiding and abetting wire fraud and failing

    to maintain an effective anti-money laundering program. Id. According to a DOJ November 9, 2012

    press release (“DOJ 2012 Press Release”), MGI was involved in mass marketing and consumer fraud

    phishing schemes, perpetrated by corrupt MGI agents and others, that defrauded tens of thousands

    of victims in the United States. MGI also failed to maintain an effective anti-money laundering


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               Cases addressing this statute refer to this section alternatively as “Section 806" or “Section 1514A.”

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    program in violation of the Bank Secrecy Act. Id.

            On November 8, 2018, the DOJ levied a substantial fine against MGI and entered into an

    Amendment and Extension of Deferred Prosecution Agreement (“Amended DPA”) with MGI. Id.,

    ¶ 14. The Amended DPA extended the DPA entered on November 9, 2012. Id. Under the terms of

    the Amended DPA, the DOJ agreed to continue to defer prosecution for a period of thirty months.

    Id., ¶ 16.

            In a related case, MGI agreed to settle allegations made by the FTC alleging MGI violated

    the 2009 FTC Order. Id., ¶ 17. The Stipulated Order for Compensatory Relief and Modified Order

    for Permanent Injunction (“Modified FTC Order”) required that MGI block money transfers of

    known perpetrators of fraud schemes and provide refunds to fraud victims and enhanced diligence,

    investigative and disciplinary requirements. Id., ¶ 21. According to the SAC,

            [w]hile the Amended DPA and the Modified FTC Order did not single out any one
            of MGI’s agents, they identified a wide range of systemic, illegal conduct that forms
            the basis for the Amended DPA. This was the same conduct that Plaintiff began
            complaining about almost immediately after he was hired at MGI, e.g., insufficient
            transaction analysis; insufficient suspicious activity reports (‘SARs’); insufficient
            oversight of minority owned stores; failure to conduct independent reviews, and
            breakdown of the fraud interdiction system, specifically the Individual Watch List
            (‘IWL’) program.

    Id., ¶ 22. Plaintiff alleges this “illegal conduct by MGI continued during Plaintiff’s tenure at MPSI.”

    Id., ¶ 23.

            Plaintiff began work as a Senior Manager for the U.S. Regional Compliance Team for MPSI

    in mid-October 2016. Id., ¶ 24. Plaintiff was responsible for supervising MGI’s regional compliance

    officers (“RCOs”), senior regional compliance officers (“Sr. RCOs”), and managers on the United

    States team. Id. Plaintiff also was responsible for monitoring MGI’s agents’ implementation of



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    MGI’s Global Partner Compliance Policy, which contained MGI’s anti-fraud and anti-money

    laundering policies and procedures. Id., ¶ 26. Plaintiff worked under the direction of Juan Manuel

    Gonzalez. Id., ¶ 27. During Plaintiff’s entire tenure at MPSI, MGI was operating under the

    requirements of the Amended DPA and the Modified FTC Order. Id., ¶ 28.

            Plaintiff alleges that during his tenure at MPSI, “MGI had knowledge of, yet ignored,

    suspicious activities of several of its largest agents, including Wal-Mart, Schnucks, SuperValu,

    RaceTrac, Valero and CVS.” Id., ¶ 29. Plaintiff alleges that as he learned “more about the intricacies

    of his position, Plaintiff noticed some significant discrepancies between the image that MGI

    presented to its external stake-holders about the effectiveness of its compliance program and the

    reality on the ground.” Id., ¶ 42. According to Plaintiff, the technology MGI was using was so

    outdated that it was becoming increasingly clear to Plaintiff that MGI “simply did not have the

    technology to run an effective compliance program as required by the DPA and 2009 FTC Order.”

    Id., ¶ 43.

            In or about 2017, Plaintiff shadowed Pablo Rivera, MGI’s Senior RCO in charge of the CVS

    account. Rivera knew firsthand the irregularities that occurred at CVS stores because of a lack of

    proper reporting. Id., ¶ 50. Rivera and Plaintiff attended meetings where MGI sales managers would

    talk CVS representatives out of implementing measures that would lower fraud. Id., ¶ 53. Plaintiff

    alleges he notified MGI management of its compliance infractions, “but to no avail.” Id. at pp. 12-

    19.

            Plaintiff alleges he was retaliated against for his complaints about MGI’s illegal conduct.

    Id. at p. 19. Plaintiff asserts Defendants violated Section 806, the SOX whistleblower provision, by

    taking adverse employment actions against him, including, but not limited to, termination and other


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    forms of retaliation, because of his protected conduct under 18 U.S.C. § 1514A. Id. at p. 22.

    According to Plaintiff, approximately eighteen months after he was terminated, MGI was found to

    have violated the 2009 FTC Order and “was hit with massive new fines and sanctions, along with

    the brand-new Amended DPA.” Id., ¶ 86.

                               II. SUMMARY JUDGMENT MOTIONS

           On April 15, 2020, MGI filed a motion for summary judgment regarding the sole issue of

    whether Plaintiff may assert a SOX retaliation claim against parent company MGI, in addition to the

    SOX retaliation claim asserted against MPI’s subsidiary, MPSI. According to MGI, Plaintiff’s

    former employer was MPSI, not MGI. In its reply, MGI acknowledges that because MPSI is a

    subsidiary of MGI, whose financial information is included in publicly traded parent company MGI’s

    financial statements, MPSI is subject to SOX. However, MGI asserts Plaintiff’s additional SOX

    retaliation claim against MGI should be dismissed because Plaintiff has not sufficiently shown (or

    even sufficiently alleged) MGI can also be considered Plaintiff’s employer for purposes of his §

    1514A claims.

           On August 12, 2020, Defendants filed a combined motion for summary judgment, asserting

    the sole issue of whether Plaintiff is barred from litigating his claims in this Court based on the

    “bare-bones complaint [Plaintiff] filed with the Department of Labor – which then determined that

    it was barred from investigating that complaint because [Plaintiff] failed to articulate a prima facie

    case.” Docket Entry # 109 at p. 1.

                                         III. LEGAL STANDARD

           The purpose of summary judgment is to isolate and dispose of factually unsupported claims

    or defenses. See Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). Summary judgment is proper


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    if the pleadings, the discovery and disclosure materials on file, and any affidavits “[show] that there

    is no genuine dispute as to any material fact and that the movant is entitled to judgment as a matter

    of law.” FED. R. CIV. P. 56(a). A dispute about a material fact is genuine “if the evidence is such that

    a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

    477 U.S. 242, 248 (1986). The trial court must resolve all reasonable doubts in favor of the party

    opposing the motion for summary judgment. Casey Enters., Inc. v. Am. Hardware Mut. Ins. Co., 655

    F.2d 598, 602 (5th Cir. 1981) (citations omitted). The substantive law identifies which facts are

    material. Anderson, 477 U.S. at 248.

            The party moving for summary judgment has the burden to show that there is no genuine

    issue of material fact and that it is entitled to judgment as a matter of law. Id. at 247. If the movant

    bears the burden of proof on a claim or defense on which it is moving for summary judgment, it must

    come forward with evidence that establishes “beyond peradventure all of the essential elements of

    the claim or defense.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986) (emphasis in

    original). Where the nonmovant bears the burden of proof, the movant may discharge its burden by

    showing there is an absence of evidence to support the nonmovant’s case. Celotex, 477 U.S. at 325;

    Byers v. Dallas Morning News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has carried

    its burden, the nonmovant must “respond to the motion for summary judgment by setting forth

    particular facts indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing Anderson,

    477 U.S. at 248-49). The nonmovant must adduce affirmative evidence. Anderson, 477 U.S. at 257.

    No “mere denial of material facts nor…unsworn allegations [nor] arguments and assertions in briefs

    or legal memoranda” will suffice to carry this burden. Moayedi v. Compaq Computer Corp., 98 Fed.

    Appx. 335, 338 (5th Cir. 2004). Rather, the court requires “significant probative evidence” from the


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    nonmovant in order to dismiss a request for summary judgment supported appropriately by the

    movant. United States v. Lawrence, 276 F.3d 193, 197 (5th Cir. 2001). The court must consider all

    of the evidence, but must refrain from making any credibility determinations or weighing the

    evidence. See Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007).

                                  IV. SUMMARY JUDGMENT EVIDENCE2

    A.       The evidence and objections thereto

    1.       MGI’s motion for summary judgment

    a.       MGI’s evidence

             MGI attached the following to its motion for summary judgment: (1) excerpts from Plaintiff’s

    Second Amended Complaint; (2) excerpts from Plaintiff’s Unopposed Motion for Leave to File a

    Second Amended Complaint “to add MPSI as a Defendant in this matter;” (3) excerpts from

    Plaintiff’s Response in Opposition to All Defendants’ Jurisdictional Motions; (4) Declaration of

    Elizabeth Weathers-Nguyen (“Weathers-Nguyen Decl.”), with attached offer letter from MPSI; (5)

    excerpts from the deposition of Juan Lozada-Leoni (“Plaintiff Dep.”); and (6) excerpts from

    deposition of Juan Manuel Gonzalez (“Gonzalez Dep.”).

    b.       Plaintiff’s response

             Plaintiff attached the following evidence to his response:(1) Declaration of Theodore Garber

    (“Garber Decl.”); (2) Second Amended Docket Control Order; (3) MGI’s 2017 10-K (“Ex. 5"); (4)

    Declaration of Juan Antonio Lozada (“Lozada Decl.”), with attachments; (5) MGI’s Motion for

    Summary Judgment and Brief in Support; (6) MoneyGram Global Partner Compliance Policy (“Ex.


             2
               The Court has considered the entire admissible record in this case, including the evidence attached by the
    parties to other filings. See FED. R. CIV. P. 56 (c)(3) (“Materials Not Cited. The court need consider only the cited
    materials [filed with a motion for summary judgment or response], but it may consider other materials in the record.”).

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  8"); (7) excerpts from Plaintiff’s deposition; (8) Plaintiff’s Second Amended Complaint; (9) MGI’s

  Original Answer; (10) Deferred Prosecution Agreement (“Ex. 13"); (11) 2014 SuperValu Review

  Worksheet (“Ex. 14"); (12) 2016 SuperValu Review Worksheet (“Ex. 15"); (13) excerpts from

  Gonzalez’s deposition; (14) excerpts from emails from MGI’s Senior Recruiter (“Ex. 17"); (15)

  excerpts from emails from Gonzalez (“Ex. 18"); and (16) email regarding Plaintiff’s onsite interview

  with MGI (“Ex. 19").

  c.     MGI’s objections to statements in Plaintiff’s declaration

          In its reply, MGI objects to the following statements contained in Plaintiff’s declaration:

         •        “I never made a distinction between MoneyGram Payment Systems, Inc. and Money
                 Gram International because we always referred to ourselves as being employees of
                 MoneyGram[.]”
         •       “For operating purposes MoneyGram was a single company, not two companies.”
         •       “I always made decisions premised on the fact that I was an employee of a company
                 called MoneyGram International, Inc.”
         •       “MGI uses MPSI’s property as its own.”
         •       “The daily operations of MGI and MPSI are not kept separate. MGI uses MPSI to
                 provide money transfer services. The directors and officers of MPSI take their orders
                 from MGI and act in MGI’s interests. MPSI makes decisions with the sole purpose
                 of benefitting MGI.”

  Docket Entry # 92 at p. 2. MGI asserts the italicized portions are conclusory, lack foundation, and

  are insufficient to either support or defeat a motion for summary judgment. MGI moves to strike the

  remaining statements under the sham affidavit doctrine, asserting the statements contradict Plaintiff’s

  deposition testimony and other statements in his declaration that he was employed by MPSI and that

  MPSI fired him. Id. at pp. 2-3.

         MGI also objects to the following portions of Plaintiff’s declaration, asserting they are

  conclusory and unsubstantiated and are barred by the best evidence rule:

         •       “The signature block of the Sr. Director, AML/CTF Compliance – Americas, Juan


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                 Manuel Gonzalez, stated that he worked for MoneyGram International.”
         •       “My direct supervisor, Juan Manuel Gonzalez, sent an email to every member of the
                 compliance department at MoneyGram on October 7, 2016, announcing that I had
                 been hired to lead the US Regional Compliance Team and never referred to
                 MoneyGram Payment Systems as the company he or anyone else in the message was
                 working for.”
         •       “All the materials that we gave our agents said MoneyGram, the policies that we
                 drafted were MoneyGram policies.”
         •       “When we visited agents, we showed them a MoneyGram International issued badge
                 that identified us as employees of MoneyGram International, not MoneyGram
                 Payment Systems.”
         •       “[W]e were told that our bosses were Andres Villareal, the Chief Compliance Officer
                 for MoneyGram and Alex Holmes, the CEO of MoneyGram International, Inc.”

  Docket Entry # 92 at pp. 3-4.

         Self-serving affidavits may serve as competent summary judgment evidence. See United

  States v. Carter, 737 Fed. Appx. 687, 691 (5th Cir. 2018); see also C.R. Pittman Constr. Co. v. Nat’l

  Fire Ins. Co., 453 Fed. Appx. 439, 443 (5th Cir. 2011) (per curiam) (unpublished) (“[A]n affidavit

  based on personal knowledge and containing factual assertions suffices to create a fact issue, even

  if the affidavit is arguably self-serving.”). Statements setting forth conclusory or ultimate facts or

  asserting conclusions of law are insufficient evidence on a motion for summary judgment. See Clark

  v. America’s Favorite Chicken Company, 110 F.3d 295, 297 (5th Cir.1997).

         While parts of Plaintiff’s declaration may be conclusory, the Court will give it the weight it

  deserves in considering the motion for summary judgment. See, e.g. Bianco v. Globus Med., Inc.,

  30 F. Supp. 3d 565 (E.D. Tex. 2014) (declining to strike any portion of a declaration containing

  impermissible legal opinions but noting the court would disregard those legal conclusions in ruling

  on the correction of inventorship issue which was tried to the court). It is true a party may not

  overcome a motion for summary judgment with an “affidavit that impeaches, without explanation,

  sworn testimony.” Vianet Grp. PLC v. Tap Acquisition, Inc., No. 3:14-CV-3601-B, 2016 WL


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  4368302, at *15 (N.D. Tex. Aug. 16, 2016) (citing S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489,

  495 (5th Cir. 1996)). But courts may consider an affidavit that supplements rather than contradicts

  prior deposition testimony. See id. at 496. An affidavit supplements if it clarifies or amplifies the

  facts by “giving greater detail or additional facts not previously provided;” whereas it contradicts

  when it “tells the same story differently.” See id.

          Moreover, the Fifth Circuit has declined to strike a party’s affidavit “even if it conflicts with

  earlier testimony in the party’s deposition.” Suncoast Post-Tension, Ltd. v. Scoppa, No. 4:13-CV-

  3125, 2015 WL 12762260, at *3 (S.D. Tex. Sept. 2, 2015) (citing Kennett-Murray Corp. v. Bone,

  622 F.2d 887, 893 (5th Cir. 1980)). In Kennett-Murray, the Fifth Circuit stated a district court, in

  considering a motion for summary judgment, “must consider all the evidence before it and cannot

  disregard a party’s affidavit merely because it conflicts to some degree with an earlier deposition,”

  noting the “two in conjunction may disclose an issue of credibility.” Kennett-Murray, 622 F.2d at

  893. “Thus, a genuine issue can exist by virtue of a party’s affidavit even if it conflicts with earlier

  testimony in the party’s deposition.” Id. Any inconsistencies between Plaintiff’s declaration and his

  prior testimony are appropriately treated as impeachment evidence but not as a basis for striking the

  affidavit. See Rimkus Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 639 n. 32 (S.D.

  Tex. 2010).

          For these reasons, the Court overrules MGI’s objections to Plaintiff’s declaration.

  d.      Supplemental briefing

          As allowed by the Court in its September 24, 2020 Order, Plaintiff attached to his surreply

  excerpts from the depositions of Craig Bernier, Sylvia Gil, Derya White, and Fredy Morales, which

  were taken after Plaintiff filed his response. Plaintiff also attached to his surreply a copy of a May


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  4, 2017 press release from the DOJ entitled “Acting Manhattan U.S. Attorney Announces Settlement

  Of Bank Secrecy Act Suit Against Former Chief Compliance Officer At Moneygram For Failure to

  Implement And Maintain An Effective Anti-Money Laundering Program and File Timely SARS.”

  2.     Defendants’ combined motion for summary judgment

         Defendants attached the following evidence to their combined motion for summary

  judgment: (1) excerpts from Plaintiff’s deposition; (2) Plaintiff’s September 28, 2017 Complaint

  under Section 806 of SOX filed with the Occupational Safety & Health Administration (“OSHA”)

  (“OSHA complaint”); and (3) OSHA’s October 12, 2017 determination letter (“Determination

  letter”). Defendants attached to their reply a copy of the OSHA complaint in Wallace v. Tesoro

  Corp., Civil Action No. 5:11-CV-00099, in the United States District Court for the Western District

  of Texas, San Antonio Division (“Wallace OSHA Complaint”).

         In his response, Plaintiff objects to Exhibit 1 to Defendants’ motion, which are excerpts from

  Plaintiff’s deposition in which he describes his background as an attorney. In their reply, Defendants

  state their purpose in introducing this evidence is to demonstrate Plaintiff’s “obvious awareness of

  the importance of following all applicable rules and regulations (such as the exhaustion requirement

  at issue).” Docket Entry # 113 at p. 3. Even though Plaintiff attached the OSHA Determination letter

  to his response in opposition to MPSI’s motion to dismiss (see Docket Entry # 23-3), Plaintiff also

  objects to Exhibit 3 attached in support of Defendants’ motion for summary judgment. Both

  objections are based upon relevance. See Docket Entry # 110 at p. 1. According to Plaintiff,

  “[n]either exhibit possesses any probative value in addressing the sweep of [Plaintiff’s] OSHA

  complaint.” Id. The Court overrules Plaintiff’s objections and will give each exhibit the weight it

  deserves in considering Defendants’ motion for summary judgment.


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  B.       Material facts3

  1.       Relevant orders regarding MoneyGram prior to Plaintiff’s employment

           On October 21, 2009, MGI and the FTC stipulated to the entry of a Stipulated Order for

  Compensatory Relief and Modified Order for Permanent Injunction, resolving allegations in the

  FTC’s complaint charging MGI with engaging in unfair or deceptive acts or practices in the course

  of providing money transfer services to consumers in the United States through its worldwide money

  transfer network. See Docket Entry # 34-2, Ex. B at pp. 1-2. The 2009 FTC Order enjoined MGI

  from, among other things, failing to: establish, implement, and maintain a comprehensive anti-fraud

  program that was reasonably designed to protect US and Canadian consumers; conduct thorough due

  diligence on prospective agents and ensure its written agreements require agents to have effective

  anti-fraud policies and procedures in place; and adequately monitor its agents by, among other

  things, providing appropriate and ongoing training, recording all complaints, reviewing transaction

  activity, investigating agents, taking disciplinary actions against problematic agents, and ensuring

  that its agents were aware of their obligations to detect and prevent fraud and comply with MGI’s

  policies and procedures. Id. at p. 2.

           On November 9, 2012, MGI entered the Deferred Prosecution Agreement (“DPA”) with the

  United States Department of Justice (“DOJ”). Docket Entry # 89, Ex. 13; see also Docket Entry #

  34, Ex. C. In the DPA, MGI admitted to criminally aiding and abetting wire fraud and failing to

  implement an effective anti-money laundering program and acknowledged it was responsible for the


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             The material facts set forth in this section represent the facts as discerned by the Court from the pleadings and
  the parties’ respective evidentiary submissions, in light of the relevant summary judgment standard requiring the record
  be viewed in the light most favorable to the nonmoving party. Accordingly, these are the “facts” for purposes of summary
  judgment only; they may not be the actual facts. See Willmore-Cochran v. Wal-Mart Assocs., Inc., 919 F. Supp. 2d 1222,
  1228 (N.D. Ala. 2013).

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  acts of its officers, directors, and employees as charged in the Information, and as set forth in the

  Statement of Facts and incorporated by reference into the agreement.4 Id. at pp. 1-2. The DPA was

  “effective for a period beginning on the date on which the Information [was] filed and ending five

  (5) years from that date (the ‘Term’).” Id. at p. 2.

           In return for the full cooperation of the Company, and its compliance with the other terms

  and conditions of the DPA, the DOJ agreed, subject to certain paragraphs, “not to use any

  information related to the conduct described in the attached Statement of Facts against the Company

  in any criminal or civil case, except: (a) in a prosecution for perjury or obstruction of justice; or (b)

  in a prosecution for making a false statement.” Id. at p. 6. The DOJ also agreed, except as provided

  therein, not to bring any criminal case against the Company “or any of its wholly owned or

  controlled subsidiaries related to the conduct of the present and former officers, directors, employees,

  agents, agent employees and consultants. . . or relating to the information that the Company disclosed

  to the Department prior to the date on which this Agreement was signed.” Id. at pp. 6-7.

           The Company represented it had or would undertake, in addition to the enhancements it had

  already made to its anti-fraud and anti-money laundering programs, the enhanced compliance

  obligations described in Attachment C to the DPA and also retain an independent compliance

  monitor “(Monitor”). Id. at p. 7. According to Attachment C, the Company would create an

  Independent Compliance and Ethics Committee of Board of Directors “with direct oversight of the

  Chief Compliance Officer and the Compliance Program.” Id., Att. C. Attachment C further provided

  “[t]he Company will require all MoneyGram Agents around the world, regardless of their location,


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             In his surreply, Plaintiff argues this is a judicial admission on the part of MGI, asserting the Statement of Facts
  for which MGI acknowledged it was responsible sets forth the compliance functions performed by MPSI. Docket Entry
  # 118 at p. 5.

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  to adhere to either the anti-fraud and anti-money laundering standards as defined by the FATF

  interpretive guidelines for Money Services Businesses or the U.S. anti-fraud and anti-money

  laundering standards, whichever is stricter. This new policy will ensure that all MoneyGram Agents

  throughout the world will, at a minimum, be required to adhere to U.S. anti-fraud and anti-money

  laundering standards.” Id.

  2.     Plaintiff’s employment with MoneyGram

         Plaintiff began working for MPSI in October 2016 as a Senior Manager for the U.S. Regional

  Compliance Team. SAC, ¶¶ 4, 24. In his declaration, Plaintiff states he learned through LinkedIn

  about a job opening in MoneyGram’s compliance department in late August 2016; he visited the

  MoneyGram website posting the job vacancy and applied for the position; and he never visited a

  website or applied for any jobs listed by “MoneyGram Payment Systems.” Plaintiff’s Decl., p. 1.

         Thereafter, Plaintiff received several emails from Alan Brooks. Id. at pp. 1-2. On August 19,

  2016, Brooks wrote Plaintiff an email in which Brooks stated the following: “Thank you for applying

  to MoneyGram International. I would love to arrange a phone interview to discuss your background,

  and the Regional Compliance Manager position, located in our Miami Office.” Docket Entry # 89,

  Ex. 17. The email identified Brooks as the Senior Recruiter for MGI. Id. Brooks’ email was listed

  as abrooks@moneygram.com. Id.; see also Plaintiff’s Decl., p. 2.

         According to Plaintiff, the “first face to face interview took place at the offices of

  MoneyGram located at 5201 Blue Lagoon Drive, Suite 500, Miami, FL, 33126.” Id. On September

  6, 2016, Brooks emailed Plaintiff, cc’ing Juan Manuel Gonzalez (JMGonzalez@moneygram.com),

  regarding the agenda for Plaintiff’s interview with the team in Miami. Docket Entry # 89, Ex. 19.The



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  email regarding the panel interview provided as follows: “Friday September 9th: Onsite interview

  with MoneyGram International.” Id. Plaintiff states he was offered a position shortly after that

  interview. Plaintiff’s Decl., p. 2.

          On September 26, 2016, Brooks sent Plaintiff a letter containing a formal offer with

  “MoneyGram Payments Systems, Inc. ‘MoneyGram’.” Weathers-Nguyen Decl., ¶ 4, and Ex. 1. On

  October 7, 2016, Plaintiff’s direct supervisor, Juan Manuel Gonzalez, sent an email to members of

  the Americas Regional Compliance Team announcing Plaintiff would be joining MoneyGram

  October 17 and would be assuming the leadership role for the U.S. Regional Compliance Team. See

  Docket Entry # 89, Ex. 18. The signature block on the email indicated Gonzalez was the Sr. Director,

  AML/CTF Compliance – Americas for MoneyGram International. Id.

          Plaintiff began working as a Senior Manager for the U.S. Regional Compliance Team for

  MoneyGram on October 18, 2016. Plaintiff’s Decl., p. 2. Plaintiff has alleged that, during the course

  of his employment, he complained about what he believed were alleged improprieties in MGI’s

  business operations. SAC, ¶¶ 54-61. In particular, Plaintiff alleges he complained to Christopher

  Ponder and Plaintiff’s supervisor Gonzalez. Id., ¶¶ 27, 54-55.

          According to Plaintiff, he never made a distinction between MPSI and MGI because “we

  always referred to ourselves as being employees of MoneyGram, we were told that our bosses were

  Andres Villarreal, the Chief Compliance Officer for MoneyGram and Alex Holmes, the CEO of

  MoneyGram International, Inc.” Id., pp. 2-3. Plaintiff states all the materials they gave their agents

  “said MoneyGram, the policies that [they] drafted were MoneyGram policies;” and he showed his

  agents a MGI-issued badge that identified him as an employee of MGI, not MPSI. Id., p. 3.



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         Plaintiff further states “[w]e enforced MoneyGram’s International Global Partner Compliance

  Policy,” which implied MoneyGram was one company. Id. According to Plaintiff, MoneyGram’s

  Compliance Policy provides that MoneyGram can suspend agents who violate the policy. Id.

  According to the 2016 Global Partner Compliance Policy, the purpose of the policy was as follows:

         MoneyGram Agents and other non-agent distribution channels are important partners
         in offering MoneyGram money transfers and other services and products to our
         valued customers. Because MoneyGram and its partners are required to comply with
         various laws and governmental regulations worldwide, MoneyGram has issued this
         Global Partner Compliance Policy (‘Policy’).


         Agents and their employees are part of the first line of defense in protecting
         consumers and preventing criminal abuse and exploitation of MoneyGram products
         and services. The Policy outlines the responsibilities of Agents globally to comply
         with applicable laws and regulations, with MoneyGram’s policies and procedures,
         and the required actions for effective implementation of strict anti-money laundering
         and anti-fraud standards.


         This Policy also reinforces MoneyGram’s commitment to protecting its consumers
         and to preventing the use of its products and services by anyone for fraudulent
         purposes, money laundering, terrorist financing, or other illegal activities.
         MoneyGram requires the same commitment from its Agents and their owners,
         shareholders, governing authorities, management, and employees. Agents are
         responsible for implementing this Policy. To carry out this Policy, MoneyGram has
         incorporated the key requirements that govern the relationship between MoneyGram
         and its Agents.


         MoneyGram continues to update its Anti-Money Laundering and Anti-Fraud
         Compliance Programs (‘Programs’) to review and respond to issues related to the
         implementation of this Policy. MoneyGram encourages its Agents to contact the
         MoneyGram Regional Compliance Officer or other compliance contact assigned to
         the Agent regarding questions about this Policy.


  Docket Entry # 89, Ex. 8 at p. 2. The definition of “Agent” includes “any party entering into a

  contractual relationship with MoneyGram or its subsidiaries and affiliates for the purposes of



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  providing MoneyGram’s products and services to consumers” and “also includes all Subagents of

  an Agent.” Id. at n. 1.

          In his declaration, Plaintiff states Derya White is a regional compliance officer for

  MoneyGram; Dana Johnson is the “regulator and compliance manager for SuperValu, an agent of

  MoneyGram;” and Dayna Karel was a sales manager for MoneyGram. Plaintiff’s Decl., pp. 3-4.

  Plaintiff states MoneyGram ensures its agents are following the MoneyGram Global Partner

  Compliance Policy through Headquarters Reviews.5 Id., p. 4.

          According to Plaintiff, in March 2017, he and Derya White assisted the quarterly business

  review that Dayna Karel was facilitating at SuperValu. Id.; see also Gonzalez Dep. at 43:7-17

  (testifying regional compliance officer White, who was under Plaintiff as a senior manager, was

  instructed to assist the quarterly business review that Karel was facilitating). In his declaration,

  Plaintiff states during the SuperValu meeting he “learned that we did not know the owners of 13

  SuperValu stores,” which was a violation of MoneyGram’s Compliance Policy, which provides that

  “Agents shall provide accurate and complete information to MoneyGram when there are any material

  change(s) in the ownership of the Agent.” Plaintiff’s Decl., p. 4. After the meeting, Plaintiff told his

  boss Gonzalez that MoneyGram should suspend the thirteen stores. Id. According to Plaintiff,

  Gonzalez removed Plaintiff from the SuperValu account, which was a demotion. Plaintiff was fired

  in April 2017. Id.

          Elizabeth Weathers-Nguyen is employed by MPSI as an Associate General Counsel.


          5
           Plaintiff attached documentation to his response indicating Derya White conducted a headquarters review of
  SuperValu on April 6, 2014, and Dana Johnson represented SuperValu at that meeting. Docket Entry # 89, Ex. 14. On
  December 19, 2016, Derya White conducted another headquarters review of SuperValu, and Dana Johnson represented
  SuperValu at that meeting as well. Docket Entry # 89, Ex. 15.

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  Weathers-Nguyen Decl., ¶ 2. In her declaration, Weathers-Nguyen states Plaintiff worked for MPSI

  from approximately October 2016 until April 2017, when MPSI terminated his employment. Id.,

  ¶ 4. According to Weathers-Nguyen, Plaintiff was never employed by MGI. Id., ¶ 5.

         Weathers-Nguyen states Ponder is MPSI’s Head HR Partner in Frisco, Texas, and Gonzalez

  is MPSI’s Head of Regional Compliance and Strategic Projects in Miami, Florida. Id.; see also

  Gonzalez Dep. at 6:4-10 (stating his current employer is “MoneyGram Payment Systems”).

  According to Weathers-Nguyen, MPSI employed Ponder and Gonzalez, and neither Ponder nor

  Gonzalez has ever been employed by MGI. Id. In previous briefing, Plaintiff attached an excerpt of

  the October 18, 2018 deposition of Chris Ponder, wherein he stated he worked for “MoneyGram.”

  Docket Entry # 34-7 at 23:24-25.

         In his deposition in this case, Gonzalez testified he is the individual who decided to terminate

  Plaintiff’s employment, though he partnered with his H.R. business partner Ponder in that decision.

  Gonzalez Dep. at 89:9-24. Gonzalez testified they also partnered with “internal labor counsel to

  discuss the circumstances of the case, and everybody agreed that we were ready to move forward.”

  Id. at 89:24-90:14 (also testifying they shared information with Peter Green and the company’s chief

  compliance officer, Andy Villareal).

  3.     Administrative proceedings

         On September 28, 2017, Plaintiff (through counsel) filed a formal complaint under Section

  806 of the Sarbanes-Oxley Act of 2002 with OSHA, identifying MGI as the respondent. OSHA

  complaint. Plaintiff’s OSHA complaint first stated Section 806 protects employees of publicly traded

  companies (and subsidiaries of same) from retaliation when they complain and “reasonably believe”


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  (that the complained-of conduct) constitutes a violation of one of six federal laws, e.g., Sections

  1341, 1343, 1344, or 1348, any rule or regulation of the SEC, or any provision of federal law relating

  to fraud against shareholders. Docket Entry # 109, Ex. 2 at p. 1. Under “facts,” Plaintiff stated he was

  hired on October 18, 2016, and had the job title of Manager, AML/CTF Regional Compliance USA.

  Id. at pp. 1-2. Plaintiff further stated as follows:

          Two of his essential responsibilities were (1) compliance with anti-money laundering
          rules and regulations; and (2) compliance with a consent decree that required, inter
          alia, compliance with anti-money laundering rules and regulations.
          In a scenario that is becoming increasingly predictable, his efforts to achieve
          compliance were met with (1) resistance; (2) outright hostility, and (3) finally
          resulted in his termination on April 4, 2017.


  Id. at p. 2.

          Under “[p]rotected conduct,” Plaintiff stated as follows:

          This is essentially a Sharkey v. JP Morgan Chase case, with one additional twist: on
          top of violating the underlying anti-money laundering laws, the employer here
          violated an existing consent decree that prohibited future violations of the underlying
          anti-money laundering laws.


  Id. According to Plaintiff, in addition to “on-the-job harassment, verbal abuse, isolation, and

  marginalization,” Plaintiff was terminated on April 4, 2017. Id.

          OSHA issued a determination letter on October 12, 2017. Determination letter at p. 1. The

  letter advised as follows:

          Following an investigation by a duly-authorized Investigator, the Secretary of Labor,
          acting through his agent, the Acting Regional Administrator for the Occupational
          Safety and Health Administration (OSHA), Region VI, finds there is insufficient
          evidence to prove the complaint has merit.




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  Id. The letter further stated Plaintiff “did not present a prima facie showing.” Id. Because OSHA did

  not have reasonable cause to believe a violation of SOX occurred, the complaint was dismissed. Id.

  at p. 2. The letter advised Plaintiff he had “30 days from the receipt of these Findings to file

  objections and to request a hearing before an Administrative Law Judge.” Id.

          Plaintiff lodged objections on November 13, 2017, requesting a hearing in front of an

  Administrative Law Judge (“ALJ”). Docket Entry # 23-4.Thereafter, the Department of Labor

  opened Case Number 2018-SOX-00004, which it styled Juan Lozada-Leoni v. MoneyGram

  International. The case was assigned to ALJ Tracy A. Daly. See Docket Entry # 23, Exs. 5 and 6.

  Plaintiff filed his Original [Administrative] Complaint on March 5, 2018. Docket Entry # 23-8.

  Plaintiff filed his First Amended [Administrative] Complaint on March 26, 2018. Docket Entry #

  23-9.

          MPSI responded to Plaintiff’s First Amended [Administrative] Complaint on April 6, 2018.

  Docket Entry # 23-10. In particular, MPSI filed the Response as “Respondent MoneyGram Payment

  Systems, Inc., improperly named herein as MoneyGram International.” Id. at p. 1. In answering

  Plaintiff’s allegation that MGI employed him, “MoneyGram state[d] that Complainant was employed

  by MoneyGram Payment Systems, Inc. rather than by MoneyGram International[.]” Id. at § II, ¶ 1.

  Among other things, MPSI admitted MoneyGram is a party to a 2012 Deferred Prosecution

  Agreement; that it paid a fine in 2009 as part of an agreement with the Federal Trade Commission;

  that it terminated Plaintiff’s employment; and that Gonzalez told Plaintiff he was not a good fit. Id.,

  ¶¶ 28, 37, 156.

          MPSI, as Respondent, further stated on behalf of MoneyGram that Plaintiff’s claims were



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  barred, in whole or in part, by Plaintiff’s failure to exhaust his administrative remedies. Id., ¶ 225.

  According to MPSI, “in his September 28, 2017, initial complaint presented to [OSHA], [Plaintiff]

  alleged only that his ‘protected conduct’ included ‘efforts to achieve compliance’ with ‘anti-money

  laundering laws,’ and with the DPA that ‘prohibited future violations of the underlying anti-money

  laundering law.’” Id. MPSI asserted Plaintiff’s allegations in the amended complaint were “far

  broader than those [Plaintiff] presented to OSHA for investigation, and all such claims are barred.”

  Id.

          Plaintiff gave deposition testimony on May 23, 2018. Docket Entry # 23-11. Ponder was

  deposed on October 18, 2018 (Docket Entry # 34-7), and Gonzalez was deposed on December 5,

  2018 (Docket Entry # 34-6).

          On December 19, 2018, Judge Daly set the ALJ proceeding for a bifurcated final hearing,

  beginning on January 16, 2019. Docket Entry # 23-12. However, on December 21, 2018, counsel

  for Plaintiff “informally notified” Judge Daly’s office of his client’s intention to “exercise his right

  under 29 C.F.R. 1980.114 to bring this matter in a U.S. District Court.” Docket Entry # 23-13.

  Specifically, Plaintiff’s counsel advised that “next week we will be filing the formal removal notice

  under Section 1980.114.” Id. Judge Daly entered an order suspending the existing filing deadlines

  until January 4, 2019 and directing Plaintiff to provide a copy of the federal complaint within seven

  days after filing in federal court. Id.

  4.      Relevant orders regarding MoneyGram after Plaintiff’s employment

          Meanwhile, on November 8, 2018, the DOJ levied a substantial fine against MGI and entered

  into an Amendment and Extension of Deferred Prosecution Agreement (“Amended DPA”) with


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  MGI, based on the Company’s failure, despite some progress during the original term of the DPA,

  to successfully complete the implementation of the enhanced compliance undertakings as required

  by the DPA. Docket Entry # 34, Ex. D-1. The Amended DPA extended the term of the DPA entered

  on November 9, 2012, until May 10, 2021. Id. Under the terms of the Amended DPA, Attachment

  C was amended to require reporting to the DOJ on a monthly basis. Id. at pp. 7-9. In consideration

  of the Company’s ongoing and future cooperation, payment of the additional forfeiture amount,

  implementation of remedial measures described in the amendment, and the Company’s agreement

  to undertake further anti-fraud compliance measures, the DOJ agreed to continue to defer

  prosecution for the extended term. Id. at p. 14.

           On November 13, 2018, MGI agreed to settle allegations made by the FTC alleging MGI

  violated the 2009 FTC Order. Docket Entry # 34, Ex. B. The Stipulated Order for Compensatory

  Relief and Modified Order for Permanent Injunction (“Modified FTC Order”) required that MGI

  block money transfers of known perpetrators of fraud schemes and provide refunds to fraud victims

  and enhanced diligence, investigative and disciplinary requirements. For purposes of the Order,

  “Defendant” meant MoneyGram International, Inc., its subsidiaries and affiliates, and its successors

  and assigns. Id. at p. 3.

  C.       Procedural background in federal court

           Plaintiff filed his original complaint in the Texarkana Division of the Eastern District of

  Texas on January 23, 2019, naming MGI, Gonzalez, and Ponder as defendants.6 Docket Entry # 1.



           6
             On January 24, 2019, Judge Daly issued an Order of Dismissal, acknowledging what he believed to be a
  complaint that had been filed in the Northern District of Texas, Dallas Division, and ordering that “the complaint filed
  in this matter under the Sarbanes-Oxley Act is DISMISSED with prejudice.” Docket Entry # 23-16.

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  On April 11, 2019, along with two motions to dismiss filed by Gonzalez and Ponder, MGI filed its

  motion to dismiss for improper venue pursuant to Rule 12(b)(3) of the Federal Rules of Civil

  Procedure, or in the alternative, motion to transfer venue under 28 U.S.C. § 1406(a) to the Northern

  District of Texas, Dallas Division. Docket Entry # 5. On May 16, 2019, Plaintiff filed his Response

  in Opposition to All Defendants’ Jurisdictional Motions and his Second Amended Complaint,

  wherein Plaintiff dismissed Gonzalez and Ponder and added a single cause of action against MPSI

  for unlawful retaliation in violation of SOX. SAC, ¶¶ 88-90.

         Thereafter, MPSI filed its motion to dismiss, or alternatively, motion to transfer venue.

  Docket Entry # 23. Because Plaintiff did not name MPSI as a respondent in his administrative

  complaint filed with the Department of Labor and only sought relief against MGI, MPSI moved to

  dismiss pursuant to Rule 12(b)(1) for lack of subject matter jurisdiction and/or pursuant to Rule

  12(b)(6) for failure to state a claim against MPSI upon which relief may be granted. Id. at p. 2.

  Alternatively, MPSI moved the Court to transfer this case to the Dallas Division of the Northern

  District of Texas, or the Sherman Division of the Eastern District of Texas, pursuant to 28 U.S.C.

  § 1404. Id.

         On November 25, 2019, the undersigned issued a Report and Recommendation regarding

  proposed findings of fact and recommendations that Defendants’ motions to dismiss and § 1406(a)

  motion to transfer venue be denied and that Defendants’ alternative § 1404(a) motions to transfer

  venue be granted. Docket Entry # 48. In considering Defendants’ motions to dismiss and specifically

  whether Plaintiff was required to name MPSI in his administrative complaint, the Court noted

  Plaintiff referred to an integrated enterprise (or single employer) test and provided evidence

  indicating MGI and MPSI are substantially identical entities for purposes of notice of the underlying

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  charges. Lozada-Leoni v. MoneyGram Int’l, Inc., No. 5:19CV11-RWS-CMC, 2019 WL 7875058,

  at *11-12 (E.D. Tex. Nov. 25, 2019), report and recommendation adopted, No. 5:19CV11-RWS-

  CMC, 2020 WL 428080 (E.D. Tex. Jan. 28, 2020) (citation omitted)). Noting it had not located any

  cases on point within the Fifth Circuit applying the single employer test in a SOX case, the Court

  stated it did not need to rely on any such test in order to find in Plaintiff’s favor. Id. at *12.

          The Court stated “Defendants correctly note a SOX-retaliation claim requires exhaustion of

  administrative remedies, but they go too far in arguing a party must be specifically named as a

  respondent in the administrative action.” Id. After discussing the cases relied upon by Defendants,

  the Court discussed a case from within the Fifth Circuit wherein the court “rejected an overly

  formulaic exhaustion requirement.” Id. at *13 (citing Buchanan v. Sterling Constr. Co., Inc., Civil

  Action No. H-16-3429, 2017 WL 6888308 (S.D. Tex. July 26, 2017)). The Court noted that in the

  Fifth Circuit “[t]he scope of a judicial complaint is limited to the sweep of the OSHA investigation

  that can reasonably be expected to ensue from the administrative complaint.” Id. (quoting Buchanan,

  2017 WL 6888308, at *3 (citing Wallace v. Tesoro Corp., 796 F.3d 468, 476 (5th Cir. 2015)).

          According to the undersigned, the evidence showed MPSI was included in the underlying

  administrative action. Id. The Court further stated as follows:

          MPSI’s Associate General Counsel Weathers-Nguyen received notification of the
          filings and actively participated in the administrative action. MPSI employees,
          Gonzalez and Ponder, were referenced throughout both administrative complaints
          and were both deposed. However, at their depositions, they indicated they were
          employed by MGI. Importantly, MPSI filed the answer to Plaintiff’s amended
          administrative complaint, and it did not raise the improper entity issue in its failure
          to exhaust arguments.


  Id. “Considering the unique facts of this case,” the undersigned found Plaintiff’s claims against


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  MPSI can reasonably be expected to grow out of the administrative complaints against MGI. Id.

  Accordingly, the undersigned concluded Plaintiff exhausted his administrative remedies as to the

  SOX retaliation claim against MPSI and recommended MPSI’s motion to dismiss for lack of

  jurisdiction be denied. Id. Because the undersigned recommended MPSI’s motion to dismiss be

  denied, the undersigned did not need to consider MGI’s motion to dismiss under Rule 12(b)(3) and

  alternative § 1406(a) motion to transfer to the Northern District of Texas. Id. at *13, n. 6.

         The undersigned then considered Defendants’ alternative§ 1404(a) motions to transfer venue,

  and after discussing each private and public interest factor, found that, on balance, such factors

  weighed in favor of transfer. The undersigned recommended Defendants’ alternative motions to

  transfer pursuant to § 1404(a), on an intra-district basis, be granted. Id. at *19.

         No objections were filed to the findings and conclusions contained in the Report and

  Recommendation. On January 28, 2020, District Judge Schroeder adopted the Report and

  Recommendation as the findings and conclusions of the Court and transferred the case to the

  Sherman Division of the Eastern District of Texas. Docket Entry # 53.

         Defendants together have filed a motion for summary judgment regarding the sufficiency of

  the initial complaint presented to OSHA. MGI has also filed a separate motion for summary

  judgment regarding the issue of whether it may be considered Plaintiff’s employer, along with MPSI,

  for purposes of Plaintiff’s SOX retaliation claims. The parties have filed the following evidence

  regarding the MoneyGram entities.




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  D.      Evidence regarding MoneyGram entities

  1.      MGI’s motion for summary judgment

          In her declaration, Weathers-Nguyen states as follows. MPSI is a subsidiary of MGI, a

  Delaware corporation who has maintained its principal place of business at 2828 N. Harwood Street

  in Dallas, Texas since 2010. Weathers-Nguyen Decl., ¶ 2. “MPSI is likewise headquartered at 2828

  N. Harwood Street in Dallas, Texas” and maintains its personnel records for all U.S. offices in

  Dallas. Id., ¶ 3. Plaintiff worked for MPSI at MPSI’s office in Frisco, Texas. Id., ¶ 4. That office

  space is leased by MPSI, not MGI, and MGI does not transact business in MPSI’s Frisco, Texas

  office. Id.

  2.      Plaintiff’s response

          In the SAC, Plaintiff alleges MPSI is a subsidiary of parent company MGI, a publicly-traded

  money transfer company, and MPSI’s financial information is included in the consolidated financial

  statements of MGI. SAC, ¶¶ 5-7. In its answers, MGI admitted this allegation. Docket Entry # 89,

  Ex. 11, ¶¶ 5-7.

          In its 2017 Form 10-K, MGI states under “Overview” that “MoneyGram International, Inc.

  (together with our subsidiaries, ‘MoneyGram,’ the ‘Company,’ ‘we,’ ‘us,’ and ‘our’) is a global

  provider of innovative money transfer services and is recognized worldwide as a financial connection

  to friends and family.” Docket Entry # 89, Ex. 5 at p. 3. MGI further stated as follows: “We conduct

  our business primarily through our wholly-owned subsidiary, MoneyGram Payment Systems, Inc.

  (‘MPSI’), under the MoneyGram brand.” Id. According to the 2017 Form 10-K, W. Alexander

  Holmes has served as the Chief Executive Officer since January 2016. Id. at p. 10. The form also


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  lists Andres Villareal as a member of its executive leadership team and states Villareal has been

  MGI’s Chief Compliance Officer since March 2016. Id. at pp. 10-11.

  3.     Plaintiff’s surreply

         Subsequent to the filing of Plaintiff’s response, the Court permitted Plaintiff to take the

  depositions of Craig Bernier (head of MoneyGram’s Anti-Money Laundering, Counter Financing

  of Terrorism Division, previously head of Financial Intelligence Unit); Sylvia Gil (MoneyGram

  Regional Compliance Officer); Fredy Morales (previously MoneyGram Regional Compliance

  Officer and then Supervisor in Global Back Office); and Derya White (previously MoneyGram

  Senior Regional Compliance Officer). While Plaintiff asserts “MGI’s SEC filing in and of itself

  establishes sufficient nexus between MPSI employees and MGI to establish MGI’s SOX liability,”

  in his surreply, Plaintiff asserts “this is bolstered by the testimony of the Compliance employees.”

  Docket Entry # 118 at p. 6.

         In his deposition, Bernier testified he is employed by MPSI in the position of head of anti-

  money laundering and counter financing of terrorism (AML CFT), which is the “biggest compliance

  department” within MoneyGram. Bernier Dep. at 5:8-6:7. According to Bernier, he has “oversight

  of a team of compliance people who investigate fraud, money laundering, and terrorist activities.”

  Id. at 6:8-12. Prior to being head of AML CFT, Bernier was the head of the Financial Intelligence

  Unit for MoneyGram, “which is the vast majority still of [his] current work.” Id. at 7:3-9. Bernier

  has worked for MoneyGram since November 2013. Id. at 7:9-18.

         Bernier stated he is required to comply with the DPA and the FTC’s injunction, and that in

  order to do that, he needs “to have an understanding of what is in there, and then [he] can also rely


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  on our internal legal counsel for interpretations when things may not be clear . . . in those particular

  requirements.” Id. at 13:2-23 (further stating it is “very important for me to have an understanding

  of the requirements to perform my job functions”). Bernier testified he signed an acknowledgment

  that he received a copy of the federal injunction. Id. at 13:24-14:9.When asked about the DPA

  entered against MGI, Bernier testified as follows:

  ·       Q.· I want you to -- let me ask you this:··As a MoneyGram manager -- you’re a senior
          manager, aren’t you?


  ·       A.· ·Yes.··Yes.


  ·       Q.· ·As a senior MoneyGram manager, do you have any responsibility for complying
          with this [DPA] agreement?


  ·       A.· ·Yes, I do.

  Id. at 48:23-49:4; see also id. at 47:1-7.

          Q.·I’m asking you specifically about MoneyGram’s agreement with the federal
          government. You understand that you are bound by this agreement? You, in your role
          as the head of Anti-Money Laundering and Counter Financing of Terrorism, are
          bound by this agreement?


          A.· I understand the company is bound by it.··I work for the company.··I’ve signed
          that I acknowledged it, and, yes, my job is to make some of the issues that were
          identified in the Deferred Prosecution Agreement better and not have the same
          challenges that the company was fined for in the past.


  Id. at 51:6-18.

          Q.· What’s your understanding of why MoneyGram required you to read the federal
          injunction and the prosecution agreement from the Department of Justice?


          A.· As I recall, the company was required to have everyone read and acknowledge

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           the Deferred Prosecution Agreement.


  Id. at 170:17-22.

           When asked if he received training on what MoneyGram’s obligations are under the DPA

  and the injunction, Bernier testified that the company conducts annual training, including some

  training on the continuing obligations under the FTC order against MGI. Id. at 226:9-17. Bernier

  further testified as follows:

           Q.· I’m asking you if anyone with MoneyGram has ever addressed with you who
           could potentially suffer the consequences if the DPA was violated?


           A.·So we do have annual training within the company that does articulate the
           consequences of noncompliance.··As I recall, jail is mentioned for noncompliance
           as one of the measures that – one of the consequences that could happen, along with
           fines.··I don’t recall if it specifically says a position or a person that would be subject
           to that. In my mind, compliance is everyone’s responsibility, so I think everyone
           should take that training with all seriousness, that, you know, anybody can be
           responsible for wrongdoing within the company and should be and is.
           Beyond that, I’m aware that the prior chief compliance officer for MoneyGram before
           I worked for MoneyGram was personally fined, so I know that has happened.··So in
           terms of exactly who, I can’t say that I recall any specific person saying, this person
           will go to jail, but I do recall that it is part of our training that jail is consequence –
           could be a consequence for noncompliance.7
           7
             According to Plaintiff, although Bernier testified he is employed by MPSI, the May 4, 2017 press release from
  the DOJ states that Bernier’s predecessor, Thomas E. Haider, the former chief compliance officer, was employed by
  MGI. Docket Entry # 118, Appx. 103-105. Regarding Bernier’s predecessor, the government announced “that the United
  States Department of the Treasury (the ‘Treasury Department’) has settled its claims under the Currency and Foreign
  Transactions Reporting Act of 1970 (‘Bank Secrecy Act’ or ‘BSA’) against THOMAS E. HAIDER (‘HAIDER’), the
  former chief compliance officer of MoneyGram International, Inc. (‘MoneyGram’).” Id. at Appx. 103 (emphasis added
  by Plaintiff). The press release further provides as follows:

           During the relevant time period, MoneyGram operated a money transfer service that enabled its
           customers to transfer money from one MoneyGram outlet to another. In the settlement – which
           resolves claims that HAIDER is liable under the BSA for failing to ensure that MoneyGram
           implemented and maintained an effective anti-money laundering (‘AML’) program and filed timely
           suspicious activity reports (‘SARs’) with FinCEN, HAIDER has agreed to a three-year injunction
           barring him from performing a compliance function for any money transmitter. HAIDER has also
           agreed to pay $250,000, and has admitted, acknowledged, and accepted responsibility for [a laundry
           list of activity resulting in fraud to consumers].

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  Id. at 182:1-24.

           In her deposition, Derya White acknowledged the injunction’s reference to “defendants,

  officers, agents, employees, attorneys” included White, Gonzalez, and Plaintiff “in that . . . we were

  all employees of MoneyGram.” White Dep. at 91:4-94:24. Fredy Morales worked for MoneyGram

  from December 2013 to April 2019, first as a compliance officer 1, then as a regional compliance

  officer, and finally as a supervisor in the “global back office as leading the agent disciplinary actions

  team.” Morales Dep. at 7:17-8:18. When he first began working in compliance for MoneyGram,

  Morales was told about the 2009 FTC injunction, and he reviewed the injunction as part of his

  responsibilities as a regional compliance officer. Id. at 23:7-21. Morales testified everybody in

  compliance at MoneyGram received the same training, which included reading the DPA. Id. at

  26:18-27:19.

           In her deposition, Sylvia Gil-Wallin testified she has been employed with MoneyGram as a

  regional compliance officer since April 2014. Gil Dep. at 5:3-19. According to Gil, when she joined

  the company in 2014, she was asked to read the 2012 DPA between MoneyGram and the

  government. Id. at 17:2-16 (stating “they ask you to read it when . . . they send you the offer letter”).

  Regarding the Amended DPA, Gil testified the company sent it to MoneyGram employees to read

  and they subsequently held meetings placing “mitigation actions.” Id. at 67:20-68:6; see also id. at

  69:2-16.

           Based on this evidence, Plaintiff asserts there is effectively no difference between MGI and


  Id. at Appx. 103-104. According to the press release, Haider, as “MoneyGram’s chief compliance officer,” was the most
  senior MoneyGram employee with direct oversight over MoneyGram’s Fraud Department and AML Compliance
  Department. Id. at Appx. 105.

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  MPSI, pointing out MGI officers and employers have authority and oversight over MPSI compliance.

  According to Plaintiff, even MPSI employees (and the federal government) acknowledge that MGI

  and MPSI operations (including compliance) are “one and the same.” Docket Entry # 118 at p. 9.

          Before addressing MGI’s motion, the Court sets forth the applicable law.

                                           V. APPLICABLE LAW

  A.      Statutory overview, generally

          Persons who report certain violations of the securities laws are protected from retaliation

  under (at least) two federal statutes: “Sarbanes–Oxley protects employees who blow a whistle to

  management or to regulatory agencies; Dodd–Frank protects ‘whistleblowers,’ defined as persons

  who report violations ‘to the Commission.’” Berman v. Neo@Ogilvy L.L.C., 801 F.3d 145, 156 (2d

  Cir. 2015) (Jacobs, J., dissenting), abrogated by Digital Realty Tr., Inc. v. Somers, 138 S. Ct. 767,

  200 L. Ed. 2d 15 (2018) (quoting15 U.S.C. § 78u–6(a)(6)). The Sarbanes-Oxley Act of 2002,

  referred to herein as SOX or Sarbanes-Oxley, was enacted after the collapse of Enron Corporation

  to “safeguard investors in public companies and restore trust in the financial markets.” Moody v. Am.

  Nat’l Ins. Co., No. 3:19-CV-00206, 2020 WL 3128259, at *2 (S.D. Tex. June 12, 2020) (quoting

  Lawson v. FMR L.L.C., 571 U.S. 429, 432, 134 S.Ct. 1158, 188 L.Ed.2d 158 (2014) (“Lawson III”)).

          The whistleblower provision provides federal protection to employees of publicly traded

  companies who provide evidence of fraud to federal governmental authorities or their supervisor or

  who participate in a proceeding relating to a violation of antifraud laws or Securities and Exchange

  Commission rules.8 See Brent B. Nicholson, The Perils of Parenthood and Other Dangerous

          8
            What became Title VIII of the Sarbanes-Oxley Act of 2002 started out as Section 806 of the Corporate and
  Criminal Fraud Accountability Act of 2002 (“CCFAA”), introduced by Senator Patrick Leahy on March 12, 2002. See

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  Relationships Under the Whistleblower Protection Provision of the Sarbanes-Oxley Act of 2002, 2

  Entrepreneurial Bus. L.J. 415, 416 (2007) (citing 18 U.S.C. § 1514A(a) (2006)). Specifically, 18

  U.S.C. § 1514A, established a private right of action for employees of certain companies who are

  discharged for, among other things, “provid[ing] information . . . regarding any conduct which the

  employee reasonably believes constitutes a violation of [specified securities laws] . . . to . . . a person

  with supervisory authority over the employee.” Daly v. Citigroup Inc., 939 F.3d 415, 422 (2d Cir.

  2019) (quoting 18 U.S.C. § 1514A(a)(1)(C)). Protected activity is defined as:

           any lawful act done by the employee to provide information, cause information to be
           provided, or otherwise assist in an investigation regarding any conduct which the
           employee reasonably believes constitutes a violation of section 1341 [mail fraud],
           1343 [wire fraud], 1344 [bank fraud], or 1348 [securities fraud], any rule or
           regulation of the Securities and Exchange Commission, or any provision of Federal
           law relating to fraud against shareholders. . . .


  Wallace v. Tesoro Corp., 796 F.3d 468, 474 (5th Cir. 2015) (quoting 18 U.S.C. § 1514A(a)).

  “Essentially, the employee has to provide information or assist in an investigation that he reasonably

  believes relates to one or more of six categories of laws and regulations: four specific types of fraud,

  a federal offense that relates to fraud against shareholders, or a rule or regulation of the SEC.”

  Wallace, 796 F.3d at 474.

           Following the financial crisis of 2007-08, Congress passed the Dodd-Frank Wall Street

  Reform and Consumer Protection Act of 2010, Pub. L. No. 111-203, 124 Stat. 1376 (2010) (“Dodd-

  Frank”), which amended a variety of federal statutory provisions that had been designed to regulate

  the financial industry. Daly, 939 F.3d at 422. Dodd-Frank amended the Securities Exchange Act of

  Brent B. Nicholson, The Perils of Parenthood and Other Dangerous Relationships Under the Whistleblower Protection
  Provision of the Sarbanes-Oxley Act of 2002, 2 Entrepreneurial Bus. L.J. 415, 417 (2007). Federal whistleblower
  protection was written into Section 806 of CCFAA, later to become Title VIII of SOX and codified at 18 U.S.C. §1514A.
  Id.

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  1934 (“Exchange Act”) to create a private right of action against an employer who retaliates against

  a whistleblower for engaging in one or more of three categories of protected activity including

  “making disclosures that are required or protected under [SOX].” Id. (quoting 15 U.S.C. §

  78u-6(h)(1)(A)(iii)).

  B.       Anti-retaliation provision of Sarbanes-Oxley

           Plaintiff brings his claims under the anti-retaliation provision of SOX, codified at 18 U.S.C.

  § 1514A(a), as amended by Section 929A of Dodd-Frank. “The amended provision extends §

  1514A’s protection to employees of public company subsidiaries and nationally recognized statistical

  rating organizations (NRSROs).” Lawson III, 571 U.S. at 455. Recently, the Supreme Court, in

  comparing this provision with the “core objective” of Dodd–Frank’s robust whistleblower program,

  stated Congress had a “more far-reaching objective” when enacting Sarbanes–Oxley’s whistleblower

  regime: It sought to disturb the “corporate code of silence” that “discourage[d] employees from

  reporting fraudulent behavior not only to the proper authorities, such as the FBI and the SEC, but

  even internally.” Digital Realty Tr., Inc. v. Somers, 138 S. Ct. 767, 777-78, 200 L. Ed. 2d 15 (2018)

  (quoting Lawson III, 571 U.S., at ––––, 134 S.Ct., at 1162 (internal quotation marks omitted in

  Somers)). Accordingly, the Sarbanes–Oxley anti-retaliation provision covers employees who report

  fraud not only to the SEC, but also to any other federal agency, Congress, or an internal supervisor.

  Id. at 778.

           A SOX retaliation claim requires exhaustion of administrative remedies prior to filing suit.9
           9
              “Because exhaustion requirements are designed to deal with parties who do not want to exhaust, administrative
  law creates an incentive for these parties to do what they would otherwise prefer not to do, namely, to give the agency
  a fair and full opportunity to adjudicate their claims.” Erhart v. BofI Holding, Inc., No. 15-CV-02287-BAS-NLS, 2020
  WL 1550207, at *5 (S.D. Cal. Mar. 31, 2020) (quoting Woodford v. Ngo, 548 U.S. 81, 90, 126 S.Ct. 2378, 165 L.Ed.2d
  368 (2006)). The “law does this by requiring proper exhaustion of administrative remedies, which ‘means using all steps
  that the agency holds out, and doing so properly (so that the agency addresses the issues on the merits).’” Id. (quoting

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  Buchanan v. Sterling Constr. Co., Inc., Civil Action No. H-16-3429, 2017 WL 6888308, at *3 (S.D.

  Tex. July 26, 2017) (citing Wallace, 796 F.3d at 475-76 (holding SOX retaliation suits are limited

  by the scope of the administrative complaint)). To pursue a whistleblower retaliation claim under

  SOX, a plaintiff must first initiate an administrative action by filing a complaint with the Secretary

  of Labor. Erhart v. BofI Holding, Inc., No. 15-CV-02287-BAS-NLS, 2020 WL 1550207, at *6 (S.D.

  Cal. Mar. 31, 2020) (citing 18 U.S.C. § 1514A(b)(1)(A)).

          The Department of Labor (“DOL”) has delegated the responsibility for investigating and

  initially adjudicating the complaint to the Occupational Safety and Health Administration (“OSHA”).

  Villanueva v. U.S. Dep’t of Labor, 743 F.3d 103, 106 (5th Cir. 2014) (citing 77 Fed. Reg. 3912; also

  citing 29 C.F.R. § 1980.104(a)). The claimant may appeal OSHA’s determination to an ALJ and

  ultimately the DOL’s Administrative Review Board (“ARB”). Erhart, 2020 WL 1550207, at *6

  (citing Lawson III, 571 U.S. at 436–37 (citing 29 CFR §§ 1980.104 to 1980.110)). “[T]he ARB’s

  determination on a § 1514A claim constitutes the agency’s final decision and is reviewable in federal

  court under the standards stated in the Administrative Procedure Act, 5 U.S.C. § 706.” Id. (quoting

  Lawson III, 571 U.S. at 437). “If, however, the ARB does not issue a final decision within 180 days

  of the filing of the complaint, and the delay is not due to bad faith on the claimant’s part, the

  claimant may proceed to federal district court for de novo review.” Id. (quoting Lawson III, 571 U.S.

  at 437 (citing 18 U.S.C. § 1514A(b))).

          The requirements for a prima facie case are articulated in the DOL regulations. Day v.

  Staples, Inc., 555 F.3d 42, 53 (1st Cir. 2009). To make out a prima facie case for retaliation under


  Woodford, 548 U.S. at 90 (quoting Pozo v. McCaughtry, 286 F.3d 1022, 1024 (7th Cir. 2002))).



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  § 1514A(a), an employee must show “by a preponderance of the evidence, that (1) he engaged in

  protected whistleblowing activity, (2) the employer knew that he engaged in the protected activity,

  (3) he suffered an ‘adverse action,’ and (4) the protected activity was a ‘contributing factor’ in the

  ‘adverse action.’” Wallace v. Andeavor Corp., 916 F.3d 423, 426 (5th Cir.), cert. denied, 140 S. Ct.

  206 (2019) (quoting Halliburton, Inc. v. Admin. Review Bd., 771 F.3d 254, 259 (5th Cir. 2014)

  (footnote omitted) (quoting Allen v. Admin. Review. Bd., 514 F.3d 468, 475-76 (5th Cir. 2008))). An

  employee’s reasonable belief that conduct violates one of those six categories must be evaluated

  under both an objective and a subjective standard. Wallace, 796 F.3d at 474 (citing Allen, 514 F.3d

  at 477). The objective standard examines whether the belief would be held by “a reasonable person

  in the same factual circumstances with the same training and experience as the aggrieved employee.”

  Wallace, 796 F.3d at 474-75 (quoting Allen, 514 F.3d at 477).

         Then, “[i]f the employee establishes these four elements, the employer may avoid liability

  if it can prove by clear and convincing evidence that it would have taken the same unfavorable

  personnel action in the absence of that protected behavior.” Hemphill v. Celanese Corp., 430 Fed.

  Appx. 341, 344 (5th Cir. 2011) (quoting Allen, 514 F.3d at 476 (internal quotations and citations

  omitted in Hemphill)). This “independent burden-shifting framework” is distinct from the

  McDonnell Douglas burden-shifting framework applicable to Title VII claims. Allen, 514 F.3d at 476

  (citing Williams v. Admin. Review Bd., 376 F.3d 471, 476 (5th Cir.2004) (ERA case); also citing

  Trimmer v. U.S. Dep’t of Labor, 174 F.3d 1098, 1101 (10th Cir.1999) (ERA case)).

         It is now well accepted that courts should construe Section 806 broadly. Leshinsky v. Telvent

  GIT, S.A., 942 F. Supp. 2d 432, 440–41 (S.D. N.Y. 2013) (“Leshinsky II”) (citing Mahony v.

  KeySpan Corp., No. 04 Civ. 554(SJ), 2007 WL 805813, at *5 (E.D. N.Y. Mar. 12, 2007) (“The law

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  was intentionally written to sweep broadly, protecting any employee of a publicly traded company

  who took such reasonable action to try to protect investors and the market.” (citing 149 Cong. Rec.

  S1725–01, S1725, 2003 WL 193278 (Jan. 29, 2003))). At the summary judgment stage, a plaintiff

  need only demonstrate that a rational factfinder could determine that the plaintiff has made his prima

  facie case. Id. at 441. Assuming a plaintiff does so, summary judgment is appropriate only when,

  construing all of the facts in the employee’s favor, there is no genuine dispute that the record clearly

  and convincingly demonstrates that the adverse action would have been taken in the absence of the

  protected behavior. Id. “Thus, the defendant’s burden under Section 806 is notably more than under

  other federal employee protection statutes, thereby making summary judgment against plaintiffs in

  Sarbanes–Oxley retaliation cases a more difficult proposition.” Id. (citing Delville v. Firmenich, Inc.,

  No. 08 Civ. 10891, 920 F.Supp.2d 446, 458–59, 2013 WL 363391, at *9 (S.D. N.Y. Jan. 31, 2013)

  (laying out a defendant’s burden under both Title VII and Age Discrimination in Employment Act)).

          With this general law in mind, the Court now considers MGI’s motion for summary

  judgment, and specifically whether Plaintiff may assert retaliation claims under § 1514A against both

  MPSI and MGI as defendant-employers.

       VI. WHETHER PLAINTIFF MAY PROCEED AGAINST BOTH MPSI AND MGI


  A.      Parties’ assertions

          In its motion, MGI relies on Lawson III for the proposition that a retaliation plaintiff must

  be an employee of the defendant, whether that defendant-employer is the public company itself or

  one of its subsidiaries. In his surreply, Plaintiff asserts, among other things, MGI’s insistence that

  Lawson III “is controlling is curious.” Docket Entry # 118 at p. 4. According to Plaintiff, Lawson


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  involved the question of whether SOX covered claims of an employee of a contractor (not a

  subsidiary) of a publicly traded company when the contractor company was not itself publicly traded,

  and the Supreme Court held that such claims are covered. Id. Plaintiff further points out as follows:

          While Lawson does hold that an employee must sue her ‘employer,’ it should be
          noted that the plaintiffs in Lawson were employed by the subsidiaries of the
          defendant (FMR, LLC) and the Court allowed the claims to proceed against the
          parent company who contracted with the publicly traded company. In fact, the Court
          expressly noted Congress’ intent in ‘extending protection comprehensively to
          corporate whistleblowers.’ Id. at 456—57. (‘Lawson was employed by Fidelity
          Brokerage Services, LLC, a subsidiary of FMR Corp., which was succeeded by FMR
          LLC. Zang was employed by a different FMR LLC subsidiary, Fidelity Management
          & Research Co., and later by one of that company’s subsidiaries, FMR Co., Inc. For
          convenience, we refer to respondents collectively as FMR.’). Id. at 437—38.


  Id.

          Even though the facts of Lawson (which the Court sets out in detail below) may cut against

  MGI’s argument, the Court notes there is no indication in the Lawson opinions that the precise issue

  before the Court was raised there. Here, although there is no dispute that Plaintiff was employed by

  MPSI or that MPSI is covered by SOX’s whistleblowing statute as amended by Dodd-Frank, there

  is a dispute as to whether Plaintiff also has a cause of action, either under an indirect or direct theory

  of liability, against MGI as his employer.

          As discussed in detail below, not only are there various legal theories available by which a

  parent can be liable for the acts of its subsidiaries, but there is also great discrepancy in the case law

  as to how, or under what theory, a court should best consider the issue raised in MGI’s motion. To

  aid in the Court’s discussion of the ultimate issue raised in MGI’s motion, the Court must first

  consider the various theories and determine which of the available theories Plaintiff has adequately

  raised. The Court will then consider how administrative proceedings and federal courts have

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  interpreted § 1514A, both before and after the enactment of Dodd-Frank, focusing on the various

  theories utilized in those opinions.

  B.     Theories by which a parent can be held liable for the acts of its subsidiaries

  1.     Application of state law or federal common law

         As an initial matter, the Court must determine whether to borrow state law or to apply a

  federal common law of indirect liability. In a case involving the Comprehensive Environmental

  Response, Compensation, and Liability Act of 1980 (“CERCLA”), 94 Stat. 2767, as amended, 42

  U.S.C. § 9601 et seq., the Supreme Court noted in a footnote that there was significant disagreement

  among courts and commentators over whether, in enforcing CERCLA’s indirect liability, courts

  should borrow state law, or instead apply a federal common law of veil piercing. United States v.

  Bestfoods, 524 U.S. 51, 63 n. 9, 118 S. Ct. 1876, 141 L. Ed. 2d 43 (1998) (comparing U.S. v.

  Cordova Chemical Co. of Michigan, 113 F.3d 572, 584-85 (6th Cir. May 13, 1997) (Merritt, J.,

  concurring in part and dissenting in part) (arguing that federal common law should apply),

  Lansford–Coaldale Joint Water Auth. v. Tonolli Corp., 4 F.3d 1209, 1225 (3d Cir. 1993) (“[G]iven

  the federal interest in uniformity in the application of CERCLA, it is federal common law, and not

  state law, which governs when corporate veil-piercing is justified under CERCLA”), and Aronovsky

  & Fuller, Liability of Parent Corporations for Hazardous Substance Releases under CERCLA, 24

  U.S.F.L.Rev. 421, 455 (1990) (“CERCLA enforcement should not be hampered by subordination

  of its goals to varying state law rules of alter ego theory”), with, e.g., Cordova/Michigan, 113 F.3d

  at 580 (“Whether the circumstances in this case warrant a piercing of the corporate veil will be

  determined by state law”), and Dennis, Liability of Officers, Directors and Stockholders under



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  CERCLA: The Case for Adopting State Law, 36 Vill.L.Rev. 1367 (1991) (arguing that state law

  should apply); also citing In re Acushnet River & New Bedford Harbor Proceedings, 675 F.Supp.

  22, 33 (D. Mass.1987) (noting that, since “federal common law draws upon state law for guidance,

  . . . the choice between state and federal [veil-piercing law] may in many cases present questions

  of academic interest, but little practical significance”); also citing Note, Piercing the Corporate Law

  Veil: The Alter Ego Doctrine Under Federal Common Law, 95 Harv.L.Rev. 853 (1982) (arguing that

  federal common law need not mirror state law, because “federal common law should look to federal

  statutory policy rather than to state corporate law when deciding whether to pierce the corporate

  veil”)). The Supreme Court did not need to decide the question in order to rule on the issues raised

  in the Bestfoods appeal.

         “The Fifth Circuit has repeatedly declined to address whether, as a matter of federal common

  law, courts in this Circuit should apply federal or state law when adjudicating a veil piercing claim.”

  United States v. Dawn Properties, Inc., No. 1:14CV224-LG-JCG, 2016 WL 7223398, at *2 (S.D.

  Miss. Dec. 13, 2016) (quoting Port of S. La. v. Tri-Parish Indus., Inc., No. 11-3065, 2013 WL

  2394859, at *3 (E.D. La. May 28, 2013); also citing Bestfoods, 524 U.S. at 64 n.9 (declining to

  address the issue)). In Dawn Properties, the plaintiff brought claims against the defendant under the

  Fair Housing Act (“FHA”) under both theories of vicarious and direct liability. Id. at *1. Noting the

  claims were all predicated on the federal FHA, the court was of the opinion that federal common law

  applied to the veil piercing claim. Id. at *2 (citing Melson v. Vista World Inc. & Assocs., No. 12-135,

  2012 WL 6002680, at *4 (E.D. La. Nov. 30, 2012) (where “subject matter jurisdiction is predicated

  upon a federal question[,] federal common law applies”)). The court also found persuasive case law

  from other courts applying federal common law to veil piercing claims in the context of the FHA and

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  other federal statutes. Id. (citing Equal Rights Ctr. v. Equity Residential, No. 06-1660, 2016 WL

  1258418, at *3 (D. Md. Mar. 31, 2016) (“The court applies federal common law in deciding whether

  to pierce the corporate veil because that decision implicates an important federal interest: liability

  for violations of the FHA.”); also citing U.S. ex rel. Dekort v. Integrated Coast Guard Sys., 705 F.

  Supp. 2d 519, 546 (N.D. Tex. 2010) (FCA); also citing Shuck v. Wichita Hockey, Inc., 356 F. Supp.

  2d 1191, 1194 (D. Kan. 2005) (COBRA)).

           Similarly here, the Court finds that “given the federal interest in uniformity in the application

  of [SOX], it is federal common law, and not state law, which governs” matters of indirect liability.

  See United States v. Gen. Battery Corp., 423 F.3d 294, 298 (3d Cir. 2005) (CERCLA case) (quoting

  Lansford-Coaldale, 4 F.3d at 1225). Having determined that federal common law applies, the Court

  next turns to that law itself. Dawn Properties, 2016 WL 7223398, at *2. However, as explained in

  Piercing the Corporate Law Veil: The Alter Ego Doctrine Under Federal Common Law, 95 Harv.

  L. Rev. 853 (1982), piercing the corporate veil under federal common law has become a variant,

  rather than a “common,” law.10 Id. at 861.

  2.       Federal common law theories

           Generally speaking, a parent company cannot ordinarily be held liable for its subsidiary’s

  conduct. However, there are three theories by which the parent can be held liable for the acts of its


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              For example, labor disputes are governed by “federal law, which the courts must fashion from the policy of
  our national labor laws;” although state law may be adopted as the federal rule of decision, this may be done only “in
  order to find the rule that will best effectuate the federal policy.” Piercing the Corporate Law Veil: The Alter Ego
  Doctrine Under Federal Common Law, 95 Harv. L. Rev. 853, 859 (1982) (citations omitted). “Despite this importance
  of federal policy considerations, lower courts’ treatment of alter ego questions in labor disputes has been erratic,” with
  some courts automatically applying state law standards and other courts noting that federal law must apply, but then
  without further discussion applying state corporate law standards either directly or as adopted by other federal courts.
  Id. at 859-60. Inconsistency in the application of alter ego doctrines similarly plagues other areas of federal law. Id. at
  860.

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  subsidiaries: (1) an alter ego theory to “pierce the corporate veil;” (2) vicarious liability based on

  general agency principles; or (3) direct liability where the parent directly participated in the

  complained-of wrong. 111 Am. Jur. Trials 205, § 4 (Originally published in 2009) (citing Gillespie

  v. HSBC North America Holdings, Inc., 2006 WL 2735135, at *5 n.5 (M.D. Fla. 2006) (citing In re

  Managed Care Litigation, 298 F.Supp.2d 1259, 1309 (S.D. Fla. 2003) (case involving RICO

  claims))). “The complementary theories of limited liability and piercing the corporate veil have

  provoked consternation among courts and legal scholars alike.” Domain Prot., L.L.C. v. Sea Wasp,

  L.L.C., No. 4:18-CV-792, 2019 WL 5189200, at *12 (E.D. Tex. Oct. 15, 2019). “They have been

  variously described as a ‘legal quagmire,’ Ballantine, Separate Entity of Parent and Subsidiary

  Corporations, 14 CALIF. L. REV. 12, 15 (1925), and as being ‘enveloped in the mists of metaphor.’

  United States v. Jon-T Chems., Inc., 768 F.2d 686, 691–92 (5th Cir. 1985) (citing Berkey v. Third

  Avenue Ry., 244 N.Y. 84, 155 N.E. 58, 61 (1926) (Cardozo, J.)).” Id.

  a.     “Pierce the corporate veil” theories

         Alter ego theory to “pierce the corporate veil”

         The tests employed to determine when circumstances justifying “veil-piercing” exist are

  variously referred to as the “alter ego,” “instrumentality,” or “identity” doctrines; the formulations

  are generally similar, and courts rarely distinguish them. 111 Am. Jur. Trials 205, § 4 (Originally

  published in 2009). Under federal common law, courts are reluctant to pierce a corporate veil and

  impose liability on a separate, related entity, but may do so under extraordinary circumstances.

  Clipper Wonsild Tankers Holding A/S v. Biodiesel Ventures, L.L.C., 851 F. Supp. 2d 504, 509 (S.D.

  N.Y. 2012) (citing Arctic Ocean Int’l, Ltd. v. High Seas Shipping Ltd., 622 F.Supp.2d 46, 53 (S.D.



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  N.Y. 2009)). In order to “pierce the corporate veil” under the federal common law standard, a

  plaintiff must show that an alter ego was used to “perpetrate a fraud” or was “so dominated” and its

  corporate form so “disregarded” that the alter ego “primarily transacted [another entity’s] business

  rather than [its] own corporate business.” Id. (quoting Kirno Hill Corp. v. Holt, 618 F.2d 982, 985

  (2d Cir.1980)).

          “Veil piercing determinations are fact specific and differ with the circumstances of each

  case.” Id. (quoting Thomson–CSF, S.A. v. Am. Arbitration Ass’n, 64 F.3d, 773, 777–78 (2d Cir.1995)

  (internal quotation marks and citation omitted in Clipper)). Thus, the alter ego determination must

  be made in view of “the totality of the facts.” Id. (quoting United States v. Funds Held in the Name

  or for the Benefit of Wetterer, 210 F.3d 96, 106 (2d Cir. 2000)). There are several factors relevant

  to determining whether one entity is the “alter ego” of another, and thus whether to pierce the

  corporate veil. These include:

          (1) disregard of corporate formalities; (2) inadequate capitalization; (3) intermingling
          of funds; (4) overlap in ownership, officers, directors, and personnel; (5) common
          office space, address and telephone numbers of corporate entities; (6) the degree of
          business discretion shown by the allegedly dominated corporation; (7) whether the
          dealings between the entities are at arms length; (8) whether the corporations are
          treated as independent profit centers; (9) payment or guarantee of the corporation’s
          debts by the dominating entity, and (10) intermingling of property between the
          entities.


  Id. at 509-10 (quoting Matter of Arbitration between Holborn Oil Trading Ltd. and Interpol

  Bermuda Ltd., 774 F.Supp. 840, 844–45 (S.D. N.Y. 1991)).

          Courts in the Fifth Circuit generally limit veil piercing to situations in which the corporate

  subsidiary is (1) established to perpetrate a fraud (or if its shareholders drain the corporation’s assets)

  or (2) totally dominated and controlled by the parent corporation as its business conduit, as its alter

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  ego. United States v. Wallace, 961 F. Supp. 969, 978 (N.D. Tex. 1996) (citing United States v. Jon–T

  Chemicals, Inc., 768 F.2d 686, 691 (5th Cir.1985) (listing factors)). No one factor is dispositive, and

  courts have considered additional factors as well. Clipper, 851 F. Supp. 2d at 510 (citing Williamson

  v. Recovery Ltd. P’ship, 542 F.3d 43, 53 (2d Cir. 2008) (“Instead of a firm rule, the general principle

  guiding courts in determining whether to pierce the corporate veil has been that liability is imposed

  when doing so would achieve an equitable result.” (internal quotation marks omitted in Clipper));

  see also Jon-T Chemicals, Inc., 768 F.2d at 694 (“[T]here is no litmus test for determining whether

  a subsidiary is the alter ego of its parent.”).

          Labor-specific veil-piercing tests

          Additionally, there is the concept of joint or multiple employers, which has long been a staple

  of labor relations law. Murdock v. City of Houston, No. 4:10-CV-00056, 2011 WL 7109286, at *3

  (S.D. Tex. Sept. 21, 2011) (citing Boire v. Greyhound Corp., 376 U.S. 473, 481, 84 S.Ct. 894, 11

  L.Ed.2d 849 (1964); also citing NLRB v. Pennsylvania Greyhound Lines, Inc., 303 U.S. 261, 58 S.Ct.

  571, 82 L.Ed. 831 (1938) (“Together, respondents [affiliated corporations] act as employers of those

  employees . . . and together actively deal with labor relations of those employees.” (emphasis added

  in Murdock)); also citing NLRB v. Condenser Corp. of America, 128 F.2d 67, 72 (3d Cir.1942) (“It

  is rather a matter of determining which of two, or whether both, respondents control, in the capacity

  of employer, the labor relations of a given group of workers.” (emphasis added in Murdock))). The

  existence of joint employer status is “essentially a factual issue,” and hinges on whether the putative

  employer “possesse[s] sufficient control over the work of the employees to qualify as a joint

  employer.” Id. (quoting Boire, 376 U.S. at 481).



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         The joint employers doctrine is often confused with a related, but quite distinct, legal doctrine

  known as the “single employer” or “integrated enterprise” theory. Id. at *4 (citing John E. Higgins,

  Jr., The Developing Labor Law, vol. II, at 2247 (5th ed. 2006)). The integrated enterprise doctrine

  also originated in labor relations law, primarily as a way of determining whether related business

  entities, such a parent and a subsidiary, should be considered together as a single statutory employer

  for jurisdictional purposes. Id. According to the Third Circuit Court of Appeals, there is the

  “integrated enterprise” test for the presence of a single employer, “a sort of labor-specific

  veil-piercing test, first developed by the National Labor Relations Board.” Pearson v. Component

  Tech. Corp., 247 F.3d 471, 485 (3d Cir. 2001).

         In Radio Union v. Broadcast Service of Mobile, Inc., the Supreme Court upheld NLRB

  jurisdiction over a Mobile radio station, even though the station’s gross revenues were below the

  Board’s jurisdictional minimum of $100,000, because the station was “an integral part of a group

  of radio stations owned and operated by [a parent company] and . . . the annual receipts of the

  common enterprise are in excess of $100.000.” Murdock, 2011 WL 7109286, at *4 (quoting Radio

  Union v. Broadcast Service of Mobile, Inc., 380 U.S. 255, 256, 85 S.Ct. 876, 13 L.Ed.2d 789

  (1965)). The Court endorsed the Board’s practice of “consider[ing] several nominally separate

  business entities to be a single employer where they comprise an integrated enterprise,” and

  approved the Board’s four-factor test: (1) interrelation of operations, (2) common management, (3)

  centralized control of labor relations, and (4) common ownership. Id. (citing Radio Union, 380 U.S.

  at 256). The integrated enterprise doctrine has also been employed by the Fifth Circuit Court of

  Appeals in the employment discrimination context, using the same four Radio Union criteria. Id.

  (citing Schweitzer v. Advanced Telemarketing Corp., 104 F.3d 761, 764 (5th Cir.1997) (ADEA); also

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  citing Trevino v. Celanese Corp., 701 F.2d 397, 404 (5th Cir.1983) (Title VII)).

         “The integrated enterprise test, with its focus only on labor relations and its emphasis on

  economic realities as opposed to corporate formalities, see Phillip I. Blumberg, The Law of

  Corporate Groups: Problems of Parent and Subsidiary Corporations Under Statutory Law of General

  Application § 13.03, at 398 (1989), is demonstrably easier on plaintiffs than traditional veil

  piercing.” Pearson, 247 F.3d at 486. Ultimately, “the policy underlying the single employer doctrine

  is the fairness of imposing liability for labor infractions where two nominally independent entities

  do not act under an arm’s length relationship.” Id. (quoting Murray v. Miner, 74 F.3d 402, 405 (2d

  Cir. 1996)).

  b.     Vicarious liability based on general agency principles

         The Restatement (Third) of Agency § 1.01 provides as follows:

         Agency is the fiduciary relationship that arises when one person (a ‘principal’)
         manifests assent to another person (an ‘agent’) that the agent shall act on the
         principal’s behalf and subject to the principal’s control, and the agent manifests
         assent or otherwise consents so to act.


  Restatement (Third) of Agency § 1.01. Agency will be further addressed in the Court’s discussion

  below of the various administrative and federal court cases interpreting § 1514A.

  c.     Direct liability where the parent directly participated in the complained-of wrong

         Although not often employed to hold parent corporations liable for the acts of subsidiaries

  in the absence of other hallmarks of overall integration of the two operations, it has long been

  acknowledged that parents may be “directly” liable for their subsidiaries’ actions when the “alleged

  wrong can seemingly be traced to the parent through the conduit of its own personnel and


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  management,” and the parent has interfered with the subsidiary’s operations in a way that surpasses

  the control exercised by a parent as an incident of ownership. Pearson, 247 F.3d at 486–87 (citing

  Bestfoods, 524 U.S. at 64 (quoting William O. Douglas & Carrol M. Shanks, Insulation from

  Liability Through Subsidiary Corporations, 39 Yale L.J. 193, 207 (1929))). In such situations, the

  parent has not acted on its own (in which case there would be no need even to consider the

  subsidiary’s actions), nor has it acted in its capacity as owner of the subsidiary; rather, it has forced

  the subsidiary to take the complained-of action, in disregard of the subsidiary’s distinct legal

  personality. Id. (citing Esmark, Inc. v. NLRB, 887 F.2d 739, 756–57 (7th Cir.1989)). Thus, in the

  labor context, “direct” liability may attach if the parent has overridden the subsidiary’s ordinary

  decision-making process and ordered it to institute an unfair labor practice, or to create

  discriminatory hiring policies. Id. (citing Esmark, 887 F.2d at 757). In this way, direct liability

  functions essentially as a kind of “transaction-specific” alter ego theory. Id. (citing Esmark, 887 F.2d

  at 756).

          “In order to prevent the ‘direct participation’ theory of liability from extinguishing the

  general rule of the parent corporation immunity from the obligations of a subsidiary, that theory must

  be carefully limited to situations in which the parent corporation’s control over particular

  transactions is exercised in disregard of the separate corporate identity of the subsidiary.” 111 Am.

  Jur. Trials 205, § 5 (Originally published in 2009) (quoting Weinberger, Stanley R., Parent

  Corporations and Their Subsidiaries’ Liabilities: Guidelines, Corporate Counselor, May 2008).

          The facts of Bestfoods are illustrative. In that case, the United States brought an action under

  CERCLA for the costs of cleaning up industrial waste generated by a chemical plant. Bestfoods, 524

  U.S. at 55. CERCLA imposes liability on “any person who at the time of disposal of any hazardous

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  substance owned or operated any facility at which such hazardous substances were disposed of.”

  Nat’l Fuel Gas Midstream Corp. v. Pennsylvania Dep’t of Envtl. Prot., No. 116 C.D. 2016, 2017 WL

  2391719, at *12 (Pa. Commw. Ct. June 2, 2017) (quoting Section 107(a)(2) of CERCLA, 42 U.S.C.

  § 9607(a)(2) (emphasis added in Midstream)).

          The issue before the Supreme Court was whether a parent corporation that actively

  participated in, and exercised control over, the operations of a subsidiary may, without more, be held

  liable as an operator of a polluting facility owned or operated by the subsidiary. Bestfoods, 524 U.S.

  at 55. The Supreme Court answered “no, unless the corporate veil may be pierced.” Id. However,

  the Supreme Court also clarified that a “corporate parent that actively participated in, and exercised

  control over, the operations of the facility itself may be held directly liable in its own right as an

  operator of the facility.” Id.

          The district court held that operator liability may attach to a parent corporation both directly,

  when the parent itself operates the facility, and indirectly, when the corporate veil can be pierced

  under state law. Id. at 58 (citing CPC Int’l, Inc. v. Aerojet–General Corp., 777 F.Supp. 549, 572

  (W.D. Mich.1991)). A divided panel of the Court of Appeals for the Sixth Circuit reversed in part,

  United States v. Cordova/Michigan, 59 F.3d 584, then granted rehearing en banc and vacated the

  panel decision, 67 F.3d 586 (1995), again reversing the district court in part, 113 F.3d 572 (1997).

  Id. at 59. According to the Supreme Court, the “majority remarked on the possibility that a parent

  company might be held directly liable as an operator of a facility owned by its subsidiary: ‘At least

  conceivably, a parent might independently operate the facility in the stead of its subsidiary; or, as a

  sort of joint venturer, actually operate the facility alongside its subsidiary.’” Id. (quoting U.S. v.

  Cordova Chemical Co. of Michigan, 113 F.3d 572, 579 (6th Cir. May 13, 1997)). The Sixth Circuit

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  “refused to go any further and rejected the District Court’s analysis with the explanation:”

          ‘[W]here a parent corporation is sought to be held liable as an operator pursuant to
          42 U.S.C. § 9607(a)(2) based upon the extent of its control of its subsidiary which
          owns the facility, the parent will be liable only when the requirements necessary to
          pierce the corporate veil [under state law] are met. In other words, . . . whether the
          parent will be liable as an operator depends upon whether the degree to which it
          controls its subsidiary and the extent and manner of its involvement with the facility,
          amount to the abuse of the corporate form that will warrant piercing the corporate
          veil and disregarding the separate corporate entities of the parent and subsidiary.


  Id. at 59-60 (quoting Cordova/Michigan, 113 F.3d at 580). Applying Michigan veil-piercing law,

  the Sixth Circuit “decided that neither CPC nor Aerojet was liable for controlling the actions of its

  subsidiaries, since the parent and subsidiary corporations maintained separate personalities and the

  parents did not utilize the subsidiary corporate form to perpetrate fraud or subvert justice.” Id. at 60.

          The Supreme Court granted certiorari to resolve a conflict among the circuits over the extent

  to which parent corporations may be held liable under CERCLA for operating facilities ostensibly

  under the control of their subsidiaries. Id. The Court vacated and remanded. Id.

          The Supreme Court observed that “[i]t is a general principle of corporate law deeply

  ‘ingrained in our economic and legal systems’ that a parent corporation (so-called because of control

  through ownership of another corporation’s stock) is not liable for the acts of its subsidiaries. . . .

  Thus it is hornbook law that the exercise of the ‘control’ which stock ownership gives to the

  stockholders . . . will not create liability beyond the assets of the subsidiary.” Id. at 61-62 (citations

  omitted). The Court then pointed out “there is an equally fundamental principle of corporate law,

  applicable to the parent-subsidiary relationship as well as generally, that the corporate veil may be

  pierced and the shareholder held liable for the corporation’s conduct when, inter alia, the corporate

  form would otherwise be misused to accomplish certain wrongful purposes, most notably fraud, on

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  the shareholder’s behalf.” Id. at 62.

          At the outset of the discussion, the Court defined “operator” under CERCLA as “someone

  who directs the workings of, manages, or conducts the affairs of a facility.” United States v.

  Kayser-Roth Corp., 272 F.3d 89, 98 (1st Cir. 2001) (quoting Bestfoods, 524 U.S. at 66). It also,

  however, set forth a definition more specific to pollution-related activities at the facility. Id. at 89-90

  (citing Bestfoods, 524 U.S. at 66-67). Later in the opinion, the Court also recited the broader

  definition of “operator,” noting Congress’s use of the word “to operate” means “something more

  than mere mechanical activation of pumps and valves, and must be read to contemplate ‘operation’

  as including the exercise of direction over the facility’s activities.” Id. at 99 (quoting Bestfoods, 524

  U.S. at 71). Applying these definitions, the Court identified two flaws with the district court’s

  treatment of direct operator liability. Id.

          First, the Court rejected the district court’s erroneous “fusion of direct and indirect liability.”

  Id. (quoting Bestfoods, 524 U.S. at 67). “Rather, to keep direct and derivative liability distinct, the

  Court focused the direct ‘operator’ liability inquiry not on the parent’s interaction with the

  subsidiary, but rather on the parent’s interaction with the facility: ‘The question is not whether the

  parent operates the subsidiary, but rather whether it operates the facility, and that operation is

  evidenced by participation in the activities of the facility, not the subsidiary. Control of the

  subsidiary, if extensive enough, gives rise to indirect liability under piercing doctrine, not direct

  liability under the statutory language.’” Id. (quoting Bestfoods, 524 U.S. at 67–68 (internal quotation

  marks omitted in Kayser-Roth) (quoting Lynda J. Oswald, Bifurcation of the Owner and Operator

  Analysis under CERCLA, 72 Wash. U.L.Q. 223, 269 (1994))).



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          “Second, the Bestfoods Court noted that, ‘[i]n addition to (and perhaps as a reflection of) the

  erroneous focus on the [parent-subsidiary] relationship,’ the district court assumed erroneously that

  the actions of the joint officers and directors were necessarily attributable to the parent CPC.” Id.

  (quoting Bestfoods, 524 U.S. at 68). “In doing so, the district court failed to recognize that ‘it is

  entirely appropriate for directors of a parent corporation to serve as directors of its subsidiary, and

  that fact alone may not serve to expose the parent corporation to liability for its subsidiary’s acts.’”

  Id. (quoting Bestfoods, 524 U.S. at 69 (internal quotation marks omitted in Kayser-Roth)). The Court

  stated that,

          [s]ince courts generally presume that the directors are wearing their subsidiary hats
          and not their parent hats when acting for the subsidiary, it cannot be enough to
          establish liability here that dual officers and directors made policy decisions and
          supervised activities at the facility. The Government would have to show that, despite
          the general presumption to the contrary, the officers and directors were acting in their
          capacities as [parent] officers and directors, and not as [subsidiary] officers and
          directors, when they committed those acts.


  Id. (quoting Bestfoods, 524 U.S. at 69–70 (internal quotation marks and citations omitted in

  Kayser-Roth)).

          The Supreme Court described examples of activities that would be sufficient to find a parent

  directly liable as an operator of a polluting facility, including “when the parent operates the facility

  in the stead of its subsidiary or alongside the subsidiary in some sort of joint venture.” Id. (quoting

  Bestfoods, 524 U.S. at 71 (citing Cordova/Michigan, 113 F.3d at 579)). Another occurs when a dual

  officer or director might depart so far from the norms of parental influence exercised through dual

  officeholding as to serve the parent, even when ostensibly acting on behalf of the subsidiary in

  operating the facility. Id. at 99-100 (citing Bestfoods, 524 U.S. at 71). In a third scenario, “an agent


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  of the parent with no hat to wear but the parent’s hat might manage or direct activities at the facility.”

  Id. at 100 (quoting Bestfoods, 524 U.S. at 71).

          To distinguish a parental officer’s oversight of a subsidiary from control over the operation

  of the subsidiary’s facility, “norms of corporate behavior (undisturbed by any CERCLA provision)

  are crucial reference points.” Id. “Elaborating on the general contours of these norms, the Court

  noted that liability would not arise out of activities involving the facility but ‘consistent with the

  parent’s investor status, such as monitoring of the subsidiary’s performance, supervision of the

  subsidiary’s finance and capital budget decisions, and articulation of general policies and

  procedures.’” Id. (quoting Bestfoods, 524 U.S. at 72 (citations and internal quotation marks omitted

  in Kayser-Roth)). Thus, “[t]he critical question is whether, in degree and detail, actions directed to

  the facility by an agent of the parent alone are eccentric under accepted norms of parental oversight

  of a subsidiary’s facility.” Id.

          The Court found “some evidence that CPC engaged in just this type and degree of activity”

  at the plant in question. Id. Specifically, a CPC agent “played a conspicuous part in dealing with”

  the toxic risks emanating from the operation of the plant. Id. The district court found that this agent,

  Williams, served in the capacity of CPC’s governmental and environmental affairs director and

  became heavily involved in environmental issues at CPC’s subsidiary. “Drawing no ultimate

  conclusions, the Court nevertheless found these findings sufficient ‘to raise an issue of CPC’s

  operation of the facility’ and therefore remanded to the district court for a ‘reevaluation’ of CPC

  agents’ role in operating the facility at issue.” Id. (quoting Bestfoods, 524 U.S. at 72–73).

          The First Circuit Court of Appeals explained in Kayser-Roth it “is clear that direct operator



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  liability requires an ultimate finding of the parent’s involvement with ‘operations having to do with

  the leakage or disposal of hazardous waste, or decisions about compliance with environmental

  regulations.’” Id. at 102 (quoting Bestfoods, 524 U.S. at 66–67). According to the First Circuit, at

  the end of Bestfoods the Court’s attention to facts specific to the involvement of CPC (and its agent

  Williams) in its subsidiary’s environmental matters indicates that the pollution-related focus is

  controlling. Id. (citing Bestfoods, 524 U.S. at 72–73). The First Circuit noted this reading is

  consistent with that of other courts interpreting CERCLA liability since Bestfoods. Id. (generally

  citing Carter–Jones Lumber Co. v. Dixie Distrib. Co., 166 F.3d 840, 846–47 (6th Cir.1999) (reading

  Bestfoods in arranger liability context to require “active[ ] involve[ment] in the arrangements for

  disposal”); also citing United States v. Green, 33 F.Supp.2d 203, 217 (W.D.N.Y.1998) (requiring

  participation in management of “facility’s pollution control operations” for operator liability to

  attach)); see also PPG Indus. Inc. v. United States, 957 F.3d 395, 401 n. 5 (3d Cir. 2020) (“Under

  the specific facts of Bestfoods, there was evidence that an agent of the parent corporation ‘played a

  conspicuous part in dealing with the toxic risks emanating from the operation of the plant.’ . . .

  Because of the work of this agent, the parent corporation ‘became directly involved in environmental

  and regulatory matters.’. . . Thus, the Supreme Court found that the parent corporation’s ‘operation’

  of the facility was an issue and remanded the case for further proceedings.”).

  3.     What theories have been sufficiently raised by Plaintiff

         Based on Plaintiff’s briefing in this and other matters, Plaintiff has raised different types of

  veil-piercing theories, whether classified as “integrated enterprise”/“single employer” from labor law

  or the more traditional alter ego theory to “pierce the corporate veil.” In its reply, MGI asserts

  Plaintiff has not sufficiently pleaded that MPSI is the alter ego of MGI, that he was jointly employed

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  by MPSI and MGI, or that MGI should be held vicariously liable for the acts of MPSI under any

  corporate veil piercing or other similar theories; thus, according to MGI, Plaintiff’s SOX retaliation-

  claim against MGI should be dismissed. Docket Entry # 92 at p. 5.

            There is some authority pre-dating the Dodd-Frank amendment which supports MGI’s

  assertion in its reply that a plaintiff must plead facts supporting a single employer or joint employers

  theory. In Trusz v. UBS Realty Investors, 2010 WL 1287148 (D. Conn.2010), the plaintiff brought

  suit against UBS AG and its non-publicly traded subsidiary UBS Realty, alleging they jointly

  constituted an “integrated employer” because of their interrelated operations and control. Id. at *5.

  In ruling on the defendants’ motion to dismiss, the court discussed the so-called integrated employer

  test, also referred to as the single employer test, and concluded the test would be applicable in a SOX

  case. Id. at *6. According to the court, the plaintiff had alleged that UBS AG and UBS Realty

  constituted an “integrated employer,” sharing common management, human resources strategies,

  integrated training, and compensation plans. Id. at *7. The plaintiff also alleged “he was directly

  employed by UBS Realty, his employment was governed by UBS AG’s policies and procedures and

  that UBS AG officials were involved in and made decisions concerning the functioning of UBS

  Realty.” Id. The court concluded the plaintiff pleaded “a sufficient level of interrelatedness and

  control in human resources decisions between UBS AG and UBS Realty.” Id. Thus, the court held

  the allegations were sufficient to defeat a Rule 12(b)(1) motion to dismiss.11 Id.
           11
              Six years later, in an Amended Ruling on Cross-Motions for Summary Judgment, another district judge in the
  same court noted that a threshold question was whether UBS Realty– as distinct from UBS AG– was subject to the
  whistleblowing provisions of the Act. Trusz v. UBS Realty, No. 3:09-CV-00268 (JAM), 2016 WL 1559563, at *4 (D.
  Conn. Apr. 18, 2016). Noting the events at issue in the case all took place before the passage of Dodd-Frank, the court
  agreed with the “weight of case law in this circuit and the analysis of the ARB” in Johnson v. Siemens Building
  Technologies, Inc., discussed in this Report and Recommendation below, that the Dodd-Frank amendment to § 1514A
  “merely clarified existing law and therefore applie[d] to past conduct consistent with well-established principles of
  retroactivity.” Id. at *5. According to the court, both UBS Realty and UBS AG were subject to Sarbanes-Oxley during
  the events at issue. Id.

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           Although it does not involve claims against both a subsidiary and a parent corporation, the

  Court also finds instructive Gladitsch v. Neo@Ogilvy, No. 11 CIV. 919 -DAB, 2012 WL 1003513

  (S.D.N.Y. Mar. 21, 2012). There, the plaintiff brought SOX retaliation claims against defendants

  Neo and Ogilvy, two subsidiaries of publicly traded company WPP, whose financial information was

  consolidated in WPP’s financial statements. Id. at *1. The plaintiff worked under the supervision of

  two individual defendants who were directors at Neo. Id. In considering the defendants’ Rule

  12(b)(6) motion to dismiss, the court first addressed the defendants’ argument that because the

  plaintiff worked for subsidiaries of a publicly traded company and not for the publicly traded

  company itself, defendants Neo and Ogilvy were not subject to SOX. Id. at *4.

           Noting Dodd-Frank was enacted while the plaintiff’s OSHA complaint was pending, the

  court held Dodd-Frank is a “clarifying” amendment, functioning to correct a misinterpretation rather

  than effect a substantive change in the law; therefore, Section 929A of Dodd-Frank applied to the

  plaintiff’s pending case. Id. (citing Johnson v. Siemens Building Technologies, Inc., ARB Case No.

  08–032 at 8–9, ALJ Case No.2005–SOX–015 (Dept. of Labor ARB Mar. 31, 2011)). According to

  the court, because Neo and Ogilvy were subsidiaries whose financial information was included in

  publicly traded parent company WPP’s financial statements, they were subject to SOX. Id.

           The court then denied the defendants’ motion to dismiss the plaintiff’s SOX claims against

  sister subsidiary Ogilvy on grounds that Ogilvy and its sister subsidiary Neo were not a “single

  employer.” Id. at *5. The court explained as follows:



           Notably, in a footnote, the court stated that even if the Dodd-Frank amendment did not apply to the relevant
  conduct, UBS Realty might still be liable, on the ground—as set forth by the district judge in her previous ruling on the
  motion to dismiss—that UBS AG and UBS Realty were together an “integrated employer.” Id. at *5 n. 3 (citing Trusz,
  2010 WL 1287148, at *5).

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           Here, Plaintiff’s Complaint alleges that [publically traded parent company] ‘WPP
           exercises control over the board of directors, management and, shares the same
           Human Resource policies and procedures, and maintains bottom-line financial
           responsibility for Neo and [Ogilvy].’ (SAC ¶ 12.) Neo and Ogilvy share common
           ownership, premises, directors and/or officers, and financial control. (SAC ¶ 14.)
           Moreover, Neo’s own description of its relationship with Ogilvy explains that
           ‘Neo@Ogilvy is a fully integrated division of OgilvyOne Worldwide, and therefore
           part of Ogilvy & Mather Worldwide. As part of the Ogilvy network, [Neo@Ogilvy
           is] uniquely positioned to work in partnership with Ogilvy companies . . .
           Neo@Ogilvy develops and implements media and search concepts for the entire
           Ogilvy Group.’


  Id. The court concluded the complaint, combined with publicly available information and documents

  integral to the complaint, sufficiently showed that sister subsidiaries Ogilvy and Neo were a single

  or joint employer. Id.

           Here, if it were to rely on the so-called labor-specific veil-piercing integrated enterprise or

  single employer test in this SOX case, the Court would similarly find that the allegations in the SAC

  (which allege MGI and MPSI file consolidated financial statements and that MPSI is a wholly owned

  subsidiary of MGI), combined with the publicly available information and documents integral to the

  complaint (DPA, Amended DPA, and FTC orders), are sufficient to put MGI on notice that Plaintiff

  might be asserting the integrated enterprise or single employer test.12 This is bolstered by the fact that

  as early as June 2019, Plaintiff raised the integrated enterprise or single employer test in response

  to MPSI’s motion to dismiss for failure to exhaust; thus, Defendants have been on notice of

  Plaintiff’s possible reliance on a veil-piercing type theory for over ten months before MGI filed its

  current motion for summary judgment. See Docket Entry # 34 at p. 7.
           12
             The Court notes that to the extent a plaintiff’s claims fail for insufficiency of his pleadings, and not as a matter
  of law, he would be afforded an opportunity to re-plead. Foster v. UPS Freight, Inc., No. 18CV10294 (NSR)(LMS),
  2020 WL 5350446, at *11 (S.D. N.Y. Sept. 4, 2020) (citing White v. Best Cheese Corp., No. 17 CV 4487 (NSR), 2018
  WL 4684163, at *6 (S.D. N.Y. Sept. 27, 2018)). The Court further notes that this case is currently at the motion for
  summary judgment stage of the case, with motions to dismiss having been decided over eight months ago. The pretrial
  conference is scheduled in two weeks.

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           However, based on its consideration of the extensive case law discussed in detail below, the

  Court does not find Plaintiff must rely on such veil-piercing theories of liability in order to defeat

  MGI’s motion, as Plaintiff’s pleadings and evidence also sufficiently raise vicarious liability based

  on general agency principles as well as direct liability.

           In his response, Plaintiff specifically disputed MGI’s assertion that only MPSI was his

  employer. See Docket Entry # 89 at p. 4. Although Plaintiff’s response focused on alter ego and

  “piercing the corporate veil” theories, in his surreply, Plaintiff argues (without focusing on any

  indirect liability theory) that he is an employee of both MPSI and MGI for purposes of SOX liability.

  Although MGI attempts to refute Plaintiff’s alter ego theory to “pierce the corporate veil,” MGI does

  little to negate the asserted theories of vicarious liability based on general agency principles and

  direct liability of MGI.

           In a sur-surreply allowed by the Court, MGI asserts Plaintiff alleges for the first time in his

  surreply, without pleading or proof, that “Mr. Lozada was an employee of both the subsidiary,

  MoneyGram Payment Systems, Inc. (MPSI) and the parent, MoneyGram International, Inc. (MGI).”

  Docket Entry # 119 at p. 1 (citing Docket Entry # 118 at p. 1 (emphasis added by MGI)). According

  to MGI, instead of briefing the alter ego issue or some other unpleaded theory of vicarious liability

  as anticipated, “Plaintiff has taken advantage of the Court’s decision to permit a surreply to advance

  an entirely new legal argument: ‘whether an employee of a subsidiary is also an employee of the

  parent company for purposes of SOX protection.’” Id. at p. 4 (quoting Docket Entry # 118 at p. 1).

  MGI argues Plaintiff should not be allowed to raise this argument in his surreply.13
           13
              In the event the Court considers the argument, MGI asserts it fails as a matter of law. Docket Entry # 119 at
  p. 4. MGI attempts to distinguish the cases relied upon by Plaintiff, asserting they predate the Dodd-Frank amendments.
  Id. at pp. 4-5. MGI asserts the issue of whether a parent could have been held liable for the actions of its subsidiary
  against a subsidiary’s employee is “now moot because SOX, as currently enacted, unambiguously provides a direct cause

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           To the extent the Court finds the theories appropriate after considering of the case law set out

  below, the Court will consider whether there is a genuine issue of material fact that MGI is also

  Plaintiff’s employer under general agency principles and/or a direct theory of liability. The Court

  finds that Plaintiff sufficiently alleged direct liability of the parent corporation. Although Plaintiff

  has argued various theories of parent-subsidiary derivative or indirect liability in briefing in this case,

  Plaintiff’s SAC contains allegations which suggest MGI is subject to direct, rather than derivative

  or vicarious liability, to the extent there is sufficient evidence to create a genuine issue of material

  fact that MGI was also his employer along with MPSI. See In re Managed Care Litig., 298 F. Supp.

  2d 1259, 1309 (S.D. Fla. 2003); see also Docket Entry # 21, ¶ 9 (“MGI violated a number of federal

  statutes as well as government directives by failing to establish, implement and maintain

  comprehensive anti-fraud and anti-money laundering programs, failing to conduct due diligence on

  its agents, failing to adequately monitor, investigate and discipline its agents for significant breaches

  of its global compliance policy, and failing to ensure that its agents met their obligations to detect

  and prevent fraud, and money laundering, as outlined in both MGI’s Agent’s Global Partner

  Compliance Policy and government filings.”), ¶ 10 (“Plaintiff raised complaints to management

  regarding MGI’s continuing and willful violations of its policy, applicable laws and regulations as

  well as the government directives. He was terminated for seeking to stop MGI’s illegal acts.”), ¶ 11

  (“On October 21, 2009, MGI entered a Stipulated Order with the Federal Trade Commission

  (‘FTC’).”), ¶ 12 (“On November 9, 2012, MGI entered a Deferred Prosecution Agreement (‘DPA’)

  with the United States Department of Justice (‘DOJ’).”), ¶ 14 (“On November 8, 2018, the DOJ

  levied a substantial fine against MGI and entered into an Amendment and Extension of Deferred


  of action against the subsidiary.” Id. at p. 5.

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  Prosecution Agreement (‘Amended DPA’) with MGI.”), ¶ 22 (“While the Amended DPA and the

  Modified FTC Order did not single out any one of MGI’s agents, they identified a wide range of

  systemic, illegal conduct that forms the basis for the Amended DPA. This was the same conduct that

  Plaintiff began complaining about almost immediately after he was hired at MGI, e.g., insufficient

  transaction analysis; insufficient suspicious activity reports (‘SARs’); insufficient oversight of

  minority owned stores; failure to conduct independent reviews, and breakdown of the fraud

  interdiction system, specifically the Individual Watch List (‘IWL’) program.”), ¶ 23 (“This illegal

  conduct by MGI continued during Plaintiff’s tenure at MPSI.”), ¶ 24 (“As Senior Manager for the

  U.S. Regional Compliance Team, Plaintiff was responsible for supervising MGI’s regional

  compliance officers (‘RCOs’), senior regional compliance officers (‘Sr. RCOs’) and managers on

  the United States team.”), ¶ 26 (“Plaintiff also was responsible for monitoring MGI’s agents’

  implementation of MGI’s Global Partner Compliance Policy, which contained MGI’s anti-fraud and

  anti-money laundering policies and procedures.”), ¶ 28 (“During Plaintiff’s entire tenure at MPSI,

  MGI was operating under the requirements of the Amended DPA and the Modified FTC Order.”),

  ¶ 29 (“During Plaintiff’s tenure, MGI had knowledge of, yet ignored, suspicious activities of several

  of its largest agents, including Wal-Mart, Schnucks, SuperValu, RaceTrac, Valero and CVS.”), ¶ 30

  (“MGI knew of the suspicious activities by virtue of annual on-site regional compliance reviews of

  all of its large agents. These reviews were conducted by MGI’s Sr. RCOs. The findings of the Sr.

  RCOs’ reviews were recorded in reports called Review Worksheets, Agent (Headquarter) Review

  – Enhanced Due Diligence Program Review (hereafter ‘Agent Review Worksheets’).”), ¶ 32 (“Agent

  Review Worksheets were kept on file by MGI.”), ¶ 33 (“At the end of the annual review, the agent

  received two documents from the Sr. RCO: one, somewhat similar to a report card, was called an


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  ‘AML/Fraud Compliance Review Report’ and the other, similar to a ‘to-do’ list, was called an

  ‘Acknowledgement Form.’ The Acknowledgement Form was then signed by the agent’s Sr. RCO

  or its compliance department representative and returned to MGI.”), ¶ 36 (“Shortly after starting his

  position at MPSI, Plaintiff began observing significant flaws with the way in which MGI was

  implementing and enforcing its anti-fraud and antimoney laundering policies, particularly when it

  involved large agents of MGI.”), ¶ 46 (“Kristi Diehl (‘Diehl’), the VP of Global Compliance

  Enhancement Program and Technology Projects, managed a large team that was the target of

  constant criticism within compliance for its lack of effectiveness and inability to fix significant

  problems. Plaintiff recalls having a frank discussion with Diehl about the IWL program in January

  2017. . . .”), ¶ 47 (“That same week, Plaintiff met with Craig Bernier, the Head of Compliance

  Monitoring (Financial Intelligence Unit), and Bernier told Plaintiff that he was aware of the problem

  and that he also was frustrated with the lack of a solution.”), ¶ 49 (“MGI continued to turn a blind

  eye to ongoing violations of the DPA, the 2009 FTC Order, and the BSA.”), ¶ 55 (“Plaintiff also

  brought his concerns regarding MGI’s compliance infractions to the attention of Christopher Ponder

  (‘Ponder’), the Director of Human Resources for the Compliance Department of MGI. Ponder

  refused to investigate Plaintiff’s claims of ethical violations on the part of Gonzalez, and

  subsequently criticized Plaintiff for his lack of deference to Gonzalez.”), ¶ 58 (“Over and over again,

  senior employees at MGI portrayed an image that completely misrepresented MGI’s compliance

  program and bragged about the effectiveness of MGI’s IWL, even though they knew it was false.”),

  ¶ 63 (“MGI, therefore, concealed its ongoing infractions of the DPA, the FTC Order and the BSA

  for its own gain.”), ¶ 68 (“MGI enforced a hiring freeze from November 2016 to January 2017.

  During that time, over one-third of the Regional Compliance Team (‘RCT’) positions in the U.S.


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  remained vacant, and the RCT remained seriously understaffed. Plaintiff became convinced that the

  main goal of MGI was to cut expenses, even if that meant hiding the program’s flaws from the

  Monitor, MGI’s own partner agents and its investors.”), ¶ 69 (“In one particular meeting in January

  or February 2017, Gonzalez told members of the RCT to not put compliance deficiencies in writing

  but, instead, to pick up the phone and call their colleagues to avoid creating a paper trail. Gonzalez

  reminded the RCT that the Monitor would use key words to search all emails sent within

  compliance, and that MGI wanted to avoid having to explain an email to the Monitor.”), ¶ 71

  (“Another example of MGI hiding its compliance problems from the Monitor occurred during a

  conference in Miami, where Plaintiff was to give a presentation to the RCT team about the DPA.

  One of the attorneys assigned to the Monitor’s team, Phil Underwood (‘Underwood’), attended the

  conference. Plaintiff took advantage of this opportunity to raise some of his concerns with

  Underwood. . . .”), ¶ 72 (“Peter Green, MGI’s Head of Regional Compliance for the Americas and

  Europe, also saw Plaintiff speaking to Underwood and asked Plaintiff what their conversation

  entailed.”), ¶ 75 (“Plaintiff again was amazed by how senior leaders in MGI compliance were

  working hard to ensure that the Monitor was kept in the dark. This was clearly not a Gonzalez issue

  alone; Plaintiff had seen attorneys from MGI attend a meeting where Gonzalez told RCT team

  members not to communicate with other members of the team about compliance deficiencies in

  writing.”), ¶¶ 82-83 (“Plaintiff was concerned that Gonzalez’s decision [to allow certain stores to

  continue to operate contrary to MGI’s written policies and in violation of the BSA] and told

  Gonzalez this. Plaintiff also told Gonzalez that this issue needed to be brought to MGI’s legal

  department, but Gonzalez ignored Plaintiff’s recommendation.”), ¶ 84 (“Plaintiff approached the

  legal department a few days later and was told that Gonzalez’s decision was troubling by Leah


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  Carlisle Pfeifer, an attorney with MGI.”), ¶ 85 (“ Four days after Plaintiff’s conversation with MGI’s

  legal department, Gonzalez called Plaintiff and told him that he could not believe that Plaintiff had

  gone to the legal department behind his back and that he did not think that Plaintiff could continue

  to work as one of his managers anymore. Plaintiff was stunned. A few days after this phone

  conversation, Plaintiff was fired.”).

         In short, the Court will not, based on Plaintiff’s pleadings, limit consideration of any potential

  theory of recovery against MGI which would be appropriate under the facts of this case. As pointed

  out by Plaintiff in his surreply, pre-Dodd-Frank cases holding that a parent corporation can be sued

  under SOX for the conduct of a subsidiary arrived at that conclusion in several ways. Docket Entry

  # 118 at p. 2. According to Plaintiff, those ways include “an analysis of the definition of ‘employee’

  in the Act itself, the agency relationships between parent and subsidiary companies and the arguably

  incontrovertible analysis set forth by” the ALJ in Morefield v. Exelon Servs., 2004-SOX-2, 2004 WL

  5030303 (ALJ Jan. 28, 2004). Id. In the following section, the Court attempts to summarize the

  various ways administrative proceedings and federal courts have dealt with the issue, both before

  and after Dodd-Frank.

  C.     Sarbanes-Oxley Section 806 (codified at 18 U.S.C. § 1514A)

  1.     Interpretations of § 1514A prior to Dodd-Frank

         Prior to Dodd-Frank’s enactment, Section 806 provided that SOX’s whistleblower provision

  applied to companies with securities registered under Section 12 of the Exchange Act or required

  to file reports under Section 15(d) of that Act. Section 806 read as follows:

         (a) Whistleblower protection for employees of publicly traded companies.


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         No company with a class of securities registered under section 12 of the Securities
         Exchange Act of 1934 (15 U.S.C. 78l ), or that is required to file reports under
         section 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78o(d)), or any
         officer, employee, contractor, subcontractor, or agent of such company, may
         discharge, demote, suspend, threaten, harass, or in any other manner discriminate
         against an employee in the terms and conditions of employment because of any
         lawful act done by the employee—


         (1) to provide information, cause information to be provided, or otherwise assist in
         an investigation regarding any conduct which the employee reasonably believes
         constitutes a violation of section 1341, 1343, 1344, or 1348, any rule or regulation
         of the Securities and Exchange Commission, or any provision of Federal law relating
         to fraud against shareholders, when the information or assistance is provided to or the
         investigation is conducted by—


         (A) a Federal regulatory or law enforcement agency;


         (B) any Member of Congress or any committee of Congress; or


         (C) a person with supervisory authority over the employee (or such other person
         working for the employer who has the authority to investigate, discover, or terminate
         misconduct); or


         (2) to file, cause to be filed, testify, participate in, or otherwise assist in a proceeding
         filed or about to be filed (with any knowledge of the employer) relating to an alleged
         violation of section 1341, 1343, 1344, or 1348, any rule or regulation of the
         Securities and Exchange Commission, or any provision of Federal law relating to
         fraud against shareholders.


  Leshinsky v. Telvent GIT, S.A., 873 F. Supp. 2d 582, 588-89 (S.D. N.Y. 2012) (“Leshinsky I”)

  (quoting 18 U.S.C.A. § 1514A (2002)).

         After SOX was enacted, a question that arose frequently in administrative proceedings and

  in federal courts was whether subsidiaries of publicly held companies were subject to Section 806.

  Under the pre-Dodd-Frank version of 18 U.S.C. § 1514A, it was unclear whether “employees of


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  publicly traded companies” included employees of the public company’s wholly owned subsidiaries,

  or if the statute applied only to employees who were employed directly by the publicly traded parent

  company. Leshinsky I, 873 F. Supp. 2d at 588.

  a.     Administrative proceedings

         Because SOX also covered any “officer, employee, contractor, subcontractor, or agent of”

  a covered company, the DOL’s ARB and ALJs typically applied traditional tests such as “agency”

  or “pierc[ing] a corporate veil” to determine whether SOX coverage extended to employees of non-

  public subsidiaries. Q 27:01 What Companies May be Subject to SOX Whistleblower Claims?,

  CPSAB Q 27:01(citing Klopfenstein v. PCC Flow Techs. Holdings, Inc., ARB No. 04-149, ALJ No.

  2004-SOX-011, 2006 WL 3246904 (ARB May 31, 2006) (“Klopfenstein I”), aff’d sub nom.

  Klopfenstein v. Administrative Review Bd. 402 Fed. Appx. 936 (5th Cir. 2010) (holding that non-

  public subsidiaries of covered parent companies may be covered where the subsidiary is deemed an

  agent of the parent for purposes of the complainant’s employment); also citing Morefield v. Exelon

  Servs., 2004-SOX-2, 2004 WL 5030303 (ALJ Jan. 28, 2004) (holding that a non-publicly traded

  company was a covered entity simply because it was a subsidiary of a publicly traded company)).

  Administrative law judges adjudicating pre-Dodd-Frank Section 806 cases approached the issue of

  private subsidiaries in several ways: “One judge has held private subsidiaries will always fall under

  the scope of 806 [Morefield], while others have based their rulings on common law principles of

  agency [Klopfenstein], used the integrated enterprise test [Merten v. Berkshire Hathaway, Inc., ALJ

  No. 2008-SOX-00040, at 5-7 (Dep’t of Labor ALJ Oct. 21, 2008)], or utilized corporate veil-piercing

  principles [Pittman v. Siemens AG, ALJ No. 2007-SOX-00015, at 3 (Dep’t of Labor ALJ July 26,

  2007)].” See Meghan Elizabeth King, Blowing the Whistle on the Dodd-Frank Amendments: The

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  Case Against the New Amendments to Whistleblower Protection in Section 806 of Sarbanes-Oxley,

  48 Am. Crim. L. Rev. 1457, 1466 (2011).

           In Platone v. Atlantic Coast Airline Holdings, Inc., ALJ No. 2003-SOX-00027 (Apr. 30,

  2004), ACA Holdings argued that Platone was not one of its employees, but was instead employed

  by ACA. In The Matter Of: Stacy M. Platone v. Flyi, Inc., ARB No. 04-154, 2006 WL 3246910, at

  *5 (U.S. Dept. of Labor SAROX Sept. 29, 2006). In addressing ACA Holdings’ argument, the ALJ

  acknowledged the corporate law principle that a parent company was not liable for the acts of its

  subsidiary; however, she found that ACA Holdings had disregarded ACA’s separate corporate

  identity in its dealings with the public, the SEC, and with its own employees. Id. “The ALJ,

  therefore, held ACA Holdings liable on the grounds that it was ACA’s alter ego.” Id.

           On appeal to the ARB, ACA Holdings continued to object to its designation as a party to the

  complaint. Id. at *8. For the purpose of its decision, the ARB assumed, without holding, that the ALJ

  correctly ruled that ACA Holdings was a proper respondent. Id. The ARB’s review of Platone’s

  whistleblower claim addressed the issue of whether she engaged in protected activity; because the

  ARB held that she did not, “her inability to establish that element of her SOX cause of action [was]

  fatal to her claim, and [the ARB] need not address other issues raised on appeal.”14 Id.

           In Morefield, extensively relied upon by Plaintiff in this case, the complainant sued both his

  employer, which was not publicly traded, as well as its public parent company, alleging a violation

  of pre-Dodd-Frank version of § 1514A. In their motion to dismiss, the respondents argued the

  whistleblower provisions of SOX were not available to Morefield because he was not an employee


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            The Fourth Circuit Court of Appeals affirmed the decision of the ARB in Platone v. U.S. Dep’t of Labor, 548
  F.3d 322 (4th Cir. 2008).

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  of a publicly traded company, but rather worked for a subsidiary of a subsidiary of a publicly traded

  company, Excelon Corporation. Morefield, 2004 WL 5030303, at *1. In denying the motion, ALJ

  Levin noted the term “employees of publically traded companies” in Section 806, when considered

  in context, would include the employees of the subsidiaries of publicly traded companies. Id. at *2.

         Although the complainant argued the subsidiaries of a publicly traded company should be

  considered “agents” for accounting and financial reporting purposes, the ALJ in Morefield observed

  that while it would not be inappropriate to view subsidiaries as “agents” as the complainant

  suggested, subsidiaries, for Sarbanes-Oxley purposes, “are more than mere agents like an outside

  auditor or consultant.” Id. at *2-*3. Noting SOX imposed extensive reporting and disclosure

  obligations on public companies, which include obligations to report information about the

  companies’ subsidiaries, the ALJ stated subsidiaries like Excelon Services “are an integral part of

  the publicly traded company, inseparable from it for purposes of evaluating the integrity of its

  financial information.” Id. at *3. As further explained by the ALJ in Morefield:

         The publicly traded entity is not a free-floating apex. When its value and performance
         [are] based, in part, on the value and performance of component entities within its
         organization, the statute ensures that those entities are subject to internal controls
         applicable throughout the corporate structure, that they are subject to the oversight
         responsibility of the audit committee, and that the officers who sign the financials are
         aware of material information relating to the subsidiaries. A publicly traded
         corporation is, for Sarbanes-Oxley purposes, the sum of its constituent units; and
         Congress insisted upon accuracy and integrity in financial reporting at all levels of
         the corporate structure, including the non-publicly traded subsidiaries.


  Id. The ALJ concluded, “the term ‘employee of a publicly traded company’ as used in the caption

  of the whistleblower provision of Sarbanes–Oxley is sufficiently broad to include a[n officer] of a

  non-publicly traded subsidiary, within and integral to, the corporate structure” of the parent. Id. at


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  *5.

          In a second administrative proceeding five years later, ALJ Levin again indicated Section 806

  would apply to the private subsidiaries of publicly traded companies. In that case, the plaintiff sued

  both his former employer, subsidiary Schweiz, and the parent corporation, Deutsche Bank AG.

  Matter of Walters v. Deutsche Bank AG, ALJ No. 2008-SOX-70, 2009 WL 6496755, at *2 (U.S.

  Dept. of Labor SAROX March 23, 2009). According to the ALJ, in the years following Section 806's

  enactment, a number of administrative decisions construing the pre-Dodd-Frank provision denied

  Section 806 protection to employees of non-publicly traded wholly owned subsidiaries of publicly

  traded companies, basically theorizing “that the publicly traded parent is not the whistleblower’s

  employer, and the subsidiaries are not publicly traded; therefore, wholly owned subsidiaries are not

  subject to Section 806 unless they are ‘agents’ of the parent company for employment matters.” Id.

  at *4. Although the ALJ framed the issue as assessing the direct responsibility of a publicly traded

  parent corporation for the termination of a whistleblower who worked for one of its wholly owned

  subsidiaries, the ALJ noted a number of administrative cases had relied upon the “labor law”

  approach to dismiss whistleblower complaints against both the parent and the subsidiary. Id. at *5.

  The ALJ explained that in labor law cases, the courts employ an “integrated enterprise test” as a “sort

  of labor-specific veil-piercing test” when parent/subsidiary relationships are involved, and the labor

  law test is simply another method of establishing derivative, rather than direct, liability upon a

  corporate parent for the action of its subsidiaries. Id.

          Although the ALJ’s decision in Walters was not predicated on derivative agency liability

  between Deutsche Bank AG and Schweiz, the ALJ stated the labor law approach to Section 806 was

  “questionable from yet another perspective,” noting the labor law test would, for example, deny

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  protection to a whistleblower working for a contractor or agent like the accounting firm Arthur

  Andersen which helped shred Enron documents. Walters, 2009 WL 6496755, at *7 (citation

  omitted). According to the ALJ, no evidence was uncovered that the accounting firm was Enron’s

  agent for personnel or employment matters, or that Enron controlled Arthur Andersen’s employment

  practices related to whistleblowers within Arthur Anderson’s ranks; yet, “Congress was clearly

  concerned about whistleblowers in such situations because it knew Enron was an important client

  of Arthur Anderson and a significant source of its revenue. . . .” Id.

         The ALJ stated that”[u]nder such circumstances, simply to state the labor law test in the

  context of Sarbanes-Oxley seems sufficient to refute it, because it leaves essentially unchanged

  conditions Congress passionately wanted to reform.” Id. As further explained by the ALJ, “proof

  of agency for financial reporting purposes or even for the commission of fraud that may wipe out the

  equity of public shareholders has not been factored into the administrative labor law decisions

  denying Section 806 coverage.” Id. at *8. In Walters, the ALJ further elaborated as follows:

        If Congress wanted to encourage corporate insiders to monitor and report financial
        fraud and deception, and clearly it did, very little in cases that apply the labor law test
        and deny that protection seems consistent with that goal. To the contrary, any
        employee of a subsidiary familiar with the labor test case law might still find it
        difficult to ignore the advice of the attorney who advised Enron of the minimal risk
        associated with the terminating [of] a whistleblower. Yet even more important, the
        burdens and hurdles associated with proof of agency for labor law purposes seem
        misdirected and unnecessary not only because Section 806 imposes direct
        responsibility on the publicly traded company, but also because Section 806 is
        fundamentally an antifraud law, not a labor law.


  Id.

         According to the ALJ, “[d]irect parent company responsibility was, therefore,

  Sarbanes-Oxley’s answer to the tangled web of entities used to obfuscate the value of the public

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  shareholders’ investments and the answer to protecting public shareholders from financial

  misrepresentation by their company’s own management.” Id. at *17. The ALJ stated Senator Leahy

  laid out in considerable detail “how public shareholders were defrauded by parent companies through

  the use and operations of subsidiaries, partnerships, and off-the-book entities,” but his efforts “seem

  largely lost in a thicket of [pre-Dodd-Frank] Section 806 cases which uncritically apply corporate

  law doctrine.” Id. According to the ALJ, “a careful reading of the legislative history of

  Sarbanes-Oxley yields nothing which suggests that Congress was in any mood to entertain the type

  of notions which protect the corporate parent while leaving exposed a whistleblower whose

  protection is smothered under a ‘corporate veil.’ Such concepts may, in a different setting, be

  consistent with general corporate law doctrine, but they fall far short of the Congressional vision of

  Section 806 as a meaningful antifraud measure.” Id.

         After quoting the Morefield opinion, the ALJ in Walters concluded as follows:

         I conclude that the term ‘employee of a publicly traded company’ in Section 806 is,
         for parent/wholly owned subsidiary relationships, co-extensive with the employee
         coverage in Section 301 and includes, within its meaning, all employees of every
         constituent part of the publicly traded company, including subsidiaries and
         subsidiaries of subsidiaries which are consolidated on its balance sheets, contribute
         information to its financial reports, are covered by its internal controls and the
         oversight of its audit committee, and subject to other Sarbanes-Oxley reforms
         imposed upon the publicly traded company. . . . In summary, the scope of
         Sarbanes-Oxley whistleblower protection: ‘at a minimum, tracks the flow of financial
         and accounting information throughout the corporate structure and remains as
         permeable to the internal “corporate veils” as the financial information itself,’ see,
         Morefield at 3; and considering the legislative history, specific provisions, special
         policies, and purposes which anchor Sarbanes-Oxley and Section 806, in particular,
         Bestfoods supports this conclusion.


         As such, I conclude that Complainant is, for Sarbanes-Oxley purposes, an employee
         of the publicly traded company as that term is used in Section 806, and that the
         corporate parent, Deutsche Bank AG, is directly responsible for acts of

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            discrimination against a whistleblower working in one of its operating units within
            a non-publicly traded, consolidated subsidiary of a subsidiary of a subsidiary within
            Deutsche Banks AG’s corporate family.


  Id. at *20 (internal citations omitted).

            Other administrative law judges adjudicating Section 806 cases “with issues of subsidiaries

  have not accepted ALJ Levin’s rationale and have declined to extend whistleblower protection to

  all employees of every subsidiary of a publicly traded company. Many have instead made their

  determination based on the principles of common law agency.” See Meghan Elizabeth King,

  Blowing the Whistle on the Dodd-Frank Amendments: The Case Against the New Amendments to

  Whistleblower Protection in Section 806 of Sarbanes-Oxley, 48 Am. Crim. L. Rev. 1457, 1467

  (2011).

            In Klopfenstein, the claimant filed a SOX retaliation claim only against his employer’s parent,

  PCC Flow Technologies Holdings, Inc. (“Holdings”), and its representative, Allen Parrott.

  Klopfenstein I, 2006 WL 3246904, at *1. Following an ALJ’s recommendation that the complaint

  be dismissed, the ARB determined in Klopfenstein I that the ALJ erred in his legal analysis of two

  of the four contested elements: coverage and causation. Id. On appeal, the ARB noted Klopfenstein

  began employment with Flow Products, Inc., (“Flow Products or Flow”), which was “a division of

  PCC Flow Technologies, LP, a limited partnership wholly owned by PCC FT I LLC and PCC FT

  II LLC, which in turn [were] wholly-owned subsidiaries of PCC Flow Technologies Holdings, Inc.

  (Holdings).” Id. According to the ARB, Holdings was a wholly owned subsidiary of Precision

  Castparts Corp. (PCC), and PCC was a company with a class of securities registered under Section

  12 of the Securities and Exchange Act of 1934, 15 U.S.C. § 78l. Id. Parrott, the other named


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  respondent, was Flow’s Vice President of Finance when Klopfenstein’s employment was terminated.

  Id.

         In considering first whether the ALJ erred in concluding that Holdings and/or Parrott were

  not covered parties under § 1514A, the ARB noted Klopfenstein argued Holdings and Parrott were

  agents of PCC and that agents could be named respondents in a SOX case. Id. The ARB did not

  interpret the pre-Dodd-Frank version of § 1514A to require a complainant to name a corporate

  respondent that itself was registered under Section 12 of the Exchange Act or required to file reports

  under Section 15(d) of that Act, “so long as the complainant names at least one respondent who is

  covered under the [SOX] as an ‘officer, employee, contractor, subcontractor, or agent’ of such a

  company.” Id.

         The ARB stated nothing in the meaning of the term “agent” gave it reason to conclude that

  a subsidiary, or an employee of a subsidiary, could not ever be a parent’s agent for purposes of the

  employee protection provision. Id. The ARB noted the issue of whether a particular subsidiary or

  its employee is an agent of a public parent for purposes of the SOX employee protection provision

  should be determined according to principles of the general common law of agency. Id. The ARB

  noted certain facts identified by the ALJ made it “hard to imagine that Holdings was not PCC’s agent

  for purposes of the termination of Klopfenstein’s employment.” Id.

         The ARB in Klopfenstein I remanded the case with instructions for the ALJ to make whatever

  factual findings were necessary to properly apply agency principles in determining whether either

  or both respondents were PCC’s agents with regard to the termination of Klopfenstein’s

  employment. Id. The ARB also expressly “le[ft] it to the ALJ to determine whether to grant



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  Klopfenstein’s motion to add [the parent] as a party.” 15 Id. The ARB also asked the ALJ to clarify

  his holding on causation.

           Following remand, the ALJ affirmed his prior findings of fact.16 See In the Matter of Keith

  Klopfenstein v. PCC Flow Technologies Holdings, Inc. and Allen Parrott, ALJ Case No.

  2004-SOX-011, ARB Case Nos. 07-021 07-022, 2009 WL 6546648, at *3 (U.S. Dept. of Labor

  SAROX) (Aug. 31, 2009) (“Klopfenstein II”). “Applying the ARB’s guidance on the agency

  doctrine, he ruled that Holdings was PCC’s agent with regard to the termination of Klopfenstein’s

  employment.” Id. “However, applying agency principles, the ALJ held that Parrott was not PCC’s

  agent with regard to Klopfenstein’s discharge.” Id. On the issue of causation, the ALJ held that

  Klopfenstein’s concerns were not a contributing factor in his termination, and that Holdings provided

  clear and convincing evidence that Klopfenstein’s violation of a policy was the sole reason for his

  discharge. Id. at *4. Therefore, the ALJ issued a recommended decision and order on remand,

  dismissing Klopfenstein’s complaint.

           Holdings and Klopfenstein appealed the ALJ’s decision on remand to the ARB. Id. Holdings

  sought review of the ALJ’s decision that it was an agent of PCC in the adverse action taken against

  Klopfenstein, and Klopfenstein appealed the balance of ALJ’s decision, “namely that Parrott was

           15
               As explained by ALJ Levin in Walters, the ARB in Klopfenstein I specifically noted that the publicly traded
  parent was not involved in the proceeding before it, and left it “to the ALJ to determine whether to grant Klopfenstein’s
  motion to add PCC [the publicly traded parent] as a party” on remand. Matter of Walters v. Deutsche Bank AG, ALJ No.
  2008-SOX-70, 2009 WL 6496755, at *6 (U.S. Dept. of Labor SAROX March 23, 2009) (quoting Klopfenstein I, 2006
  WL 3246904). Because the publicly traded parent was not a party to the complaint, the ARB “sought to make clear,
  although apparently not sufficiently clear in some quarters, that its decision was limited to the circumstances in which
  the non-publicly traded subsidiary, acting as an agent, could itself be directly liable as a covered employer under the Act.
  Id. According to the ALJ in Walters, the ARB was not called upon to address the parent company’s liability, and nothing
  in its holding in Klopfenstein I “is, therefore, inconsistent with direct parent company liability for adverse actions against
  a whistleblower by one of its wholly owned subsidiaries.” Id.

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             On remand, the publicly traded parent was not joined as a party to the proceedings. Walters, 2009 WL
  6496755, at *6 n. 6 (citation omitted).

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  not a PCC agent and that Klopfenstein did not prove that his alleged protected activity was a

  contributing factor in his termination.” Id.

           In its Final Decision and Order Following Remand, the ARB affirmed in Klopfenstein II. The

  ARB noted it had indicated in Klopfenstein I that subsidiaries can be held liable as agents of publicly

  held companies for SOX purposes; and that an ALJ can apply the common law of agency to the facts

  in making the determination. Id. at *6 (citing Klopfenstein I, slip op. at 13-15). In Klopfenstein II,

  the ARB did not need to “go beyond that statement or define the degree of congruence required

  between a subsidiary and an agent to reach the proper resolution of th[e] case.” Id. The ARB held

  substantial evidence supported the ALJ’s conclusion that Holdings was PCC’s agent for the purpose

  of discharging Klopfenstein, noting the policy Klopfenstein allegedly violated was a PCC policy that

  it applied to its subsidiaries. Id. at *6. According to the ARB, Holdings officials became “the

  instrumentality for enforcing a violation of PCC policy.” Id. The ARB agreed with the ALJ that

  Parrott was not a decision maker in the termination of Klopfenstein’s employment. Id. Regarding

  the causation issue, the ARB concluded substantial evidence supported the ALJ’s findings. Id. at *7.

  Accordingly, the ARB denied Klopfenstein’s complaint.17 Id. at *8.

           Instead of using the test outlined by the ARB, some ALJs subsequently used the integrated

  enterprise test from labor law to determine whether a subsidiary was an agent of the public parent.

  See, e.g. Merten v. Berkshire Hathaway, Inc., ALJ No. 2008-SOX-00040 (Dep’t of Labor ALJ Oct.


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              Klopfenstein sought review of the decision of the ARB. Because the Fifth Circuit Court of Appeals could
  not conclude the ARB’s decision was arbitrary and capricious, the court denied the petition. Klopfenstein v. Admin.
  Review Bd., U.S. Dep’t of Labor, 402 Fed. Appx. 936, 937 (5th Cir. 2010) (“Klopfenstein III”). Holdings did not appeal
  the ARB’s decision, and Klopfenstein did not appeal the ARB’s conclusion regarding Parrott. Id. at n. 2. Therefore, even
  though the SEC filed an amicus brief discussing the applicability of Section 806 to employees of contractors and agents,
  the Fifth Circuit did not address the brief’s arguments, including several arguments why Section 806 was applicable to
  Holdings. Id.

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  21, 2008).

  b.     Federal court decisions

         Before the enactment of Dodd-Frank, few federal courts considered the issue of whether

  employees of publicly traded companies included employees of the public company’s wholly owned

  subsidiaries, or if the statute applied only to employees who were employed directly by the publicly

  traded parent company. Leshinsky I, 873 F. Supp. 2d at 588. However, a handful of district courts

  held the statute did not apply to employees of non-public subsidiaries. Id. (citations omitted). For

  example, a district court for the Eastern District of Michigan considered whether and under what

  circumstances a non-public subsidiary of a public parent was subject to SOX’s whistleblower

  protection provisions, concluding a non-public subsidiary was not an agent of its parent for purposes

  of § 1514A merely on the basis of its subsidiary status. Rao v. Daimler Chrysler Corp., 2007 WL

  1424220 (E.D. Mich. May 14, 2007). In reaching this conclusion, the court rejected a line of ALJ

  opinions which, based on SOX’s remedial nature and extensive financial reporting requirements,

  broadly interpreted § 1514A’s whistleblower protection provisions as covering all “constituent units”

  of a public company, including its non-publicly traded subsidiaries. Malin v. Siemens Med. Sols.

  Health Servs., 638 F. Supp. 2d 492, 499–500 (D. Md. 2008) (citing Rao, 2007 WL 1424220, at *3

  (quoting Morefield, 2004–SOX–00002 at 6)).

         The Rao court adopted instead the reasoning of another line of ALJ opinions that applied “the

  general principle of corporate law that a parent is not automatically liable for the actions of a

  subsidiary, absent a clear intent from Congress to the contrary.” Malin, 638 F. Supp. 2d at 500 (citing

  Rao, 2007 WL 1424220, at *4 (citing Lowe v. Terminix Int’l Co., L.P., 2006–SOX–00089 at 7–8



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  (A.L.J. Sept. 15, 2006); also citing Bothwell v. Am. Income Life, 2005–SOX–00057 at 6, 2005 WL

  4889047 (A.L.J. Sept. 19, 2005))). Applying similar reasoning, the Rao court also held that a general

  agency relationship between the public parent and non-public subsidiary was insufficient to implicate

  the whistleblower provisions of § 1514A; rather, the subsidiary must have the authority to act and

  actually take some action against the whistleblowing employee on behalf of the public company. Id.

  (citing Rao, 2007 WL 1424220 at *4–*5 (citing Klopfenstein I, 2006 WL 1788436) (remanding the

  matter to the ALJ to “make whatever factual findings are necessary to properly apply agency

  principles in determining whether either or both [subsidiaries] were [the parent’s] agents with regard

  to the termination of Klopfenstein’s employment.”)).

         According to the court in Malin, in pre-Dodd-Frank cases where non-public subsidiaries were

  held to be subject to § 1514A, “the subsidiary was found to have acted as an agent of its public

  parent particularly with respect to employment matters or the parent was involved in some direct

  manner in the alleged misconduct.” Malin, 638 F. Supp. 2d at 501-02 (citing Carnero v. Boston

  Scientific Corp., 433 F.3d 1, 4–7 (1st Cir. 2006) (holding that complainant could proceed on a SOX

  whistleblower claim despite the fact that he was directly employed by a non-public subsidiary of a

  public company where he presented evidence that the parent company’s employees exercised

  “extensive and continuous control” over his work duties, he frequently traveled to the parent

  company’s office to “meet with supervisors there” and he reported his concerns of alleged

  accounting misconduct to employees of the parent company); also citing Collins v. Beazer Homes

  USA, Inc., 334 F. Supp. 2d 1365, 1369–70, 1373 n. 7 (N.D. Ga. 2004) (Addressing the issue in a

  footnote, the court allowed the plaintiff to proceed on her SOX whistleblower claim against the

  publicly-traded parent of her non-public employer where the parent company admitted that it had the

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  authority to affect the terms and conditions of her employment; in the recitation of facts, the court

  also noted that the plaintiff had presented evidence that she made complaints concerning her

  employment and her employer’s activities directly to the parent company, which undertook an

  investigation and was consulted regarding the decision to terminate her.); also citing Platone v.

  Atlantic Coast Airlines, Holdings, Inc., 2003–SOX–27, 2004 WL 5032621, at *21 (ALJ Apr. 30,

  2004) (holding that complainant demonstrated sufficient facts to warrant holding a public parent

  company liable for the acts of its non-public subsidiary where the complainant received her offer

  letter on letterhead that bore the logo of the parent company, her 401K plan and other employee

  benefits were provided by the parent company, and one of the board members of the parent company

  was also president and CEO of the subsidiary and made the ultimate decision to terminate the

  complainant’s employment)).

  2.     Lawson opinions

         The United States Supreme Court expanded the scope of SOX’s whistleblower protections

  in Lawson v. FMR L.L.C., 571 U.S. 429, 134 S.Ct. 1158, 188 L.Ed.2d 158 (2014), the case relied

  upon primarily by MGI in its motion for summary judgment. In Lawson III, the first SOX

  whistleblower case to be heard by the Supreme Court, the Court considered the class of individuals

  that the pre-Dodd-Frank version of § 1514A protects.          Moody v. Am. Nat’l Ins. Co., No.

  3:19-CV-00206, 2020 WL 3128259, at *2 (S.D. Tex. June 12, 2020) (citing Lawson III, 571 U.S.

  429, 134 S.Ct. 1158). In that case, two plaintiffs brought whistleblower retaliation claims against

  their former employers, private companies that provided contracted advisory and management

  services to a family of mutual funds. Id. (citing Lawson III, 571 U.S. at 433). The mutual funds were

  public companies but had no employees; thus, the mutual funds themselves employed no potential

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  whistleblower to raise concerns about putative fraud related to the funds. Id. “The plaintiffs raised

  concerns related to accounting methodologies that allegedly overstated the expenses associated with

  operating the funds and inaccuracies in a draft for a registration statement that was to be filed with

  the SEC.” Id. (citing Lawson III, 571 U.S. at 438).

           After one plaintiff was constructively discharged and the other was fired, each filed suit

  against their respective employer, alleging retaliation proscribed by pre-Dodd-Frank § 1514A.18 Id.

  Before delving into the Supreme Court’s analysis in Lawson III, the Court must look for context to

  the lower court opinions in that case.

  a.       Lawson I

           The defendants in Lawson’s suit were three privately held companies involved in the

  business of mutual fund investments: Defendant FMR LLC was the successor to Defendant FMR

  Corp., and Defendant Fidelity Brokerage Services, LLC was its subsidiary. Lawson’s specific

  employer until her resignation in 2007 was Fidelity Brokerage. Lawson v. FMR L.L.C., 724 F. Supp.

  2d 141, 144–45 (D. Mass. 2010), rev’d in part, 670 F.3d 61 (1st Cir. 2012), rev’d and remanded,

  571 U.S. 429, 134 S. Ct. 1158, 188 L. Ed. 2d 158 (2014) (“Lawson I”).

           The defendants in Zang’s suit were Defendant FMR LLC, the parent company of Defendant

  Fidelity Management & Research Company, which itself was the parent of Defendant FMR Co., Inc.

  Plaintiff Zang began his employment for Fidelity Management in 1997, but in 2001 his specific

  employer changed from Fidelity Management to FMR Co., Inc. and remained so until his termination

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               In Lawson III, the Supreme Court noted Congress amended § 1514A in 2010 to extend whistleblower
  coverage to employees of public companies’ subsidiaries and nationally recognized statistical ratings organizations.
  Lawson v. FMR L.L.C., 571 U.S. 429, 435 & n. 2, 134 S. Ct. 1158, 1163, 188 L. Ed. 2d 158 (2014) (further noting the
  plaintiffs did not fall in either category and holding, in any event, their claims were governed by the prior version of §
  1514A).

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  in 2005. Under Zang’s employment agreement, he was employed “by FMR Corp., and/or any entity

  which is directly or indirectly owned or controlled wholly or in part by FMR Corp.” Lawson I, 724

  F. Supp. 2d at 146-47.

          In motions to dismiss, the private-company defendants argued that § 1514A protected only

  employees of a publicly traded company from retaliation by the company or the company’s

  contractors. Id. (citing Lawson III, 571 U.S. at 441). The defendants argued Lawson and Zang, as

  employees of privately held companies, were not covered by the SOX whistleblower provision.

  Lawson I, 724 F. Supp. 2d at 152. “For their part, Lawson and Zang argue[d] that the statute

  encompasse[d] not only employees of public companies but also employees of private companies,

  particularly those that act as investment advisers to public investment companies.” Id. Specifically,

  the plaintiffs argued that “an employee” also includes employees of “any officer, employee,

  contractor, subcontractor, or agent of such company.” Id.

          Starting with the statutory text itself, which protected “an employee” but did not directly state

  at which entity the individual must be employed, the district court interpreted the word “employee”

  by reference to the rest of the language in the subsection, which required choosing between two

  interpretations: “the Defendants’ reading (‘an employee of a publicly traded company’), or a more

  expansive reading (‘an employee of a publicly traded company or of any officer, employee,

  contractor, subcontractor, or agent of such company.’).” Id. at 152-53. According to the district court,

  under the plaintiffs’ proposed construction, the subject and object of the sentence would be distinct

  groups: the subject would be a “publicly held company” or its “officer, employee, contractor,

  subcontractor, or agent,” while the object of the sentence would be the “employee” of one of these

  discriminating entities. Id. at 153.

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          Noting both of the opposing interpretations suggested somewhat “awkward applications to

  various business relationships,” the court could not rule out either interpretation given “their

  comparable feasibility as grammatical and logical constructions.” Id. at 154. Further noting

  decisional law had done “little to enlighten the issue,” the court found the meaning of “employee”

  in § 1514A was ambiguous and turned to other considerations to provide further guidance. Id. at

  154-55. Because the scope of SOX requires whistleblowing activity that must “relat[e] to fraud

  against shareholders,” the court stated protecting employees of a public company’s “related entities

  would not result in an overly broad application of the statute that would be counter to the statute’s

  purpose.” Id. at 159-60. According to the court, this was “a compelling limiting principle for the

  Plaintiffs’ reading of the statute.” Id. at 160. The court further noted that the defendants’

  construction, while not inconsistent with the text, “would result in an excessively forced and

  formalistic reading,” whereas the “legislative history of SOX makes clear that Congress was

  concerned about the related entities of a public company becoming involved in performing or

  disguising fraudulent activity, and wanted to protect employees of such entities who attempt to report

  such activity.” Id.

          Having determined that pre-Dodd-Frank Section 806 protected employees of any related

  entity of a public company (i.e., employees of agents, contractors, and subcontractors of public

  companies), the district court then determined whether Lawson and Zang fell into this category,

  noting that to do so, the plaintiffs’ employer must be an “officer, employee, contractor,

  subcontractor, or agent,” or rather, have a plausible claim to being one of these entities. Id. at 161;

  see also id. at 163. The court concluded that Lawson and Zang had sufficiently pleaded facts

  indicating the defendants were either contractors, subcontractors, or agents of publicly held

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  investment companies. Id. at 161. The court found that Lawson and Zang, as employees of

  investment advisors to mutual funds, were covered by Section 806. Id. at 162.

  b.     Lawson II

         On appeal, a divided panel of the First Circuit Court of Appeals reversed with respect to the

  applicability of the Sarbanes-Oxley whistleblower claims. Lawson v. FMR L.L.C., 670 F.3d 61 (1st

  Cir. 2012) (“Lawson II”). The majority agreed with the defendants that “an employee” referred only

  to employees of public companies and did not cover a contractor’s own employees. Id. at 68-80.

  c.     Lawson III

         In Lawson III, the Supreme Court reversed the decision of the First Circuit. In deciding that

  pre-Dodd-Frank § 1514A “shelters employees of private contractors and subcontractors, just as it

  shelters employees of the public company served by the contractors and subcontractors,” and thus

  extended to the plaintiffs, the Court started with the language of the statutory provision. Lawson III,

  571 U.S. at 433, 440. The Supreme Court noted the dissenting opinion from the First Circuit’s

  judgment observed that “boiling [§ 1514A(a)] down to its relevant syntactic elements, it provides

  that ‘no ... contractor ... may discharge ... an employee.’” Id. at 440 (quoting Lawson II, 670 F.3d at

  84 (quoting § 1514A(a))). According to the Supreme Court, the ordinary meaning of “an employee”

  in this proscription is the contractor’s own employee. Lawson III, 571 U.S. at 440.

         Presuming the operative language means a contractor may not retaliate against its own

  employee for engaging in protected whistleblowing activity, the Court further explained as follows:

         Section 1514A's application to contractor employees is confirmed when we enlarge
         our view from the term ‘an employee’ to the provision as a whole. The prohibited
         retaliatory measures enumerated in § 1514A(a)—discharge, demotion, suspension,


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          threats, harassment, or discrimination in the terms and conditions of
          employment—are commonly actions an employer takes against its own employees.
          Contractors are not ordinarily positioned to take adverse actions against employees
          of the public company with whom they contract. FMR’s interpretation of § 1514A,
          therefore, would shrink to insignificance the provision’s ban on retaliation by
          contractors.


  Id. at 441 (emphasis in original). The Court made clear that SOX’s whistleblower protection is

  limited to employees suing their employers. Id. at 442 (“Moving further through § 1514A to the

  protected activity described in subsection (a)(1), we find further reason to believe that Congress

  presumed an employer-employee relationship between the retaliator and the whistleblower.”); 443

  (“The reference to employer knowledge is an additional indicator of Congress’ expectation that the

  retaliator typically will be the employee’s employer, not another entity less likely to know of

  whistleblower complaints filed or about to be filed. Section 1514A's enforcement procedures and

  remedies similarly contemplate that the whistleblower is an employee of the retaliator.”). Under

  Lawson III, SOX whistleblower protection could even extend to the employees of a public

  company’s officers and employees, which could, in theory, include housekeepers or gardeners

  (though the Supreme court noted that “[f]ew housekeepers or gardeners, we suspect, are likely to

  come upon and comprehend evidence of their employer’s complicity in fraud”). Id. at 445-46.

          The Court stated its textual analysis of § 1514A fit the provision’s purpose, which is to

  prevent future fraud like the “Enron debacle.” Id. at 447. According to the Court, as the ARB

  observed in Spinner,19 “Congress plainly recognized that outside professionals—accountants, law


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              Several months after Lawson II, the ARB issued a decision in an unrelated case, Spinner v. David Landau
  & Assoc., L.L.C., ALJ No. 2010–SOX–029, ARB No. 10–111 etc., 2012 WL 1999677 (May 31, 2012), disagreeing with
  the First Circuit’s interpretation of § 1514A. Lawson III, 571 U.S. at 439. “In a comprehensive opinion, the ARB
  explained its position that § 1514A affords whistleblower protection to employees of privately held contractors that
  render services to public companies.” Id.

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  firms, contractors, agents, and the like—were complicit in, if not integral to, the shareholder fraud

  and subsequent cover-up [Enron] officers . . . perpetrated.” Id. (quoting Spinner, ALJ No.

  2010–SOX–029, pp. 12–13).

         In arguing that legislative events subsequent to SOX’s enactment show Congress did not

  intend to extend § 1514A’s protections to contractor employees, the defendants pointed to the 2010

  Dodd-Frank, which amended § 1514A to read as follows:

         No company with a class of securities registered under section 12 of the Securities
         Exchange Act of 1934 (15 U.S.C. 78l ), or that is required to file reports under
         [section 12] of the [1934 Act] (15 U.S.C. 78o (d)) including any subsidiary or
         affiliate whose financial information is included in the consolidated financial
         statements of such company, or nationally recognized statistical rating organization
         (as defined in section 3(a) of the [1934 Act] (15 U.S.C. 78c), or any officer,
         employee, contractor, subcontractor, or agent of such company or nationally
         recognized statistical rating organization, may discharge, demote, suspend, threaten,
         harass, or in any other manner discriminate against an employee in the terms and
         conditions of employment because of any [protected activity].


  Id. at 455 (quoting 18 U.S.C. § 1514A(a) (2012 ed.) (emphasis added and footnote omitted in

  Lawson III)). The defendants argued that Congress’s decision to add nationally recognized statistical

  rating organizations (“NRSROs”) to § 1514A “shows that the provision did not previously cover

  contractor employees.” Id. The Court rejected that argument, noting that at the time of the Dodd-

  Frank amendments “DOL regulations provided that § 1514A protects contractor employees. . . .” Id.

  3.     Interpretations of § 1514A following Dodd-Frank

         As noted by the Supreme Court in Lawson III, on July 21, 2010, Section 806 was amended

  by Dodd–Frank to provide that no public company, “including any subsidiary or affiliate whose

  financial information is included in the consolidated financial statements of such company,” may



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  retaliate against a whistleblowing employee. Leshinsky I, 873 F. Supp. 2d at 588 (quoting

  Dodd–Frank § 929A). Dodd-Frank thus clarified the issue by providing that SOX’s whistleblowing

  provisions apply to employees of subsidiaries or affiliates “whose financial information is included

  in the consolidated financial statements of [a publicly traded company],” substantially expanding the

  number of companies that may be subject to SOX whistlebower claims. Thus, SOX whistleblower

  provisions apply to publicly-traded companies with a class of securities registered under Section 12

  of the Exchange Act, or that are subject to the periodic reporting requirements of Section 15(d), as

  well as to their subsidiaries whose financial information is consolidated into their financial

  statements.

           The Court has not located many cases interpreting the post-Dodd-Frank version of § 1514A

  under facts similar to those raised in this case. However, the Court finds helpful two more recent

  federal court decisions (one of which utilized the pre-Dodd-Frank version in its discussion) and the

  ARB opinion on which they rely (Johnson v. Siemens Bldg. Tech., Inc., ARB No. 08–032, 2011 WL

  1247202 (DOL ARB Mar. 31, 2011) (en banc)). The Court starts with the ARB’s opinion in

  Johnson.20

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               The Court notes the Fifth Circuit has not decided whether the ARB’s reasonable interpretations of § 1514A
  are entitled to deference under Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 104 S.Ct.
  2778, 81 L.Ed.2d 694 (1984). See Getman v. Admin. Review Bd., 265 Fed. Appx. 317, 319 n.7 (5th Cir. Feb. 13, 2008)
  (“We have not addressed Chevron deference in the context of an ARB decision on Sarbanes-Oxley. It appears that
  Chevron deference is due, as the ARB is an adjudicative body, but we leave that question for another day.”).
            Under Chevron, courts defer to an agency’s permissible interpretation of the law if Congress has not spoken
  to the precise issue by statute. Rhinehimer v. U.S. Bancorp Investments, Inc., 787 F.3d 797, 809 (6th Cir. 2015) (citing
  Chevron, 467 U.S. at 842–43, 104 S.Ct. 2778). Chevron deference should be applied “when it appears that Congress
  delegated authority to the agency generally to make rules carrying the force of law, and that the agency interpretation
  claiming deference was promulgated in the exercise of such authority.” Id. (quoting United States v. Mead Corp., 533
  U.S. 218, 226–27, 121 S.Ct. 2164, 150 L.Ed.2d 292 (2001)). Agency interpretations not entitled to Chevron deference
  may nonetheless “merit some deference” in light of agency expertise and the value of uniformity in interpreting of the
  law. Id. (quoting Mead, 533 U.S. at 234, 121 S.Ct. 2164). “The deference due in such cases is governed by Skidmore
  v. Swift & Co., 323 U.S. 134, 65 S.Ct. 161, 89 L.Ed. 124 (1944).” Id. (citing Mead, 533 U.S. at 238–39, 121 S.Ct. 2164
  (remanding with instructions for the Federal Circuit to determine whether the customs ruling letters at issue were entitled
  to deference under Skidmore)).

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  a.       Administrative proceeding

            On March 31, 2011, the ARB held the Dodd-Frank amendment should apply to a case on

  appeal because the amendment is a mere clarification of Section 806, intended to make “what was

  intended all along ever more unmistakably clear.” Leshinsky I, 873 F. Supp. 2d at 588 (quoting

  Johnson, 2011 WL 1247202, at *11 (citation omitted in Leshinsky I)). The ARB also held that even

  “absent Dodd–Frank’s amendment for subsidiary coverage in Section 929A, [the Board] would

  nonetheless hold that subsidiaries for the same reasons are covered under pre-amendment Section

  806's term ‘company.’” Id. The ARB also briefly addressed the issue of agency coverage under

  Section 806. Id. (citing Johnson, 2011 WL 1247202, at *12 (“Section 806 provides ‘No company

  . . . or any officer, employee, contractor, subcontractor, or agent of such company, . . . may . . .

  discriminate . . . .’ 18 U.S.C.A. § 1514A(a)”)). The ARB held the ALJ, by exclusively focusing on

  the agency factors to hold the subsidiary was not acting as the parent’s agent and thus was not

  covered as an “agent” under Section 806, “failed to consider alternative bases and factors upon


            Circuits holding that the ARB’s decisions interpreting § 1514A are entitled to Chevron deference note that the
  statute expressly provides for adjudication of whistleblower complaints by the Secretary of Labor, who in turn “delegated
  the authority to review appeals under Section 806 and issue final agency decisions to the ARB.” Id. (quoting Wiest v.
  Lynch, 710 F.3d at 131 (citing Delegation of Authority and Assignment of Responsibility to the Administrative Review
  Board, 75 Fed. Reg. 3924, 3924–25 (Jan. 25, 2010))). In Lawson III, the Supreme Court declined to decide whether the
  ARB’s interpretations of the statute were entitled Chevron deference. Id. (citing Lawson v. FMR L.L.C., ––– U.S. ––––,
  134 S.Ct. 1158, 1165 n. 6, 188 L.Ed.2d 158 (2014)). In her dissent, Justice Sotomayor argued that Congress granted the
  SEC, rather than the Secretary of Labor, interpretive authority over § 1514A. Id. (citing Lawson III, 134 S.Ct. at 1186–87
  (Sotomayor, J., dissenting) (arguing that the ARB has not been granted interpretive authority over § 1514A)).
            In Rhinehimer, the Sixth Circuit Court of Appeals declined to reach whether the ARB’s interpretations of §
  1514A were entitled to Chevron deference and instead found them persuasive even under lesser Skidmore deference.
  Id. The court noted Skidmore deference is grounded in the recognition that “the rulings, interpretations, and opinions”
  of the agency that administers an act “constitute a body of experience and informed judgment to which courts and
  litigants may properly resort for guidance.” Id. at 809-10 (quoting Skidmore, 323 U.S. at 140, 65 S.Ct. 161). “The weight
  of such a judgment in a particular case will depend upon the thoroughness evident in its consideration, the validity of
  its reasoning, its consistency with earlier and later pronouncements, and all those factors which give it power to persuade,
  if lacking power to control.” Id. at 810 (quoting Skidmore, 323 U.S. at 140, 65 S.Ct. 161). In determining whether an
  agency’s interpretation is persuasive under Skidmore, “[courts] look to the statute’s text and design, including whether
  the [interpretation] is consistent with the congressional purpose.” Id. (quoting S. Rehab. Grp., PLLC v. Sec’y of Health
  & Human Servs., 732 F.3d 670, 685 (6th Cir.2013) (citations omitted in Rhinehimer)).

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  which common law agency might be established.” Id. Thus, in light of the ARB’s conclusion that

  a consolidated subsidiary is covered under Dodd-Frank, and the indication in the record that SBT

  was a consolidated subsidiary at all relevant times, the ARB remanded for the ALJ to determine if

  SBT was consolidated with Siemens AG at the time of the termination and, if so, whether it

  unlawfully retaliated against Johnson. Id.

  b.     Federal court decisions

         In Wiest v. Lynch, 15 F. Supp. 3d 543 (E.D. Pa. 2014), the district court relied upon the

  opinion in Johnson but did not need to decide, like the ARB in Johnson did, that Section 929A is

  a clarification of Section 806 and thus should apply to the case. Even though the court considered

  the pre-Dodd-Frank version of § 1514A and the case did not involve both a subsidiary and a parent,

  the Court finds instructive the Wiest court’s discussion on agency, as illuminated by both the

  concurrence in Johnson and the Supreme Court’s decision in Lawson III.

         In Wiest, the plaintiff sued Tyco Electronics Corporation (“Tyco”) and four individual

  defendants under § 1514A for retaliating against him for his intracompany reports of suspected fraud

  and violations of federal tax law. Wiest, 15 F. Supp. 3d at 547. The defendants filed a motion to

  dismiss raising four arguments, the last of which is relevant to the issue raised in MGI’s motion.

  According to the defendants in Wiest, Section 806 of Sarbanes–Oxley did not, at the time of the

  events alleged in the complaint, provide coverage to employees, like the plaintiff, of non-publicly

  traded subsidiaries of publicly held companies. Id. at 550. The defendants pointed out Tyco was a

  non-publicly traded subsidiary of Tyco Electronics Ltd. (“Tyco Limited”), which the defendants did

  not dispute was allegedly covered by Section 806 but which the plaintiff had not named as a



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  defendant. Id.

          The district court granted in part and denied in part the defendants’ motion to dismiss. In so

  doing, the court rejected the defendants’ assertions that the plaintiff had not sufficiently pleaded

  either an adverse employment action or a sufficient causal connection between the protected activity

  and any adverse employment action. See id. at 558–67. The court granted the motion, however, with

  respect to three of the four individually named defendants—Lynch, Curtin, and Post—but concluded

  that the plaintiff had “just barely state[d] a claim” with respect to the fourth individual, Dougherty.

  Id. at 566–67. Regarding the last issue, the district court held the plaintiff could proceed against Tyco

  and Dougherty on the grounds that Tyco was an agent of publicly held Tyco Limited. Id. at 568.

          The court did not need to decide whether to apply the post-Dodd-Frank version of § 1514A

  because the plaintiff “highlighted (without elaboration) in his Memorandum in Opposition [to the

  defendants’ motion to dismiss], section 806 provides that ‘[n]o company . . . or such agent of such

  company’ may discriminate against an employee for that employee’s protected whistleblowing

  activity.” Id. (quoting pre-Dodd-Frank version of 18 U.S.C. § 1514A(a)). In considering that version,

  the court first noted that both “parties ostensibly ignore the potential impact of the Supreme Court’s

  recent Lawson decision with respect to the question of whether an employee of an agent was covered

  by pre-Dodd–Frank section 806.” Id. (citing Lawson III, 134 S.Ct. 158). According to the court in

  Wiest, if there was any doubt, “perhaps sowed by the First Circuit Court of Appeals’ opinion” in

  Lawson II, the Supreme Court’s decision in Lawson III “should have resolved it by analogy to

  contractors.” Id.

          The court in Wiest stated there was “no reason to think that the Supreme Court’s holding in



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  Lawson does not also apply, beyond contractors of public companies, to agents of public companies

  and those agents’ employees.” Id. (noting the ARB’s discussion in Spinner v. Landau & Associates,

  L.L.C., ARB Nos. 10–111, 10–115, 2012 WL 1999677 (Dep’t of Labor May 31, 2012) “makes clear

  that at least the ARB and DOL read section 806's provisions as extending protection to employees

  of agents of publicly held companies”). The court also cited Klopfenstein I for the proposition that,

  at least with regard to the pre-Dodd-Frank version of Section 806, the ARB’s approach had been to

  determine the issue of whether a particular subsidiary or its employee is an agent of a public parent

  for purposes of the SOX employee protection provision according to principles of the general

  common law of agency. Id. at 568-69 (citing Klopfenstein I, 2006 WL 3246904, at *10 (“Nothing

  in . . . the Act, the interim and final regulations, and the common meaning of the term ‘agent’ gives

  us reason to conclude that a subsidiary, or an employee of a subsidiary, cannot ever be a parent’s

  agent for purposes of the employee protection provision.”)).

         The court noted the disagreement among lower courts and the ARB as to the scope or nature

  of the required agency relationship and further noted that at the time of the Wiest court’s decision,

  no tribunal had considered, to the Wiest court’s knowledge, “the issue of the scope or nature of the

  required agency relationship since the Supreme Court’s decision in Lawson.” Id. at 569. However,

  the Wiest court noted the ARB had recently “continued to expand section 806's coverage.” Id. (citing

  Johnson, 2011 WL 1247202). According to the court in Wiest, in reversing the ALJ on the alternative

  ground “that a consolidated subsidiary is covered under Dodd–Frank, and the indication in the record

  that [the defendant] was a consolidated subsidiary at all relevant times,” the ARB “decline[d] to

  discuss further subsidiary coverage under agency law,” but nevertheless hinted that “[t]he ALJ, by

  exclusively focusing on the agency factors upon which the [ARB’s] ruling in Klopfenstein turned,

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  failed to consider alternative bases and factors upon which common law agency might be

  established.” Id. at 570 (quoting Johnson, 2011 WL 1247202, at *12).

         The court in Wiest focused on Deputy Chief Administrative Appeals Judge E. Cooper

  Brown’s concurrence in Johnson, wherein he “addressed the agency issue in thorough detail

  suggesting the direction in which the ARB is headed.” Id. at 570. The court in Wiest quoted Judge

  Brown as follows:

         In finding the subsidiary in Klopfenstein to have acted as an agent of the publicly
         traded parent company with regard to the challenged employment action therein at
         issue, the Board focused on the common law factors relevant to a determination
         under employment law of the existence of ‘actual’ agency authority. However,
         ‘actual authority’ is not the only basis upon which common law agency may be found
         in an employment or labor law context. Common law agency contemplates at least
         two other basis for attributing legal consequences of one party’s actions to another
         party, i.e., ‘apparent authority’ and ‘respondeat superior.’ By exclusively focusing on
         the agency factors upon which the Board’s ruling in Klopfenstein turned, the ALJ in
         the instant case failed to consider these alternative bases for establishing agency
         within an employment law context. . . .


         Fundamentals of statutory construction support the conclusion that liability for
         retaliation against whistleblowing extends to an agent of a publicly traded company
         engaged in securities related activities independent of whether or not the infringing
         entity acts as the agent of the public company with respect to the challenged adverse
         employment action. . . .


         To interpret ‘agency’ under Section 806 as limited to imposing liability in only those
         situations where an entity acts as a publicly traded company’s agent in an
         employment/labor law context would fly in the face of the foregoing canons of
         statutory construction, for such an interpretation would effectively render the words
         ‘officer, employee, contractor, subcontractor’ superfluous. . . .


         We are well aware of the lower court decisions that have reached a contrary
         conclusion. Nevertheless, the rationale adopted by the courts is unpersuasive. In each
         instance, the court was concerned that viewing ‘agency’ as applicable to anything
         other than an employment/labor law context would result in expansion of Section
         806's coverage protection far beyond Congress’s intent. In Brady v. Calyon Secs., 406

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       F.Supp.2d 307 (S.D.N.Y.2005), the court refused to impose liability for
       whistleblower retaliation on a securities broker for publicly traded companies for fear
       that doing so would result in the adoption of ‘a general whistleblower protection
       provision governing the employment relationships of any privately-held employer,
       such as a local realtor or law firm, that has ever had occasion, in the normal course
       of its business, to act as an agent of a publicly traded company, even as to employees
       who had no relation whatsoever to the publicly traded company.’ 406 F.Supp.2d at
       318. For similar reasons, in Malin v. Siemens Med. Solutions Health Servs., 638
       F.Supp.2d 492 (D. Md.2008), agency liability was rejected in the absence of a
       showing that the agent acted on behalf of the public company with respect to the
       alleged retaliation. See also Rao v. Daimler Chrysler Corp., 2007 WL 1424220 (E.D.
       Mich.2007) (not reported) (general agency relationship between the public parent and
       non-public subsidiary insufficient to implicate whistleblower provisions of Section
       806).


       Assuredly, Section 806 does not go so far as to create a general whistleblower
       protection provision imposing liability on any private company or entity acting as an
       agent of a publicly traded company with respect to any matter whatsoever. However,
       a proper construction of the scope of agency coverage outside of the employment law
       context is more limited. Outside of the employment law context, an entity will be
       held independently liable as a covered agent under Section 806 where it is established
       that the entity engaged in retaliatory conduct was serving as the public company’s
       agent with respect to securities related matters.


       In terms of what a whistleblower must prove to establish the agency relationship
       referenced in Section 806, distinguishing SOX as predominantly an antifraud
       measure is significant. Construed as an antifraud provision, rather than an
       employment or labor law, it is sufficient, as an example, to establish that the
       retaliating entity exists as an agent of the publicly traded parent company for
       purposes of producing accounting or financial information which is consolidated into
       the parent’s financial reports, or that an agent or contractor facilitated fraud like the
       subsidiaries, off-the-books special purpose entities (SPEs), and the accounting firms
       that helped precipitate the financial collapse of Enron, the key corporate figure in the
       legislative history of Sarbanes–Oxley. In such instances, the focus for coverage
       purposes is on the agent’s role in preparing financial data or its participation in fraud
       or deception.


       Construing Section 806 as extending coverage to an agent of a publicly traded
       company engaged, on behalf of that company, in securities related activities, thereby
       imposing liability for whistleblower retaliation upon such an entity, is not to say that
       Section 806 precludes an employment law agency analysis for purposes of finding


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          the publicly traded company liable (or for holding the agent liable in such a context,
          as was the case in Klopfenstein). At the same time, an employment law agency
          analysis does not preclude inquiry under Section 806 into whether the entity charged
          with retaliation exists as an agent of a publicly traded company for securities related
          purposes, nor does it bar the imposition of liability upon an agent acting in such
          capacity where it independently retaliates against a whistleblower in violation of
          Section 806.


  Wiest, 15 F.Supp. 3d at 570-71 (quoting Johnson, 2011 WL 1247202, at *14–18 (Brown, J.,

  concurring) (citations, internal quotation marks, and footnotes omitted in Wiest)).

          According to the court in Wiest, in addition to Judge Brown’s “persuasive reasoning and

  possible reasons for deferring to such a position as may become a majority of the ARB’s in an

  appropriate case in the future, the Supreme Court’s decision in Lawson also suggests that Judge

  Brown’s approach is largely correct.” Id. at 571. The Wiest court noted the “main modification to

  Judge Brown’s view would be that, in addition to agency based on engagement ‘in securities related

  activities,’ agency might also be based on types of services with regard to which fraud contemplated

  under section 806 might be perpetrated (in essence, Judge Brown’s rationale). In other words, agency

  could also be based on the performance, inter alia, of accounting and tax services and the like, as

  here.” Id.

          The court in Wiest held the plaintiff’s complaint contained “sufficient allegations—although

  Mr. Wiest does not go so far as to identify, collect, and analyze them—to establish, for purposes of

  adjudicating the Defendants’ Motion to Dismiss, that Tyco acted as an agent for Tyco Limited,

  which, Defendants do not dispute, is allegedly covered by section 806.” Id. According to the court,

  if, as Judge Brown observed, “[o]utside of the employment law context, an entity will be held

  independently liable as a covered agent under Section 806 where it is established that the entity


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  engaged in retaliatory conduct was serving as the public company’s agent with respect to securities

  related matters,” it seems clear enough from the allegations in the Wiest case that Tyco served as

  Tyco Limited’s agent with respect to accounting- and tax-related matters (and that Tyco took adverse

  action against the plaintiff). Id. at 572-73 (quoting Johnson, 2011 WL 1247202, at *17).

           Unlike the court in Wiest, the court in Leshinsky I, the second case which relied upon the

  Johnson opinion which the Court finds helpful, did conclude – similar to the ARB in Johnson – that

  the Dodd-Frank amendment is a clarification of Congress’s intent with respect to the

  Sarbanes–Oxley whistleblower provision, and thus should be applied to the federal case. See

  Leshinsky v. Telvent GIT, S.A., 873 F. Supp. 2d 582 (S.D. N.Y. 2012). Leshinsky I was decided in

  2012 following the enactment of Dodd-Frank, but dealt with claims that arose prior to Dodd-Frank;

  therefore, the court discussed, in the context of its retroactivity analysis,21 the state of the law prior

  to the enactment of Dodd-Frank. Although there is no question in this case that the Dodd-Frank

  amendment applies to Plaintiff’s claims with respect to the SOX whistleblower provision, the Court

  finds the facts and detailed discussion contained in Leshinsky I illustrative here.

           In Leshinsky I, the plaintiff alleged that defendant subsidiaries Telvent Farradyne and Telvent

  Caseta, along with publicly traded defendant Telvent GIT and two individuals, wrongfully

  terminated his employment in violation of the whistleblower provisions of Sarbanes–Oxley. Id. at

  584. The plaintiff was formally employed by Telvent Farradyne, but he reported to the president of

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              In the retroactivity analysis, courts consider ambiguity and conflict in the preexisting interpretation of a
  statute an indication that the amendment to the text was intended to clarify the preexisting text rather than create a
  substantive change in the law with new legal consequences. Johnson v. Siemens Building Technologies, Inc., ARB Case
  No. 08–032 at 8–9, ALJ Case No.2005–SOX–015, 2011 WL 1247202, at *9 (Dept. of Labor ARB Mar. 31, 2011). As
  noted by the ARB in Johnson and as demonstrated herein, ALJs and the courts have varied in both theory and application
  concerning the scope of subsidiary coverage under Section 806. Id.
           Another factor courts consider in determining if an amendment is a clarification is whether the amendment is
  a reasonable interpretation of the prior statute and its legislative history. Id.

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  Telvent Caseta, in addition to continuing to report to the president of Telvent Farradyne. Id. at 585.

  There was no dispute that at all times relevant to the case Telvent GIT included the financial

  information of its subsidiaries, including Telvent Farradyne and Telvent Caseta, in its consolidated

  financial statements. Id.

          The defendants argued that pre-Dodd-Frank Section 806, by its plain language, applied only

  to employees of publicly traded companies, but that the plaintiff was employed only by non-public

  subsidiaries Telvent Farradyne and Telvent Caseta of the publicly traded defendant Telvent GIT. Id.

  at 584. Arguing the plaintiff was never directly employed by Telvent GIT, the defendants argued

  Section 806 did not apply to the case. Id.

          The court in Leshinsky held an evidentiary hearing and allowed each side to submit proposed

  findings of fact and conclusions of law following the hearing. Id. The plaintiff argued the Dodd-

  Frank amendment should be applied retroactively, and the statute, as amended by Dodd–Frank,

  makes explicit that non-public subsidiaries of publicly traded companies may be liable under

  Sarbanes–Oxley’s whistleblower provisions. Id. Alternatively, the plaintiff also argued the evidence

  established the defendants could be liable under the earlier version of the statute. Id.

          The court treated the defendants’ written and oral arguments as a Rule 12(b)(1) motion to

  dismiss. Id. According to the court, the motion required resolution of the novel question of whether

  the Dodd-Frank amendment should be applied retroactively. Id. Finding the reasoning of the ARB

  in Johnson persuasive, the court in Leshinsky I concluded the Dodd-Frank amendment is a

  clarification of Congress’s intent with respect to the Sarbanes–Oxley whistleblower provision, and

  thus it applied, giving the court subject matter jurisdiction over the plaintiff’s claims. Id. at 584, 589-



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  90.

          In its discussion of the relationship among Telvent GIT and the Telvent subsidiaries, the

  Leshinsky court noted Telvent’s subsidiaries all adhered to certain corporate branding guidelines;

  Telvent Farradyne employees were given “telvent.com” email addresses; Telvent companies used

  a uniform “Telvent” logo and color; and press releases from Telvent companies all referenced

  “Telvent GIT S.A. (NASDAQ TLVT), the Global RealTime IT Company.” Id. at 586. According

  to the court, the plaintiff’s employment agreement was written on “Telvent” letterhead and was

  signed by the president of Telvent Farradyne, and it referred to “Telvent” benefits and vacation

  entitlements as well as “Telvent” employee application forms. Id. The court further noted the parent

  company was involved, to an extent, in the day-to-day management of its subsidiaries. Id. The

  decision to terminate the plaintiff’s employment was made after discussions involving the president

  of Telvent Farradyne and the president of Telvent Caseta and others at those subsidiary companies.

  Id. at 587.

          In concluding the Dodd-Frank amendment clarifies, rather than changes, the statute’s

  meaning, and thus applied to the plaintiff’s claims, the Leshinsky court discussed the conflict and

  ambiguity regarding the statute’s meaning prior to the amendment. Id. at 589-92. As explained by

  the court in Leshinsky I, the Rao and Malin courts based their holdings on “the general principle of

  corporate law that a parent is not automatically liable for the actions of a subsidiary, absent a clear

  intent from Congress to the contrary.” Leshinsky I, 873 F. Supp. 2d at 588 (quoting Rao, 2007 WL

  1424220, at *4). The court in Leshinsky also noted the ALJs of the DOL, which was responsible for

  administering the provision, “reached widely divergent views on the issue, although a majority

  appeared to agree with the district courts’ conclusion.” Id.

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          As explained by the Leshinsky court, some ALJs interpreted the pre-Dodd-Frank “language

  of Section 806 to hold that the statute did not protect the employees of non-public subsidiaries of

  public companies.” Id. at 593. “These decisions were based upon the principle that the subsidiary

  was ‘not a publicly traded company and [was] therefore not covered by the Act,’ Grant v. Dominion

  East Ohio, No. 2004–SOX–63, 2005 WL 6185928, at *31 (DOL ALJ March 10, 2005), along with

  the ‘[t]he general principle of corporate law . . . that a parent corporation is not liable for the acts of

  its subsidiaries.’ Lowe v. Terminix Int’l Co., No. 2006–SOX–89, 2006 WL 6576807, at *5 (DOL

  ALJ Sept. 15, 2006).” Id. The court in Leshinsky I noted these decisions recognized limited

  exceptions to this rule under principles of corporate law and agency law from the employment and

  labor context. Id. The Leshinsky court elaborated as follows:

          Thus, some decisions held that a non-public subsidiary could be covered by the Act
          if the judge could pierce the corporate veil and find that ‘the parent company and its
          wholly owned subsidiary are so intertwined as to represent one entity.’ Hughart v.
          Raymond James & Assocs., Inc., No. 2004 SOX 9, 2004 WL 5308719, at *43 (DOL
          ALJ, Dec. 17, 2004); see also Bothwell v. Am. Income Life, No. 2005 SOX 57, 2005
          WL 6476839, at *7 (DOL ALJ Sept. 19, 2005) (‘Even in decisions holding that the
          whistleblower protections found in the Act apply to employees of a non-public
          subsidiary of a publicly traded company, the administrative law judges have required
          the complainants to name the publicly traded parent as a respondent and to show
          sufficient commonality of management and purpose to justify piercing the corporate
          veil and holding the parent company liable for its subsidiary’s actions.’ (citing
          cases)). Other ALJs, focusing on the term ‘agent’ from the statute itself, held that a
          non-public subsidiary could be liable if it acted as the public company’s agent with
          respect to the adverse employment action. See, e.g., Savastano v. WPP Group, PLC,
          No. 2007–SOX–34, 2007 WL 6857428, at *7 (DOL ALJ July 18, 2007) (holding that
          complainant was required to show that the non-public subsidiaries were ‘acting as
          agents of [the public parent] in connection with the termination of her employment’).
          And other decisions imported the ‘integrated enterprise test’ from labor law in order
          to ‘focus on labor relations and economic realities, rather than corporate formalities,
          to determine whether a parent corporation and its subsidiary are both liable for
          statutory violations.’ Merten v. Berkshire Hathaway, Inc., No. 2008–SOX–40, 2008
          WL 7835816, at *5 (DOL ALJ Oct. 21, 2008) (citing Pearson v. Component Tech.
          Corp., 247 F.3d 471, 485–86 (3d Cir.2001)). That test requires a plaintiff to show (1)

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         interrelation of operations; (2) common management; (3) centralized control of labor
         relations; and (4) common ownership or financial control. Id. (holding that parent and
         subsidiary were not integrated enterprise, despite extensive personnel links and
         management controls by parent).


  Id. at 593-94 (footnote omitted). In a footnote, the Leshinsky court noted these decisions also were

  not in accord as to whether an employee of a subsidiary must also name the public parent as a

  defendant. Id. at 594, n. 9 (comparing Hughart, 2004 WL 5308719, at *4 (“A publicly traded entity

  must be named in any complaint involving its subsidiaries to be held liable.”) with Lowe, 2006 WL

  6576807, at *5 (“A publicly held company does not have to be named as a respondent and it is

  possible for a privately held subsidiary of a publicly held company to fall within the Act” if the

  complainant “establish[es] an agency relationship” between the companies.)).

         “At the same time, a different line of ALJ decisions looked more broadly at the remedial

  purposes of Sarbanes–Oxley and held that these purposes would be fulfilled only if the

  whistleblower protection was interpreted to include employees of subsidiaries of the public

  company.” Id. at 594 (citing Morefield v. Exelon Servs., Inc., ALJ No. 2004 SOX 2, 2004 WL

  5030303, at *4 (DOL ALJ, Jan. 28, 2004) (“Nothing in the Act persuades me that Congress intended

  to wall off from whistleblower protection [under] Sarbanes–Oxley vast segments of corporate

  America that reside under the umbrella of publicly traded companies. . . . To limit whistleblower

  coverage exclusively to those in the know, and their contractors or agents, at the level of the

  corporate parent is not compatible with the Act’s intended purpose.”)). In Morefield, discussed

  above, the ALJ concluded “the term ‘employee of a publicly traded company’ as used in the caption

  of the whistleblower provision of Sarbanes–Oxley is sufficiently broad to include a[n officer] of a

  non-publicly traded subsidiary, within and integral to, the corporate structure” of the parent. Id. at


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  595 (citing Morefield, 2004 WL 5030303, at *3, *5; also citing Gonzalez v. Colonial Bank, No.

  2004–SOX–39, 2004 WL 5840274, at *3 (DOL ALJ Aug. 24, 2004) (declining to dismiss complaint

  where employee of subsidiary also named parent as respondent because “it is determined that

  Congress intended to provide whistleblower protection to employees of subsidiaries of publicly

  traded companies”); also citing Walters v. Deutsche Bank AG, No. 2008 SOX 70, 2009 WL

  6496755, at *20 (DOL ALJ Mar. 23, 2009) (providing comprehensive overview of “the legislative

  history, specific provisions, special policies, and purposes which anchor Sarbanes–Oxley and Section

  806,” as well as decisions interpreting the provision, and concluding that Section 806 protects

  employees of subsidiaries of public companies)).

         The Leshinsky court noted some “federal court decisions embraced the possibility that the

  statute could protect employees of non-public subsidiaries, even without piercing the corporate veil

  or finding an agency relationship.” Id. at 596. According to the Leshinsky court, in Collins v. Beazer

  Homes USA, Inc., 334 F. Supp. 2d 1365 (N.D. Ga. 2004), the district court looked to the OSHA

  regulations to determine that an employee of a non-public subsidiary of a public parent was covered

  by the statute because her employment “could be affected” by the public parent. Id. (citing Collins,

  334 F.Supp.2d at 1373 n. 7). In O’Mahony v. Accenture, Ltd., 537 F. Supp. 2d 506 (S.D.N.Y.2008),

  the plaintiff was an employee of the U.S. subsidiary of a Bermuda-based publicly traded company.

  Id. The court in Leshinsky stated as follows:

         The [O’Mahony] court examined whether it would have ‘extraterritorial jurisdiction’
         over the different entities, and concluded that it would have subject matter
         jurisdiction over the United States subsidiary ‘because the alleged wrongful conduct
         and other material acts occurred in the United States by persons located within the
         United States.’ Id. at 515. The court also held that, based upon the allegations in the
         pleadings, it was unclear to what extent the parent participated in the alleged fraud
         or retaliation, or whether the parent maintained control over the subsidiary sufficient

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           to pierce the corporate veil to hold the parent liable for the acts of its subsidiary. Id.
           But the court apparently did not question whether the fact that the plaintiff was
           employed by the subsidiary and not the public parent would have divested the court
           of jurisdiction under Section 806, even if the parent itself was not directly liable.


  Id. at 596-97.

           According to the court in Leshinsky, in Carnero v. Boston Scientific, 433 F.3d 1 (1st Cir.

  2006), a case dealing with similar issues of extraterritorial application of Section 806, the court

  assumed, “without deciding,” that an employee of foreign subsidiaries of a publicly traded U.S.

  company was a covered employee of the public company.22 Id. at 597 (citing Carnero, 433 F.3d at

  6). In Carnero, “[n]either party contested that the plaintiff was a covered employee, but the court

  noted that the plaintiff, ‘by virtue either of his own asserted contacts with [the parent] or his direct

  employment by its subsidiaries, or both, may well be an ‘employee’ of [the parent] for purposes of

  seeking whistleblower relief under Sarbanes–Oxley,’ citing both the Northern District of Georgia’s

  decision in Collins, 334 F.Supp.2d at 1373 n. 7, and the ALJ’s decision in Morefield, 2004 WL

  5030303.” Id.

           The Leshinsky court then discussed a case which acknowledged the line of ALJ decisions

  holding that non-public companies can be liable if they “acted as agents of publicly traded companies

  with respect to their employment relationships.” Id. (quoting Brady v. Calyon Securities, 406

  F.Supp.2d 307, 318 n. 6 (S.D.N.Y.2005)). According to the court in Leshinsky, the Brady court cited

  the Morefield decision “to support the proposition that ALJs have held subsidiaries liable when they


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              As pointed out by MGI in its sur-surreply, in Carnero neither party contested that the plaintiff was a covered
  employee of the parent. See Docket Entry # 119 at p. 5. In this proceeding, however, MGI has raised the issue.
  “Consequently, the assumption which facilitated the Court’s decision in Carnero, that the whistleblower was an employee
  of the publicly traded parent, is a contested issue in this proceeding.” Matter of Walters v. Deutsche Bank AG, 2009 WL
  6496755, *3 (U.S. Dept. of Labor SAROX March 23, 2009).

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  are ‘found to be almost inseparable from the publicly traded company, or subject to the same internal

  controls.’” Id.

          The Leshinsky court concluded, contrary to the defendants’ assertion, the pre-Dodd-Frank

  statute was ambiguous as to its application to employees of non-public subsidiaries, and “this

  ambiguity is confirmed by the extensive conflict among the different judicial and administrative

  decisions applying the statute.” Leshinsky I, 873 F. Supp. 2d at 597. The court in Leshinsky then

  considered whether the Dodd-Frank amendment is consistent with a reasonable interpretation of the

  prior enactment and its legislative history, noting that for purposes of SEC reporting, a “public

  company” includes its subsidiaries and several of SOX’s provisions “expressly reinforce the

  importance of a company’s subsidiaries in gaining a picture of the overall financial state of that

  company.” Id. at 599. The court noted the Leshinsky case perfectly illustrated the principle set forth

  by the ALJ in Morefield, 2004 WL 5030303, *3, wherein the ALJ stated that a publicly traded entity

  is not a “free-floating apex” and is, for Sarbanes-Oxley purposes, the sum of its constituent parts.

  Id. at 600.

          The court in Leshinsky held, in light of the policy behind Sarbanes–Oxley, and the treatment

  of subsidiaries throughout the statutory scheme, the Dodd–Frank amendments reflect a reasonable

  interpretation of Section 806. Id. at 601. The court then concluded other recent decisions did not

  preclude applying Dodd-Frank to Section 806 retroactively. Id. at 601-02. Finally, the Leshinsky

  court considered application of the earlier labor law tests (i.e. single employer, “integrated

  enterprise”). Id. at 602-03.

          The court noted that the plaintiff alternatively argued, in the event Dodd-Frank was not



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  applied retroactively, the defendants might still be liable because the subsidiaries, which directly

  employed the plaintiff, were agents of Telvent GIT. Id. In particular, the plaintiff argued that because

  “Telvent GIT directed and controlled the operations and employment decisions of its subsidiaries,”

  the plaintiff should be deemed an employee of Telvent GIT. Id. at 603. On the other hand, the

  defendants argued that a non-public subsidiary could be liable only if the plaintiff could demonstrate

  the existence of “extraordinary circumstances” that justify “treat[ing] the employees of a corporate

  entity as the employees of a related entity.” Id. (quoting Murray v. Miner, 74 F.3d 402, 404 (2d

  Cir.1996)).

          The court in Leshinsky stated “[a]pplying the earlier labor law-derived tests to this case only

  serves to further demonstrate that the amended language is more consistent with the statute’s purpose

  than the contrary reading.” Id. at 602. After setting forth the “single employer” test adapted from the

  labor and employment context, id. at 603, the court explained as follows:

          The evidentiary hearing in this case revealed many indicia of control of operations
          in general—and employment matters in particular—by Telvent GIT. For example,
          Plaintiff’s employment agreement with Farradyne was on ‘Telvent’ letterhead. And
          although the human resources or information technology functions at Farradyne were
          not administered by employees of Telvent GIT itself, the fact that these functions
          were administered out of different Telvent subsidiaries demonstrates the
          interrelationship between the subsidiaries and the parent.


          In addition, the fact that Sanchez Ortega, CEO of Telvent GIT, installed the general
          managers of Telvent’s newly acquired subsidiaries, and that those general managers
          had extensive control over day-to-day operations and personnel management,
          demonstrates some involvement by the parent, even if those managers were not
          directly consulting with the parent itself with regard to each decision. . . .


          At the same time, it is not clear that Telvent GIT was so directly involved as to meet
          the standards established by the cases that arise in the employment context. It is
          difficult to conclude that Telvent GIT's control of labor relations truly ‘exceeds the


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            control normally exercised by a parent corporation which is separate and distinct
            from the subsidiary.’. . . And it is undisputed that no representative from the parent
            itself was involved in the ‘final decision’ to terminate Plaintiff. . . . But this only
            illustrates the inappropriateness of the labor law approach to this issue.


            The ‘integrated enterprise’ test is designed to test whether a parent company can be
            liable for the employment decisions of a related entity. Thus, the test naturally
            focuses on the degree of control by the parent over employment matters. In the
            context of an employment discrimination case, it makes sense to look primarily at
            who was involved in making the decision giving rise to the charge of discrimination.
            ...


  Id. at 604 (internal citations omitted).

            As explained by the Leshinsky court, “Sarbanes–Oxley, however, is not a labor or

  employment statute—it is an anti-fraud statute concerned with corporate transparency.” Id. at 604

  (citing Johnson, 2011 WL 1247202, at *16). Relying on Judge Levin’s opinion in Walters, the

  Leshinsky court stated, as a matter of policy under Sarbanes–Oxley, “it makes more sense to focus

  on whether a subsidiary was the parent’s agent ‘for purposes of producing accounting or financial

  information which is consolidated into the parent’s financial reports,’ than whether the subsidiary

  was the parent’s agent with respect to human resources matters.” Id. at 605 (quoting Matter of

  Walters v. Deutsche Bank AG, 2009 WL 6496755, at *7 (U.S. Dept. of Labor SAROX March 23,

  2009)).

  D.        Discussion

            MGI and Plaintiff both rely on a few snapshots from the vast landscape of administrative and

  federal court decisions dealing with § 1514A, with MGI focusing on the Supreme Court’s statements

  in a different context in Lawson III that SOX retaliation claims must be asserted against a defendant-

  employer and Plaintiff focusing in his surreply on Morefield and a few other pre-Dodd-Frank federal

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  court cases. With no discussion of how the term “employee” should be interpreted in the context of

  a parent/wholly owned subsidiary relationship, MGI asserts the Supreme Court in Lawson III held

  there must be a “direct employer-employee relationship between a SOX plaintiff and the entity the

  plaintiff seeks to hold liable for alleged misdeeds.” Docket Entry # 119mat p. 4. According to MGI,

  Plaintiff was a former employee of only MPSI and not also MGI; thus, under the current version of

  § 1514A, Plaintiff’s remedy is against MPSI only.

         On the other hand, Plaintiff argues in his surreply as follows:

         As noted in the Morefield opinion, there is no question that a parent corporation
         should face SOX consequences for termination of a subsidiary employee when the
         parent’s value and performance is based on the value and performance of subsidiaries
         within its organization. A publicly traded corporation is, for Sarbanes-Oxley
         purposes, the sum of its constituent units; and Congress insisted upon accuracy and
         integrity in financial reporting at all levels of the corporate structure, including the
         non-publicly traded subsidiaries. . . . MGI has represented to investors, the
         government and the public that MPSI employees are its employees. Nowhere does
         MGI take the position that MPSI employees are not its employees EXCEPT in this
         lawsuit in order to avoid liability (and perhaps other litigation)—one of the very
         things that SOX is designed to fix. Plaintiff Juan Lozada was an employee of MPSI
         and of MGI for purposes of SOX liability.

  Docket Entry # 118 at p. 9 (emphasis in original). In its sur-surreply, MGI asserts Plaintiff has now

  asked the Court to hold MGI liable for its own alleged actions (not for the actions of MPSI), and

  “Plaintiff has not directed the Court to any authority for the proposition that an employee of a

  subsidiary can reach the parent without pleading and proving alter ego or some other theory of

  vicarious liability.” Docket Entry # 119 at p. 3.

         The Court first addresses Plaintiff’s direct liability theory raised in the surreply and supported

  by the SAC. It is the Court’s intent, in providing an exceedingly lengthy recitation of the law

  regarding § 1514A from both before and after Dodd-Frank, to minimize the analysis which must be

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  done in order to recommend MGI’s motion for summary judgment be denied on this ground. It is

  clear to the Court the interpretations of the pre-Dodd-Frank version of § 1514A set forth in the

  Morefield and Walters opinions have become even more persuasive in light of Lawson III and the

  cases interpreting § 1514A in light of Dodd-Frank’s “clarification,” including consideration of how

  the Department of Labor’s most recent regulations define “employee.”

           SOX fails to define the term “employee,” which has led to debates about how restrictively

  the term “employee” should be applied. Jonathan Lee, Whistle with A Purpose: Extending Coverage

  Under Sox to Employees Discharging Their Duties, 93 Wash. U.L. Rev. 1613, 1615 (2016). Under

  the Department of Labor regulations effective until November 2, 2011, an “employee” meant “an

  individual presently or formerly working for a company or company representative, an individual

  applying to work for a company or company representative, or an individual whose employment

  could be affected by a company or company representative,” and “company representative” meant

  any “officer, employee, contractor, subcontractor, or agent of a company.” However, the current

  regulations define “employee” as “an individual presently or formerly working for a covered person,

  an individual applying to work for a covered person, or an individual whose employment could be

  affected by a covered person.” Moody v. Am. Nat’l Ins. Co., No. 3:19-CV-00206, 2020 WL 3128259,

  at *3 (S.D. Tex. June 12, 2020) (quoting 29 C.F.R. § 1980.101(g)). “Covered person means any

  company, including any subsidiary or affiliate whose financial information is included in the

  consolidated financial statements of such company, or any nationally recognized statistical rating

  organization, or any officer, employee, contractor, subcontractor, or agent of such company or

  nationally recognized statistical rating organization.”23 Potts v. Ctr. for Excellence in Higher Educ.,
          23
           The Court affords Skidmore deference to DOL regulations. See Kshetrapal v. Dish Network, L.L.C., No.
  14-CV-3527 (PAC), 2018 WL 1474375, at *7 n. 1 (S.D. N.Y. Mar. 23, 2018), appeal withdrawn sub nom. Kshetrapal

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  Inc., 908 F.3d 610, 617 (10th Cir. 2018) (quoting 29 C.F.R. § 1980.101(f)).

          As persuasively set forth by ALJ Levin in Morefield when interpreting the pre-Dodd-Frank

  version of § 1514A, although it would not be inappropriate to view subsidiaries as “agents” as the

  complainant suggested in that case, subsidiaries, for Sarbanes-Oxley purposes, “are more than mere

  agents like an outside auditor or consultant.” Morefield, 2004 WL 5030303 at *2-*3. Noting SOX

  imposed extensive reporting and disclosure obligations on public companies, which include

  obligations to report information about the companies’ subsidiaries, the ALJ stated subsidiaries “are

  an integral part of the publicly traded company, inseparable from it for purposes of evaluating the

  integrity of its financial information.” Id. at *3. As further explained by the ALJ in Morefield:

          The publicly traded entity is not a free-floating apex. When its value and performance
          [are] based, in part, on the value and performance of component entities within its
          organization, the statute ensures that those entities are subject to internal controls
          applicable throughout the corporate structure, that they are subject to the oversight
          responsibility of the audit committee, and that the officers who sign the financials are
          aware of material information relating to the subsidiaries. A publicly traded
          corporation is, for Sarbanes-Oxley purposes, the sum of its constituent units; and
          Congress insisted upon accuracy and integrity in financial reporting at all levels of
          the corporate structure, including the non-publicly traded subsidiaries.


  Id.

          In Leshinsky I, the federal district court stated the case perfectly illustrated the principle set

  forth in Morefield. Leshinsky I, 873 F. Supp. 2d at 600 (quoting Morefield, 2004 WL 5030303, at

  *3). Explaining how, the court in Leshinsky stated as follows:

          According to the testimony at the hearing, Telvent GIT itself was effectively a
          holding company, with only approximately a dozen employees. The Telvent family
          of companies, however, had approximately 6,100 employees. Telvent GIT had annual

  v. Dish Network L.L.C., No. 18-1152, 2018 WL 3493036 (2d Cir. June 22, 2018) (citing Nielsen v. AECOM Tech. Corp.,
  762 F.3d 214, 220 (2d Cir. 2014)).

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         revenues of approximately $1.2 billion, all of which was generated by the various
         subsidiaries. Thus, the financial condition of Telvent GIT was entirely dependent
         upon the financial condition of its subsidiaries. And further, corporate malfeasance
         within Telvent GIT’s subsidiaries would directly affect the value of Telvent GIT’s
         stock. To the extent that Congress sought to protect investors in Telvent GIT through
         protection of whistleblowers who could provide valuable information about the
         workings of the company, the employees of the subsidiaries are at least as important
         as, if not more important than, the dozen employees of the parent company.


  Leshinsky I, 873 F. Supp. 2d at 600 (emphasis in original).

         In the second administrative proceeding before ALJ Levin, the plaintiff – similar to Plaintiff

  here – sued both his former employer, subsidiary Schweiz, and the parent corporation, Deutsche

  Bank AG. Walters, 2009 WL 6496755, at *2. Importantly, the ALJ framed the issue as assessing the

  direct responsibility of Deutsche Bank AG for the termination of a whistleblower who worked for

  one of its wholly owned subsidiaries, rather than predicated on derivative agency liability. After

  quoting the Morefield opinion, the ALJ in Walters concluded as follows:

         I conclude that the term ‘employee of a publicly traded company’ in Section 806 is,
         for parent/wholly owned subsidiary relationships, co-extensive with the employee
         coverage in Section 301 and includes, within its meaning, all employees of every
         constituent part of the publicly traded company, including subsidiaries and
         subsidiaries of subsidiaries which are consolidated on its balance sheets, contribute
         information to its financial reports, are covered by its internal controls and the
         oversight of its audit committee, and subject to other Sarbanes-Oxley reforms
         imposed upon the publicly traded company. . . . In summary, the scope of
         Sarbanes-Oxley whistleblower protection: ‘at a minimum, tracks the flow of financial
         and accounting information throughout the corporate structure and remains as
         permeable to the internal ‘corporate veils’ as the financial information itself,’ see,
         Morefield at 3; and considering the legislative history, specific provisions, special
         policies, and purposes which anchor Sarbanes-Oxley and Section 806, in particular,
         Bestfoods supports this conclusion.


         As such, I conclude that Complainant is, for Sarbanes-Oxley purposes, an employee
         of the publicly traded company as that term is used in Section 806, and that the
         corporate parent, Deutsche Bank AG, is directly responsible for acts of


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          discrimination against a whistleblower working in one of its operating units within
          a non-publicly traded, consolidated subsidiary of a subsidiary of a subsidiary within
          Deutsche Banks AG’s corporate family.


  Id. at *20 (internal citations omitted).

          Similar to Judge Levin in Walters, the Court concludes that under the term “employee” in

  § 1514A, as illuminated by the DOL regulations’ more recent definitions of “employee” and

  “covered person,” Plaintiff can be considered, for Sarbanes-Oxley purposes, an employee of the

  publicly traded company as that term is used in Section 806, and that the corporate parent, MGI, can

  be directly responsible for acts of retaliation against Plaintiff working in its subsidiary MPSI.

  Plaintiff contends he was an employee of both MPSI and MGI, stating in his declaration he never

  made a distinction between MPSI and MGI because “we always referred to ourselves as being

  employees of MoneyGram. . . .” Plaintiff’s Decl., p. 2. Plaintiff has presented summary judgment

  evidence in support of this assertion.

          In his declaration, Plaintiff states he learned through LinkedIn about a job opening in

  MoneyGram’s compliance department in late August 2016; he visited the MoneyGram website

  posting the job vacancy and applied for the position; and he never visited a website or applied for

  any jobs listed by “MoneyGram Payment Systems.” Plaintiff’s Decl., p. 1. Plaintiff has presented

  evidence indicating that after he applied for a job with MoneyGram, Alan Brooks, a Senior Recruiter

  for MGI, wrote Plaintiff an email in which Brooks stated, “Thank you for applying to MoneyGram

  International.” Docket Entry # 89, Ex. 17 at p. 1. Brooks initially interviewed Plaintiff for the job.

  Plaintiff’s Decl. at pp. 1-2. Brooks scheduled a second interview and stated in an email as follows:

  “Friday September 9th: Onsite interview with MoneyGram International.” Id., Ex. 19.


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         After Plaintiff was hired, Juan Manuel Gonzalez, Plaintiff’s boss, sent an email to the

  compliance department at MoneyGram on October 7, 2016, announcing that Plaintiff had been hired

  to lead the U.S. Regional Compliance Team. Id., Ex. 18. Gonzalez’s signature block indicated

  Gonzalez worked for MGI. Id. and

         In his declaration, Plaintiff states he showed his agents a MGI-issued badge that identified

  him as an employer of MGI, not MPSI. Plaintiff’s Decl., p. 3. Additionally, in testifying about MGI’s

  obligations under the FTC injunction, Derya White acknowledged the injunction’s reference to

  “defendants, officers, agents, employees, attorneys” included White, Gonzalez, and Plaintiff “in that

  . . . we were all employees of MoneyGram.” White Dep. at 91:4-94:24 (emphasis added). This

  evidence, viewed in the light most favorable to Plaintiff, raises a genuine issue of material fact on

  the issue of whether Plaintiff was an employee of MGI.

         This finding is bolstered by the fact that § 1514A forbids employers from “discharg[ing],

  demot[ing], [or] suspend[ing] . . . an employee in the terms and conditions of employment because

  of any lawful act done by the employee.” See also Lawson III, 571 U.S. at 441 (“Section 1514A's

  application to contractor employees is confirmed when we enlarge our view from the term ‘an

  employee’ to the provision as a whole. The prohibited retaliatory measures enumerated in §

  1514A(a)—discharge, demotion, suspension, threats, harassment, or discrimination in the terms and

  conditions of employment—are commonly actions an employer takes against its own employees.”)

  (emphasis in Lawson III)). In his deposition in this case, Gonzalez testified he is the individual who

  decided to terminate Plaintiff’s employment, though he partnered with his H.R. business partner

  Ponder in that decision. Gonzalez Dep. at 89:9-24. In previous briefing, Plaintiff attached an excerpt

  of the October 18, 2018 deposition of Chris Ponder, wherein Ponder stated he worked for

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  “MoneyGram.” Docket Entry # 34-7 at 23:24-25. Gonzalez testified they also partnered with

  “internal labor counsel to discuss the circumstances of the case, and everybody agreed that we were

  ready to move forward.” Id. at 89:24-90:14 (also testifying they shared information with Peter Green

  and the company’s chief compliance officer, Andy Villareal). According to Plaintiff’s declaration,

  “[w]e were told that our bosses were Andres Villarreal, the Chief Compliance Officer for

  MoneyGram and Alex Holmes, the CEO of MoneyGram International, Inc.”24 Plaintiff’s Decl., pp.

  2-3.

           Although it predates Dodd-Frank, the Court notes a federal district court within the Fifth

  Circuit reached a similar conclusion in rejecting the defendants’ similar argument in a motion for

  summary judgment. See Ciavarra v. BMC Software, 2008 WL 352273, at *3 (S.D. Tex. 2008).

  There, the plaintiff first identified a $67 million recognition issue and then was suddenly given a

  negative evaluation and ultimately terminated. Frankl v. Netopia, Inc., No. 3:05-CV-1757-B, 2008

  WL 11424145, at *5 (N.D. Tex. Apr. 24, 2008) (citing Ciavarra, 2008 WL 352273, at *4). The

  defendants (BMC Software, Inc. and BMC Software Distribution, Inc.) argued the plaintiff was an

  employee of BMC Software Distribution, Inc., a subsidiary company that was not publicly traded;

  thus, the plaintiff was not a “covered employee” for purposes of the pre-Dodd-Frank § 1514A claim.

  Ciavarra, 2008 WL 352273, at *1, *3. The court reasoned as follows:

           As an initial matter, the Court notes that Plaintiff has alleged that he was an
           employee of BMC Software, Inc., a publicly traded company, and has presented
           evidence that raises a genuine issue of material fact on that issue. Specifically,
           Plaintiff has presented evidence that he was presented with a proposed Separation
           Agreement, prepared by or at the direction of BMC Software, Inc. . . . The proposed
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             Plaintiff also points to MGI’s 2017 10-K, which provides that Alex Holmes has served as the Chief Executive
  Officer since January 2016. Docket Entry # 89 at p. 10. MGI’s 2017 10-K also lists Andres Villareal as a member of its
  executive leadership team and states that Andres Villareal has been MoneyGram International’s Chief Compliance
  Officer since March 2016. Id. at pp. 10 and 11.

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         Separation Agreement provides clearly that it is between Ciavarra and BMC
         Software, Inc. and that Ciavarra has been employed by BMC Software, Inc., the
         publicly-traded company. . . .


         Additionally, an employee of a subsidiary is a covered employee for § 1514A
         purposes where the officers of the publicly-traded parent company have the authority
         to affect the employment of the subsidiaries’ personnel. See Carnero v. Boston
         Scientific Corp., 433 F.3d 1, *6 (1st Cir.2006). Plaintiff has presented evidence that
         a BMC Software, Inc. officer was the supervisor of Plaintiff’s immediate supervisor.
         There is a fact issue as to whether the BMC Software, Inc. individual had the
         authority to affect Ciavarra’s employment. Defendants argue that the BMC Software,
         Inc. officer did not exercise any authority in connection with the decision to terminate
         Plaintiff’s employment, but there is a genuine issue of material fact regarding
         whether he possessed such authority.


         Plaintiff has presented evidence from which a trier of fact could find that he was a
         covered employee for purposes of his § 1514A claim.


  Id.; see also Carnero, 433 F.3d at 6 (Even though neither party contested that the plaintiff was a

  covered employee, the court noted the plaintiff, “by virtue either of his own asserted contacts with

  [the parent] or his direct employment by its subsidiaries, or both, may well be an ‘employee’ of [the

  parent] for purposes of seeking whistleblower relief under Sarbanes–Oxley.”).

         In finding Plaintiff has sufficiently alleged direct liability for MGI’s retaliation against

  Plaintiff in violation of § 1514A and presented evidence from which a trier of fact could find he was

  an employee of MGI for purposes of his § 1514A claim, the Court does not need to consider also the

  two other bases of parent-subsidiary liability (piercing the corporate veil theories or vicarious

  liability based on general agency principles). However, the Court would note that in addition to

  covering employees of publicly traded companies and their subsidiaries, the whistleblower protection

  provisions in SOX also cover “any officer, employee, contractor, subcontractor or agent” of a

  covered company. 18 U.S.C. § 1514A(a). For the alternative reasons set out below, under general

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  principles of agency, the Court would find there is sufficient evidence in the record to defeat

  summary judgment, especially when construing SOX as an antifraud provision rather than an

  employment or labor law.

           Even though the ALJ’s decision in Walters was not predicated on derivative agency liability,

  the ALJ addressed the administrative cases which had previously relied upon the “labor law”

  approach to dismiss whistleblower complaints against both the parent and the subsidiary. Walters,

  2009 WL 6496755, at *5. The ALJ explained that in labor law cases, the courts employ an

  “integrated enterprise test” as a “sort of labor-specific veil-piercing test” when parent/subsidiary

  relationships are involved, and the labor law test is simply another method of establishing derivative,

  rather than direct, liability upon a corporate parent for the action of its subsidiaries. Id. The ALJ

  stated the labor law approach to Section 806 was “questionable,” id. at *7, noting “proof of agency

  for financial reporting purposes or even for the commission of fraud that may wipe out the equity

  of public shareholders ha[d] not been factored into the administrative labor law decisions denying

  Section 806 coverage.” Id. at *8. According to the ALJ, “the burdens and hurdles associated with

  proof of agency for labor law purposes seem misdirected and unnecessary not only because Section

  806 imposes direct responsibility on the publicly traded company, but also because Section 806 is

  fundamentally an antifraud law, not a labor law.” Id.

            In part of Judge Brown’s concurrence in Johnson not quoted by the district court in Wiest,

  Judge Brown noted the SEC had persuasively argued in its amicus brief before the ARB that

  Sarbanes-Oxley is not predominantly a labor law but a law intended to prevent securities fraud.25
           25
              In Leshinsky II, the court noted that “ARB Opinions are entitled to some level of deference from federal
  courts, although the level of deference still remains in dispute.” Leshinsky v. Telvent GIT, S.A., 942 F. Supp. 2d 432, 443
  (S.D. N.Y. 2013) (comparing Leshinsky I, 873 F. Supp. 2d at 589 (giving Mead deference to an ARB interpretation of
  Section 806) with Wiest v. Lynch, 710 F.3d 121, 133 (3rd Cir.2013) (giving Chevron deference to ARB’s rejection of

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  Johnson, 2011 WL 1247202, at *14 (Brown, J., concurring). As noted by Judge Brown, the Supreme

  Court has repeatedly recognized such laws “should be construed ‘not technically and restrictively,

  but flexibly to effectuate [their] remedial purposes.”’ Id. (quoting Herman & MacLean v.

  Huddleston, 459 U.S. 375, 386-87 (1983) (quoting SEC v. Capital Gains Research Bureau, 375 U.S.

  180, 195 (1963))). According to Judge Brown, while the ARB in Klopfenstein I recognized agency

  coverage within an employment law context, “Section 806's distinction as an antifraud provision

  designed to facilitate SOX’s overall purpose of protecting investors and capital markets necessarily

  requires that Section 806 be construed as also extending coverage to, and imposing liability for

  retaliation upon, agents of a publicly traded company engaged in securities related activities.” Id.

  Judge Brown stated “a thorough discussion [was] warranted of the basis for recognizing that Section

  806 extends its prohibition against whistleblower retaliation to any officer, employee, contractor,

  subcontractor or agent of a publicly traded company engaged, on behalf of the public company, in

  securities related activities, and protects employees of any entity engaged in such activities from

  whistleblower retaliation by such entity regardless of whether the retaliation is or is not rendered on

  behalf of the public company.” Id. at *15.

           As noted by Judge Brown, in terms of what a whistleblower must prove to establish the

  agency relationship referenced in Section 806, distinguishing SOX as predominantly an antifraud

  measure is significant. Id. at *18. “Construed as an antifraud provision, rather than an employment

  or labor law, it is sufficient, as an example, to establish that the retaliating entity exists as an agent

  the “definitive and specific” test in Sylvester v. Parexel Int’l L.L.C., ARB Case No. 07–123, 32 IER Cases 497, 508,
  2011 WL 2517148 (ARB May 25, 2011)); also citing Wos v. E.M.A. ex rel. Johnson, –––U.S. ––––, 133 S.Ct. 1391,
  1404, 185 L.Ed.2d 471 (2013) (Breyer, J., concurring) (“I cannot measure the degree of deference with the precision
  of a mariner measuring a degree of latitude.”)). In any event, the Court finds Judge Johnson’s arguments in the Johnson
  concurrence, as relied upon by the courts in Wiest and Leshinsky I, persuasive pursuant to Skidmore v. Swift & Co., 323
  U.S. 134, 65 S.Ct. 161, 89 L.Ed. 124 (1944).

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  of the publicly traded parent company for purposes of producing accounting or financial information

  which is consolidated into the parent’s financial reports, or that an agent or contractor facilitated

  fraud like the subsidiaries, off-the-books special purpose entities (SPEs), and the accounting firms

  that helped precipitate the financial collapse of Enron, the key corporate figure in the legislative

  history of Sarbanes–Oxley. In such instances, the focus for coverage purposes is on the agent’s role

  in preparing financial data or its participation in fraud or deception.” Id. As noted by Judge Brown,

  construing Section 806 as extending coverage to an agent of a publicly traded company engaged, on

  behalf of that company, in securities related activities, thereby imposing liability for whistleblower

  retaliation upon such an entity, “is not to say that Section 806 precludes an employment law agency

  analysis for purposes of finding the publicly traded company liable (or for holding the agent liable

  in such a context, as was the case in Klopfenstein).” Id.

         In Leshinsky I, the defendants argued that because the plaintiff was employed only by non-

  public subsidiaries Tevent Farradyne and Telvent Caseta, and was never directly employed by

  publicly traded parent Telvent GIT, the plaintiff was not a covered employee. The court denied the

  defendants’ motion to dismiss, finding that the plaintiff, as an employee of the subsidiary of a public

  company whose financial information was included in the consolidated financial statements of the

  public company, was a covered employee. Leshinsky I, 873 F.Supp.2d at 605. In considering the

  plaintiff’s alternative argument under agency principles (“Telvent GIT directed and controlled the

  operations and employment decisions of its subsidiaries” and the plaintiff should therefore be

  deemed an employee of Telvent GIT), the court noted there were “many indicia of control of

  operations in general – and employment matters in particular – by Telvent GIT,” but it was not clear

  that Telvent GIT was so directly involved as to meet the standards established by the cases that arise

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  in the employment context. Id. at 603-04.

         In concluding its analysis, the Leshinsky court found noteworthy the fact that SOX is not a

  labor or employment statute but is an antifraud statute concerned with corporate transparency. Id.

  at 604. The court relied on the ALJ’s opinion in Walters and stated, as a matter of policy under

  Sarbanes–Oxley, “it makes more sense to focus on whether a subsidiary was the parent’s agent ‘for

  purposes of producing accounting or financial information which is consolidated into the parent’s

  financial reports,’ than whether the subsidiary was the parent’s agent with respect to human

  resources matters.” Id. at 605 (quoting Walters, 2009 WL 6496755, at *7). The court concluded as

  follows:

         Telvent sought to establish a uniform, global corporate brand that included all of its
         subsidiaries. Indeed, press releases by subsidiaries included a reference to the parent
         company and the fact that it is publicly traded on the NASDAQ exchange. Although
         day-to-day operational and personnel decisions were largely performed by the subsidiaries
         independently of the parent, the subsidiaries directly contributed to the financial state of the
         company, and the financial information of the subsidiaries was included in the consolidated
         financial statements of the parent. A whistleblower statute that protects investors in Telvent
         GIT would be concerned not so much with who made the day-to-day employment decisions,
         but rather with decisions that affect the value of the company.


  Leshinsky I, 873 F. Supp. 2d at 605.

         Similarly here, to the extent the Court would also need to consider general principles of

  agency under a derivative theory of liability, the Court would find sufficient evidence to create a

  genuine issue of material fact that MPSI was MGI’s agent for purposes of financial information

  which is consolidated into the parent’s financial reports or for security related matters, rather than

  focusing on human resources matters. Plaintiff alleges in his SAC that subsidiary “MPSI’s financial

  information is included in the consolidated financial statements of MGI.” Docket Entry # 21, ¶¶ 5-7.


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  MGI admitted this allegation in its answer. Docket Entry # 89, Ex. 11, ¶¶ 5-7.

          There is more. According to Plaintiff, “MGI represents to the federal government, its

  investors, and the world at large that MGI is one and the same with its subsidiaries,” including MPSI.

  Docket Entry # 118 at pp. 4-5 (citing Docket Entry # 89, Ex. 5 at p. 3). Plaintiff asserts employees

  and agents of MPSI do not distinguish between MPSI and MGI; rather, they refer to the company

  as MoneyGram. Id. at p. 5. In its 2017 Form 10-K, MGI states under “Overview” that “MoneyGram

  International, Inc. (together with our subsidiaries, ‘MoneyGram,’ the ‘Company,’ ‘we,’ ‘us,’ and

  ‘our’) is a global provider of innovative money transfer services and is recognized worldwide as a

  financial connection to friends and family.” Docket Entry # 89, Ex. 5 at p. 3. MGI further stated as

  follows: “We conduct our business primarily through our wholly-owned subsidiary, MoneyGram

  Payment Systems, Inc. (“MPSI”), under the MoneyGram brand.” Id.

          According to Plaintiff, MoneyGram also had a 2016 Global Partner Compliance Policy which

  did not identify whether it was an MGI policy or an MPSI policy. Docket Entry # 89, Ex. 8. The

  definition of “Agent” in the policy included “any party entering into a contractual relationship with

  MoneyGram or its subsidiaries and affiliates for the purposes of providing MoneyGram’s products

  and services to consumers.” Id. at n. 1. In his declaration, Plaintiff states all the materials they gave

  their agents “said MoneyGram, the policies that [they] drafted were MoneyGram policies.”

  Plaintiff’s Decl., p. 3.

          Importantly, as it relates to the alleged violations of MoneyGram policy, applicable laws and

  regulations, and government directives, Plaintiff asserts both the DPA and the 2012 Amended DPA

  combined all of MGI’s employees together in terms of oversight, with no distinction as to which



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  entity (parent or subsidiary) was actually the employer. According to Plaintiff, in both the DPA and

  the Amended DPA, MGI acquiesced and consented to recognizing all of its employees as subject to

  those agreements. Plaintiff has presented evidence indicating that MGI requires its employees,

  including employees of MPSI, to acknowledge, read, and receive training regarding the DPA and

  Amended DPA entered into between the United States of America and MGI. Plaintiff asserts the

  “Compliance employees” (Craig Bernier, Sylvia Gil, Fredy Morales, and Derya White) each

  confirmed they were informed that they were bound by the DPA and were each trained/instructed

  that their jobs encompassed addressing the deficiencies found by the DOJ against MGI.

          During his deposition, Bernier, head of anti-money laundering and counter financing of

  terrorism (AML CFT),stated he is required to comply with the DPA and the FTC’s injunction,26 and

  that in order to do that, he needs “to have an understanding of what is in there, and then [he] can also

  rely on our internal legal counsel for interpretations when things may not be clear . . . in those

  particular requirements.” Bernier Dep. at 13:2-23 (further stating it is “very important for me to have

  an understanding of the requirements to perform my job functions”). Bernier testified he signed an

  acknowledgment that he received a copy of the federal injunction. Id. at 13:24-14:9.When asked

  about the DPA entered against MGI, Bernier testified as follows:

  ·       Q.· I want you to -- let me ask you this:··As a MoneyGram manager -- you’re a senior
          manager, aren’t you?


  ·       A.· ·Yes.··Yes.


  ·       Q.· ·As a senior MoneyGram manager, do you have any responsibility for complying
          with this [DPA] agreement?
          26
              The 2018 Modified FTC Order expressly provides that “Defendant” meant MoneyGram International, Inc.,
  its subsidiaries and affiliates, and its successors and assigns.

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  ·      A.· ·Yes, I do.

  Id. at 48:23-49:4; see also id. at 47:1-7.

         Q.·I’m asking you specifically about MoneyGram’s agreement with the federal
         government. You understand that you are bound by this agreement? You, in your role
         as the head of Anti-Money Laundering and Counter Financing of Terrorism, are
         bound by this agreement?


         A.· I understand the company is bound by it.··I work for the company.··I’ve signed
         that I acknowledged it, and, yes, my job is to make some of the issues that were
         identified in the Deferred Prosecution Agreement better and not have the same
         challenges that the company was fined for in the past.


  Id. at 51:6-18 (emphasis added).

         When asked if he received training on what MoneyGram’s obligations are under the DPA

  and the injunction, Bernier testified that the company conducts annual training, including some

  training on the continuing obligations under the FTC order against MGI. Id. at 226:9-17. Similarly,

  Fredy Morales testified everybody in compliance at MoneyGram received the same training, which

  included reading the DPA. Morales Dep. at 26:18-27:19.

         In sum, under an alternative derivative analysis based on general agency principles, keeping

  in mind SOX is predominantly an antifraud measure, the Court would find the evidence of record,

  when viewed in the light most favorable to Plaintiff, is sufficient to establish that Plaintiff can be

  considered an employee of MGI as well as MPSI. The Court now considers Defendants’ combined

  motion for summary judgment, which raises the issue of whether Plaintiff is barred from litigating

  his SOX claim in this Court because the initial OSHA complaint was factually insufficient.




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                   VI. WHETHER PLAINTIFF IS BARRED FROM LITIGATING
    HIS SOX CLAIMS IN THIS COURT BECAUSE THE INITIAL OSHA COMPLAINT
                                       WAS FACTUALLY INSUFFICIENT


  A.       Applicable law, generally

           As noted above, before an employee can assert a cause of action in federal court under

  Section 806 of SOX, that employee must first file a written complaint with OSHA and allow OSHA

  to resolve the employee’s claims administratively. Wingo v. S. Co., No. 2:17-CV-01328-LSC, 2018

  WL 2416447, at *4 (N.D. Ala. May 29, 2018) (citing 18 U.S.C. § 1514A(b)(1)(A)). “The

  administrative complaint must be filed ‘[w]ithin 180 days after an alleged violation of the Act

  occurs,’ 29 C.F.R. § 1980.103(d), but ‘[n]o particular form of complaint is required.’ Id. §

  1980.103(b).” Wingo, 2018 WL 2416447, at *4. If the employee has met these requirements for a

  particular violation, and a final administrative decision has not issued within 180 days of the filing,27

  the employee can proceed with an action in federal court based on that violation. Id. (citing 18

  U.S.C. § 1514A(b)(1)(B)).

           If an employee has not exhausted their claims administratively, a court may not hear those

  claims. The purpose of an administrative charge with OSHA “is to trigger the agency’s defined


           27
                Under the Sarbanes–Oxley Act’s regulations, there are only two scenarios under which OSHA's “preliminary
  findings” may eventually become “final decisions.” Hanna v. WCI Communities, Inc., 348 F. Supp. 2d 1322, 1326 (S.D.
  Fla. 2004). Under the first scenario, a plaintiff may appeal OSHA’s preliminary findings to an ALJ for a hearing. Id. at
  1326–27 (citing 29 C.F.R. § 1980.106). Then, if the plaintiff loses in front of the ALJ, he may “file a written petition
  for review with the Administrative Review Board (‘the Board’), which has been delegated the authority to act for the
  Secretary and issue final decisions under this part.” Id. (quoting 29 C.F.R. § 1980.110(a)). In other words, under the first
  scenario, a plaintiff may exhaust his administrative appeals until he receives a “final decision” by the Department of
  Labor’s “Administrative Review Board.” Id. Under the second method, “[i]f no timely objection is filed with respect
  to . . . the preliminary order, the . . . preliminary order, . . . shall become the final decision of the Secretary, not subject
  to judicial review.” Id. (quoting 29 C.F.R. § 1980.106(b)(2)). In summary, a “preliminary order” only becomes a “final
  decision” if, either the plaintiff fails to appeal the preliminary order; or, if the preliminary order is affirmed after taking
  two subsequent administrative appeals with the DOL. Id.

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  investigation and conciliation procedures.” Wingo, 2018 WL 2416447, at *4 (quoting Wallace, 796

  F.3d at 476 (citing Sanchez v. Standard Brands, Inc., 431 F.2d 455, 466 (5th Cir. 1970))).

          Plaintiff filed a formal complaint under Section 806 of the SOX with OSHA on September

  28, 2017. OSHA complaint, Docket Entry # 109, Ex. 2. He then filed this action on January 23,

  2019. Docket Entry # 1. There is no dispute that Plaintiff first commenced the administrative process

  and then appropriately waited at least 180 days to file his district court complaint. See 18 U.S.C. §

  1514A(b)(1)(B).

  B.      Summary judgment evidence

          Plaintiff’s OSHA complaint first stated Section 806 protects, of course, employees of

  publicly-traded companies (and subsidiaries of same) from retaliation when they complain and

  “reasonably believe” (that the complained-of conduct) constitutes a violation of one of six federal

  laws, e.g., Sections 1341, 1343, 1344, or 1348, any rule or regulation of the [SEC], or any provision

  of federal law relating to fraud against shareholders. Docket Entry # 109, Ex. 2 at p. 1. Plaintiff listed

  MGI as respondent. Id. Under “facts,” Plaintiff stated he was hired on October 18, 2016, and had the

  job title of Manager, AML/CTF Regional Compliance USA. Id. at pp. 1-2. Plaintiff further stated

  as follows:

          Two of his essential responsibilities were (1) compliance with anti-money laundering
          rules and regulations; and (2) compliance with a consent decree that required, inter
          alia, compliance with anti-money laundering rules and regulations.
          In a scenario that is becoming increasingly predictable, his efforts to achieve
          compliance were met with (1) resistance; (2) outright hostility, and (3) finally
          resulted in his termination on April 4, 2017.


  Id. at p. 2.


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           Under “[p]rotected conduct,” Plaintiff stated as follows:

           This is essentially a Sharkey v. JP Morgan Chase case, with one additional twist: on
           top of violating the underlying anti-money laundering laws, the employer here
           violated an existing consent decree that prohibited future violations of the
           underlying anti-money laundering laws. (Emphasis added).28


  Id. According to Plaintiff, in addition to “on-the-job harassment, verbal abuse, isolation, and

  marginalization,” Plaintiff was terminated on April 4, 2017. Id.

           OSHA issued a determination letter on October 12, 2017. Determination letter, Docket Entry

  # 109, Ex. 3. The letter advised as follows:

           Following an investigation by a duly-authorized Investigator, the Secretary of Labor,
           acting through his agent, the Acting Regional Administrator for the Occupational
           Safety and Health Administration (OSHA), Region VI, finds there is insufficient
           evidence to prove the complaint has merit.


  Id. The letter further stated Plaintiff “did not present a prima facie showing.” Id. Because OSHA did

  not have reasonable cause to believe a violation of SOX occurred, the complaint was dismissed. Id.

  at p. 2. The letter advised Plaintiff he had “30 days from the receipt of these Findings to file

  objections and to request a hearing before an Administrative Law Judge.” Id.

           Plaintiff lodged objections on November 13, 2017, requesting a hearing in front of an ALJ.

  Docket Entry # 23-4.Thereafter, the Department of Labor opened Case Number 2018-SOX-00004,

  which it styled Juan Lozada-Leoni v. MoneyGram International. See Docket Entry # 23, Exs. 5 and

  6. As instructed in the Notice of Case Assignment and Prehearing Order, Plaintiff filed a detailed

  pleading complaint on March 5, 2018, containing the principal contentions of fact and law upon

           28
             According to Plaintiff’s OSHA complaint, in Sharkey, the Second Circuit Court of Appeals established that
  complaints pertaining to a violation of the anti-money laundering statute qualify as protected conduct under SOX. Docket
  Entry # 109, Ex. 2 at p. 2, n. 2.

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  which Plaintiff relied and citing to applicable legal authorities. Juan Lozada-Leoni’s Original

  Complaint, Docket Entry # 23-8. Plaintiff filed his First Amended Complaint on March 26, 2018.

  Docket Entry # 23-9.

         MPSI responded to Plaintiff’s First Amended Complaint on April 6, 2018. Response to

  Revised First Amended Complaint, Docket Entry # 23-10. Among other things, MPSI admitted

  MoneyGram is a party to a 2012 Deferred Prosecution Agreement; that it paid a fine in 2009 as part

  of an agreement with the Federal Trade Commission; that it terminated Plaintiff’s employment; and

  that Gonzalez told Plaintiff he was not a good fit. Id., ¶¶ 28, 37, 156. MPSI, as Respondent, further

  stated on behalf of MoneyGram that Plaintiff’s claims were barred, in whole or in part, by Plaintiff’s

  failure to exhaust his administrative remedies. Id., ¶ 225. According to MPSI, “in his September

  28, 2017, initial complaint presented to [OSHA], [Plaintiff] alleged only that his ‘protected conduct’

  included ‘efforts to achieve compliance’ with ‘anti-money laundering laws,’ and with the DPA that

  ‘prohibited future violations of the underlying anti-money laundering law.’” Id. MPSI asserted

  Plaintiff’s allegations in the amended complaint were “far broader than those [Plaintiff] presented

  to OSHA for investigation, and all such claims are barred.” Id.

         On December 19, 2018, Judge Daly set the ALJ proceeding for a bifurcated final hearing, the

  first session January 16, 2019 and the second session June 4-6, 2019. Docket Entry # 23-12. In the

  Order Establishing Hearing Filing Deadlines and Notice of Additional Hearing Session, Judge Daly

  advised the parties that at the first session the court would address all pending motions for

  appropriate relief submitted by either party; and at the second session the parties would present all

  witness testimony and any additional documentary exhibits, if any. Id. at p. 1.



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         On December 21, 2018, counsel for Plaintiff “informally notified” Judge Daly’s office of his

  client’s intention to “exercise his right under 29 C.F.R. 1980.114 to bring this matter in a U.S.

  District Court.” Docket Entry # 23-13. Specifically, Plaintiff’s counsel advised that “next week we

  will be filing the formal removal notice under Section 1980.114.” Id. Judge Daly entered an order

  suspending the existing filing deadlines until January 4, 2019 and directing Plaintiff to provide a

  copy of the federal complaint within seven days after filing in federal court. Id.

         Plaintiff filed his original complaint in federal court on January 23, 2019. Docket Entry #

  1. On January 24, 2019, Judge Daly issued an Order of Dismissal, ordering that “the complaint filed

  in this matter under the Sarbanes-Oxley Act is DISMISSED with prejudice.” Docket Entry # 23-16.

  C.     Parties’ assertions

         In their combined motion for summary judgment, Defendants raise failure to exhaust for the

  second time in this case. Whereas MPSI raised an exhaustion issue in its motion to dismiss based

  on Plaintiff’s failure to name MPSI as a respondent in the administrative complaint, Defendants now

  raise an exhaustion issue based on the sufficiency of the allegations raised in the initial OSHA

  complaint. According to Defendants, Plaintiff is limited to the sweep of the OSHA investigation that

  could reasonably be expected to ensue from Plaintiff’s OSHA complaint. Defendants describe

  Plaintiff’s OSHA complaint (which was filed by Plaintiff who is an “experienced attorney” with the

  assistance of “his then-counsel” who is a “self-professed expert in handling SOX whistleblower

  matters”) as consisting of one sentence of “vaguely-alleged ‘protected activities,’” with no

  description of what Plaintiff observed, to whom he communicated, or what he told his alleged

  audience. Docket Entry # 109 at p. 5; see also Docket Entry # 113 at p. 3.



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          Defendants assert the reasonably expected sweep of any OSHA investigation expected from

  this “purposefully vague and void of detail” complaint is “nil;” thus, Defendants argue Plaintiff’s

  claim in this case fails as a matter of law. Docket Entry # 109 at pp. 9-10. For this proposition,

  Defendants cite Wallace v. Tesoro Corp., 796 F.3d 468, 476 (5th Cir. 2015). According to

  Defendants, under Wallace, “this Court may not review what OSHA could not reasonably have been

  expected to investigate.” Id. at p. 10 (emphasis in original).

          In his response, Plaintiff asserts Wallace holds essentially that the employee has to provide

  information that he reasonably believes relates to one or more of the six categories of laws and

  regulations: “four specific types of fraud, a federal offense that related to fraud against shareholders,

  or a rule or regulation of the SEC.” Docket Entry # 110 at p. 3 (citations omitted) (emphasis added

  by Plaintiff). Thus, according to Plaintiff, “[r]ather than requiring an OSHA complaint to be factually

  specific, Wallace . . . only requires that the complaint state a ‘category’ of offense or violation of a

  ‘rule or regulation’ of the SEC.” Id.; see also id. at p. 5 (arguing the court is focused in Title VII

  cases dealing with exhaustion issues on the “category of the claim (‘sex’ verses ‘race’) rather than

  factual recitations”). Plaintiff states he clearly put OSHA and Defendants on notice of the nature of,

  and bases for, his claims and specifically stated categories of misconduct that fall within § 1514A,

  namely “violation of anti-money laundering laws” and “violation of a consent decree.” Id. at pp. 4-5.

  Plaintiff asserts any “reasonable investigation of this complaint would address the specific factual

  underpinning of the alleged violations of anti-money laundering laws as well as violations of the

  ‘consent decree’ which are the basis of this lawsuit.” Id. at p. 4.

          In their reply, Defendants reference the “detailed” OSHA complaint filed in Wallace,

  asserting “the lesson from Wallace is that the OSHA complaint must be factually specific and must

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  state every ‘category’ of law enumerated in 18 U.S.C. § 1514A that the complaint alleged observed

  being violated.” Docket Entry # 113 at p. 5, n. 2 & p. 6 (emphasis in original). According to

  Defendants, in his initial OSHA complaint, Plaintiff “made no attempt to allege that he engaged in

  protected activity, and no attempt to allege a causal link between that protected activity and any

  adverse action.” Id. at p. 7 (further stating “OSHA informed him that it was barred from

  investigating the complaint, which Lozada never sought to amend”).

  D.     Discussion

         In Trusz v. UBS Realty Investors, 2010 WL 1287148 (D. Conn. 2010), discussed above, the

  plaintiff had filed an original OSHA complaint and an amended OSHA complaint. Id. at *4. The

  plaintiff filed his complaint in federal court more than 180-days after he filed his administrative

  complaint but less then 180 days after filing the amended complaint. The defendants argued the

  amended OSHA complaint, which Trusz filed with forty new paragraphs of factual allegations,

  should constitute a new OSHA complaint and cited cases that held that “all facts raised in a SOX

  claim in federal court must first be presented to OSHA, so that OSHA can adequately fulfill its

  statutory and regulatory review obligations.” Id. (citing Willis v. Vie Fin. Group, Inc., No. 04cv435,

  2004 WL 1774575 (E.D. Pa. Aug.6, 2004); also citing Portes v. Wyeth Pharms., Inc., No. 06cv2689,

  2007 WL 2363356(WHP) (S.D. N.Y. Aug.20, 2007)). The defendants further argued “that in order

  to ‘afford OSHA the opportunity to resolve the allegations administratively,’ Willis, 2004 WL

  1774575 at * 5, OSHA must be given the full 180 days after amendment of an administrative

  complaint to consider all facts alleged.” Id.

         The court denied the motion, rejecting the defendants’ argument that the filing of an amended



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  complaint with OSHA restarted the 180-decision period under the “kick out” provision. Id. at *5.

  In so holding, the court in Trusz noted as follows:

           While Willis and Portes dismissed for lack of subject-matter jurisdiction SOX claims
           based on facts that had not been presented to OSHA,29 Trusz did give OSHA the
           opportunity to adjudicate his claims, including his amended complaint. He did not
           initiate a new OSHA complaint. Instead, he amended his initial complaint, alleging
           facts and subsequent developments related to the conduct alleged his original
           complaint. The text of the relevant OSHA statute and regulations specifically confer
           jurisdiction on federal courts 180 days after the filing of the complaint, which Trusz
           undisputedly did, and there is neither caselaw nor any statutory or regulatory
           language mandating that a plaintiff must wait an additional 180 days after he amends
           his complaint before a federal court has jurisdiction. Since 79 days passed between
           the time when after Trusz amended his complaint and when he requested that OSHA
           dismiss his complaint so he could sue in federal court, OSHA was given an
           opportunity to make a merits determination on the entirety of the allegations now
           before this Court.


  Id. at *5.

           In Sharkey v. J.P. Morgan Chase & Co., 805 F. Supp. 2d 45 (S.D. N.Y. 2011), the court

  noted it had previously granted the defendants’ motions to dismiss the plaintiff’s original complaint

           29
               As pointed out by another court, both Willis and Portes were decided under Rule 12(b)(6), not Rule 12(b)(1).
  See King v. Indiana Harbor Belt R.R., No. 2:15-CV-245-JD-PRC, 2017 WL 9565363, at *8 (N.D. Ind. Feb. 1, 2017),
  report and recommendation adopted sub nom. King v. Indiana Harbor Belt R.R. Co., No. 2:15-CV-245 JD, 2017 WL
  1089212 (N.D. Ind. Mar. 23, 2017)).
            This Court noted in its Report and Recommendation on Defendants’ motions to dismiss that Defendants had
  presented their administrative exhaustion arguments under Rules 12(b)(1) and 12(b)(6) and that the Second Circuit Court
  of Appeals recently considered whether SOX’s administrative exhaustion requirements are a jurisdictional prerequisite
  to suit, noting it had not found clear guidance among the “sister circuits.” Lozada-Leoni v. MoneyGram Int’l, Inc., No.
  5:19CV11-RWS-CMC, 2019 WL 7875058, at *4 (E.D. Tex. Nov. 25, 2019), report and recommendation adopted, No.
  519CV00011RWSCMC, 2020 WL 428080 (E.D. Tex. Jan. 28, 2020) (citing Daly v. Citigroup Inc., 939 F.3d 415, 426-
  28 (2d Cir. 2019)). According to the Second Circuit in Daly, the Fourth Circuit has assumed, without deciding, that a
  claimant’s failure to exhaust the statute’s administrative remedies would deprive a district court of jurisdiction, citing
  as support several district court cases and an administrative decision of the DOL. Id. (citing Daly, 939 F.3d at 426 (citing
  Feldman v. Law Enf’t Assocs. Corp., 752 F.3d 339, 345 n.7 (4th Cir. 2014))). Noting the court in Daly stated the Fifth
  Circuit Court of Appeals similarly implied the SOX exhaustion requirements are a jurisdictional prerequisite to suit, the
  Court considered the exhaustion arguments under Rule 12(b)(1). Id. (citing Daly, 939 F.3d at 426 (citing Heaney v.
  Prudential Real Estate Affiliates, Inc., 328 Fed. Appx. 314, 314 n.1 (5th Cir. 2009) (per curiam) (noting the court was
  “satisfied that the plaintiff exhausted his administrative remedies under the Sarbanes-Oxley Act and thus that the district
  court had jurisdiction over the matter”))).



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  because the illegal activity reported was not adequately alleged, but the plaintiff had been granted

  leave to replead. Id. at 47-48. The plaintiff then filed an amended complaint which contained

  allegations of multiple occasions on which the plaintiff reported her concerns, twelve paragraphs

  alleging that the plaintiff believed the “Suspect Client was violating one or more of the enumerated

  SOX statutes in addition to money laundering,” and thirty paragraphs and subparagraphs outlining

  the factual basis that gave rise to that belief. Id. at 48. The defendants filed another motion to dismiss

  arguing, among other things, the court lacked jurisdiction because the newly pled allegations in the

  amended complaint were not contained in the plaintiff’s OSHA complaint. Id.

          Relying on Trusz, Willis, and Fraser v. Fiduciary Trust Co., Int’l, No. 04 Civ. 6958, 2005

  WL 6328596, at *6 (S.D. N.Y. June 23, 2005), the defendants argued the new factual allegations set

  forth in paragraphs 25-36 of the amended complaint deprived the court of jurisdiction, “as these facts

  were not contained in Sharkey’s OSHA complaint.” Sharkey, 805 F. Supp. 2d at 51. The plaintiff

  argued the additional allegations in his federal court complaint were “simply more detailed

  recitations of the allegation in paragraph 12 of the OSHA complaint and [were] an extension or

  amplification of paragraph 13 of that complaint.” Id. at 52. Similar to Plaintiff here, Sharkey asserted

  “these allegations were reasonably related to the OSHA charges under EEOC precedents” and that

  therefore jurisdiction was not defeated. Id.

          The court discussed the cases relied upon by the defendants, specifically pointing out that the

  courts in both Willis and Trusz “were essentially presented with the question as to whether the SOX

  exhaustion requirement precludes recovery for a discrete act of retaliation that arose after the filing

  of the Administrative Complaint but was never presented to the administrative agency for

  investigation.” Id. at 52 (internal quotation marks and citation omitted). According to the court, in

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  Willis, the plaintiff failed to amend his administrative complaint to allege an additional act of

  retaliation (termination) after the filing of his OSHA complaint; conversely, in Trusz, the plaintiff

  had filed an amended complaint before OSHA, alleging new acts of retaliation as well as his

  termination, which occurred after the filing of the original OSHA complaint. Id. at 52-53. Noting

  there was no adverse employment action in the Sharkey case that arose after the filing of the

  plaintiff’s OSHA complaint or that was not pled in it that the plaintiff sought to complain of before

  the federal court, the court in Sharkey noted the “appropriate inquiry under SOX is not whether every

  fact forming the basis for the belief that gave rise to a plaintiff’s protected activity was previously

  administratively pled, but whether each separate and distinct claim was pled before the agency.” Id.

  at 53.

           What is more, the court stated “a refusal by this court to consider the facts alleged in the

  [federal court complaint] would be inappropriate as ‘no particular form of complaint’ is required to

  trigger a claim before OSHA, 29 C.F.R. § 1980.103(b), and the heightened pleading standards of this

  court do not apply to SOX claims filed there.” Id. (citing Sylvester v. Parexel, ARB No. 07–123, ALJ

  Nos. 2007–SOX–039, –042, slip op. at 12–13, 2011 WL 2517148 (May 25, 2011) (en banc) (holding

  heightened pleading standards to no apply to SOX claims initiated with OSHA));30 see also
           30
               The ARB at one time required employee’s communications to be related “definitively and specifically to the
  subject matter of the particular statute under which protection is afforded.” Hendrick v. ITT Engineered Valves, L.L.C.,
  No. 1:16-CV-204-SA-DAS, 2018 WL 837600, at *3 (N.D. Miss. Feb. 12, 2018) (citing Platone v. FLYI, Inc., ARB Case
  No. 04–154, 2006 WL 3246910, at *8 (ARB Sept. 29, 2006)). In Sylvester v. Parexel Int’t L.L.C., ARB No. 07–123,
  2011 WL 2517148 (ARB May 25, 2011), the ARB reconsidered the issue and interpreted SOX not to require that the
  communication definitively and specifically relate to one of the six SOX categories. Id.(citing Sylvester, 2011 WL
  2517148, at *14–*15).
            According to the ARB in Sylvester, a SOX claim begins with OSHA, where “no particular form of complaint”
  is required, except that it must be in writing and “should contain a full statement of the acts and omissions, with pertinent
  dates, which are believed to constitute the violations.” Id. (quoting 29 C.F.R. § 1980.103(b) (effective to November 2,
  2011)). The Court notes the current version, effective March 5, 2015, provides as follows: “No particular form of
  complaint is required. A complaint may be filed orally or in writing. Oral complaints will be reduced to writing by
  OSHA. If the complainant is unable to file the complaint in English, OSHA will accept the complaint in any language.”
  29 C.F.R. § 1980.103.

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  Feldman-Boland v. Stanley, No. 15CV6698, 2016 WL 3826285, at *5 (S.D. N.Y. July 13, 2016)

  (“[Gi]ven that the OHSA complaints pled allegations concerning Defendants’ ‘improper and

  unlawful broker practices,’ and because ‘no particular form of complaint’ is required to trigger a

  claim before OSHA,’ Sharkey, 805 F. Supp. 2d at 53 (quoting 29 C.F.R. § 1980.103(b)), this Court

  finds that Plaintiffs exhausted their administrative remedies with respect to their SOX claims against

  Morgan Stanley.” (internal quotation marks omitted)).

           The court in Sharkey concluded as follows:

           Accordingly, where Plaintiff’s claims, including specific adverse employment
           actions, protected activity, and the general nature of the facts that formed Plaintiff’s
           belief in violations of the enumerated statutes giving rise to the protected activity,
           were timely presented in her OSHA Complaint, and where more specific allegations
           naturally originating from those assertions have been alleged in the AC in direct
           response to this Court’s decision to grant Plaintiff leave to do so, the entirety of the
           AC is appropriately subject to the jurisdiction of this Court.


  Id. at 53-54.31

           According to current DOL regulations, for purposes of determining whether to investigate, the complainant will
  be considered to have met the required burden if the complaint on its face, supplemented as appropriate through
  interviews of the complainant, alleges the existence of facts and either direct or circumstantial evidence to meet the
  required showing, i.e., to give rise to an inference that the respondent knew or suspected that the employee engaged in
  protected activity and that the protected activity was a contributing factor in the adverse action. 29 C.F.R. §
  1980.104(e)(3) (effective March 5, 2015).

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              Later, the district judge granted the defendants’ motion for summary judgment. Sharkey v. J.P. Morgan Chase
  & Co., No. 10 CIV. 3824, 2013 WL 10796833 (S.D. N.Y. Dec. 12, 2013), vacated and remanded, 580 Fed. Appx. 28
  (2d Cir. 2014). The Second Circuit Court of Appeals vacated and remanded that decision on October 9, 2014 for
  reconsideration in light of Nielsen v. AECOM Tech. Corp., 762 F.3d 214, 221-22 (2d Cir. 2014) and Bechtel v. Admin.
  Review Bd., 710 F.3d 443, 451 (2d Cir. 2013). Sharkey v. J.P. Morgan Chase, 580 Fed. Appx. 28 (2d Cir. 2014).
            The defendants again moved for summary judgment, and on October 9, 2015, the motion was granted on the
  basis that Sharkey had failed to make a prima facie showing that any protected activity under SOX was a contributing
  factor in her firing. Sharkey v. J.P. Morgan Chase & Co., No. 10 CIV. 3824, 2015 WL 5920019 (S.D. N.Y. Oct. 9,
  2015), vacated and remanded sub nom. Sharkey v. JPMorgan Chase & Co., 660 Fed. Appx. 65 (2d Cir. 2016). The
  Second Circuit vacated and remanded that finding, holding the temporal proximity between the protected activity and
  her discharge was sufficient to establish a prima facie case. Sharkey v. JP Morgan Chase, 660 Fed. Appx. 65 (2d Cir.
  2016). The Second Circuit also declined to affirm on the basis of the defendants’ alternative ground, that Sharkey lacked
  a reasonable belief for her reports of fraud, holding the issue gave rise to disputes of fact and did not compel the
  conclusion that Sharkey lacked a reasonable belief of fraud. Id.
            After pending for nearly nine years, the case was tried to verdict before a jury in November 2017. Sharkey v.

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           Recently, a federal court considered what it called a “partial exhaustion” issue raised by the

  defendants in a motion for summary judgment on the plaintiff’s whistleblower retaliation claims:

           Although Erhart filed an administrative complaint, BofI argues that Erhart’s district
           court complaint is still improper on partial exhaustion grounds. The Bank claims his
           complaint impermissibly exceeds the scope of the administrative filing by identifying
           ‘six new categories’ of conduct Erhart believed was wrongful. . . . Consequently,
           BofI argues these categories are unexhausted and this Court ‘lacks statutory
           jurisdiction’ over part of Erhart’s claim. . . .


  Erhart v. BofI Holding, Inc., No. 15-CV-02287-BAS-NLS, 2020 WL 1550207, at *6 (S.D. Cal. Mar.

  31, 2020). The court, noting it was unaware of any binding authority addressing a partial exhaustion

  issue in the Sarbanes–Oxley context, first stated the DOL’s regulations for retaliation complaints

  under § 1514A provide that “[n]o particular form of complaint is required.” Id. (quoting 29 C.F.R.

  § 1980.103(b)). The court pointed out “a complaint may even be made orally, in which case the

  complaint ‘will be reduced to writing by OSHA.’” Id.

           According to the court, this “absence of formal pleading requirements” means “complaints

  in OSHA administrative proceedings are not expected to meet the standards of pleading that apply

  to claims filed in federal court under Rule 12(b)(6).” Id. (quoting Wadler v. Bio-Rad Labs., Inc., 141

  F. Supp. 3d 1005, 1020 (N.D. Cal. 2015); also citing Sharkey, 805 F. Supp. 2d at 53). That said, the

  court also noted “an exhaustion requirement would be meaningless if the complainant were free to

  litigate claims bearing little or no connection to the preceding administrative complaint.” Id. (quoting

  Jones v. Southpeak Interactive Corp. of Del., 777 F.3d 658, 669 (4th Cir. 2015)).

  J.P. Morgan Chase & Co., No. 10CV3824 (DLC), 2018 WL 1229831, at *1 (S.D. N.Y. Mar. 5, 2018). The defendants
  moved for post-verdict relief. Finding the award of damages reflected a verdict that was “infected by passion and
  prejudice,” the court entered judgment as a matter of law in the defendants’ favor on a portion of the damages claim,
  conditionally ordered a new trial on that portion of the damages, and ordered a new trial on liability and the remainder
  of the plaintiff’s request for damages. Id.



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           The court then set out the various approaches courts have used “when a defendant argues the

  lawsuit exceeds the scope of the OSHA complaint.” Id. at *7. According to the court,”[o]ne district

  court examined whether the administrative complaint provided the opposing party ‘fair notice’ of

  the charges against it.”32 Id. (citing Wadler, 141 F. Supp. 3d at 1020). “Another district court

  reasoned the ‘appropriate inquiry’ is ‘not whether every fact forming the basis for the belief that gave

  rise to a plaintiff’s protected activity was previously administratively pled, but whether each separate

  and distinct claim was pled before the agency.’” Id. (quoting Wong v. CKX, Inc., 890 F. Supp. 2d

  411, 418 (S.D. N.Y. 2012) (quoting Sharkey, 805 F. Supp. 2d at 53)). The court in Erhart then

  summarized the approach used by the Fourth and Fifth Circuits, wherein they “looked to their

  jurisprudence under Title VII of the Civil Rights Act to inform the Sarbanes-Oxley exhaustion

  inquiry.” Id. (citing, in its summary, Jones, 777 F.3d at 669 (quoting Evans v. Techs. Applications

  & Serv. Co., 80 F.3d 954, 963 (4th Cir. 1996)); also citing Wallace v. Tesoro Corp., 796 F.3d 468,

  476 (5th Cir. 2015)). Before discussing how the court in Erhart resolved the issue, the Court sets out

  the facts of Wallace, relied upon primarily by Defendants here.

           In Wallace, the plaintiff appealed the district court’s dismissal of his retaliation claim against

  Tesoro Corporation. Wallace, 796 F.3d at 472. The Fifth Circuit affirmed in part and reversed in

  part, finding the plaintiff did not satisfy the applicable exhaustion requirement for some of his

  allegations and failed to state a claim for others, but that the plaintiff had stated a claim relating to


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              Relying on an administrative decision, the court in Wadler reasoned an administrative complaint “is sufficient
  so long as the whistleblower complainants give an opposing party ‘fair notice’ of the charges against it.” Erhart v. BofI
  Holding, Inc., No. 15-CV-02287-BAS-NLS, 2020 WL 1550207, at *7 n. 4 (S.D. Cal. Mar. 31, 2020) (quoting Wadler,
  141 F. Supp. 3d at 1020). This standard requires only that an administrative complaint “provide (1) some facts about the
  protected activity, showing some ‘relatedness’ to the laws and regulations of one of the statutes in [the agency’s]
  jurisdiction, (2) some facts about the adverse action, (3) a general assertion of causation and (4) a description of the relief
  that is sought.” Id. (quoting In re Evans v. EPA, 2012 WL 3164358, at *6 (DOL Adm. Rev. Bd., July 31, 2012)).

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  his investigation of Tesoro’s accounting practices. Id. The Fifth Circuit noted the plaintiff had filed

  a complaint with OSHA, stating that Tesoro had retaliated against him for engaging in the following

  protected activity: “marking ‘yes’ to the retaliation questions on the certificates of compliance,

  investigating ‘the continuing anti-trust issues in Idaho Falls,’ and ‘discovering taxes collected by

  Tesoro were being booked as revenue.’” Id. at 473. The OSHA complaint did not reference price

  signaling, inconsistent discounts, or wire fraud. Id.

          After some proceedings in district court not relevant to the appeal, “Wallace filed a second

  amended complaint alleging essentially four categories of protected activity: investigating and

  reporting the booking of taxes as revenues, investigating the Idaho Falls issue, identifying retaliation

  on the certificates of compliance, and investigating and reporting suspected wire fraud from

  inconsistent discounts and price signaling.” Id.

          Tesoro moved to dismiss, and the magistrate judge recommended granting the motion as to

  the first three categories of protected activity and allowing amendment to cure deficiencies related

  to the wire fraud-based claim. Id. In addition to filing objections, Wallace filed a third amended

  complaint. Id. at 474. “Tesoro moved to dismiss it, raising for the first time the argument that the

  wire-fraud-based claims had not been presented in the OSHA complaint and were therefore

  unexhausted.” Id. The magistrate judge recommended dismissing that complaint based on the failure

  to exhaust, to which Wallace objected. Id. The district judge accepted the recommendations,

  dismissing the first three categories of protected activity from the second amended complaint. Id.

          On appeal, the Fifth Circuit used “exhaustion” as shorthand to refer to the specific concept

  of whether the plaintiff’s “OSHA complaint was sufficient to allow the district-court complaint to



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  contain the allegations of wire-fraud-based retaliation.” Id. at 475. To do that, the Fifth Circuit had

  to decide whether SOX retaliation lawsuits are limited in scope by the administrative complaint and

  whether the reach of the Wallace lawsuit exceeded what is allowed by application of that rule. Id.

  The Fifth Circuit noted both Wallace and Tesoro told the district court that the correct exhaustion

  standard was the one the Fifth Circuit applies in Title VII cases, which limits a Title VII complaint

  “to the scope of the EEOC investigation which can reasonably be expected to grow out of the charge

  of discrimination.” Id. (quoting Thomas v. Texas Department of Criminal Justice, 220 F.3d 389, 395

  (5th Cir.2000)). According to the Fifth Circuit, the district court held that Wallace did not satisfy the

  Thomas standard for his contention that he had engaged in protected activity related to suspected

  wire fraud. Id.

           On appeal, the plaintiff argued that “SOX contains no exhaustion requirement and that, to

  the contrary, merely filing a charge with OSHA that triggers an investigation is enough to permit a

  future district-court filing that is not limited by the scope of that charge.” Id. (noting the plaintiff’s

  theory was partly textual because § 1514A allows a plaintiff to bring an action “for de novo review

  in the appropriate district court”). According to the Fifth Circuit, the “guarantee of de novo review

  prevents deference to OSHA’s findings and conclusions if the employee subsequently sues, but it

  is not a complete redaction of the administrative proceeding.” Id. The Fifth Circuit noted Department

  of Labor regulations require a complaint to “‘allege the existence of facts and evidence to make a

  prima facie showing,’ including facts and evidence showing that ‘[t]he employee engaged in

  protected activity.’”33 Id. at 476 (quoting 29 C.F.R. § 1980.104(e)). The Fifth Circuit further noted

           33
             The Fifth Circuit noted in a footnote that even though the regulation states that the complaint, “supplemented
  as appropriate by interviews of the complainant,” must make out the case, the court’s exhaustion analysis was not
  changed by the fact that OSHA did not interview Wallace. Wallace v. Tesoro Corp., 796 F.3d 468, 476 n. 5 (5th Cir.
  2015). According to the Fifth Circuit, “[n]othing entitles Wallace to an interview and the chance to supplement his

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  the plaintiff, in his OSHA complaint, “was required to identify the conduct by his employer that he

  believes was illegal,” and such “exhaustion requirement is consistent with SOX’s administrative-

  enforcement mechanisms.” Id.

           The Fifth Circuit further found the district court correctly concluded that Wallace’s wire

  fraud-based protected activity was outside the scope of the OSHA complaint or any investigation it

  would reasonably prompt. Id. at 474. In so finding, the Fifth Circuit noted the reason for the

  exhaustion requirement in Title VII applies with equal force to SOX, and the “purpose is to trigger

  the agency’s defined investigation and conciliation procedures.” Id. at 476. The Fifth Circuit further

  explained the “exhaustion requirement should go only as far as is necessary to give the agency its

  initial crack at the case rather than focusing only on the four corners of the facts included in the

  original agency complaint.” Id.

           In stating the scope of a judicial complaint is “limited to the sweep of the OSHA

  investigation that can reasonably be expected to ensue from the administrative complaint,” the Fifth

  Circuit noted it was joining the Fourth Circuit Court of Appeals, which had held that “[l]itigation

  may encompass claims ‘reasonably related to the original complaint, and those developed by

  reasonable investigation of the original complaint.’” Wallace, 796 F.3d at 476 & n.7 (quoting Jones,

  777 F.3d at 699).The Fifth Circuit concluded the OSHA investigation prompted by the plaintiff’s

  OSHA complaint could not reasonably be expected to extend to the plaintiff’s belief that Tesoro was

  committing wire fraud through other practices (price signaling and inconsistent discounts) and the

  actions the plaintiff took to investigate and report those actions. Id. at 477. According to the court,



  complaint in that way; a regulation treating interview statements in a particular manner does not implicitly mean that an
  interview must occur.” Id.

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  by “failing entirely to reference a distinct category of protected activity in his OSHA complaint,

  Wallace did not file a complaint whose investigation would reach that activity.” Id.

         Having set out the facts of Wallace, the Court now returns to Erhart, wherein the court found

  persuasive the approach used by the Fifth Circuit in Wallace. Erhart, 2020 WL 1550207, at *7. The

  court in Erhart looked to the Ninth Circuit’s Title VII cases for guidance, noting the district court

  may entertain “any charges of discrimination that are likely or reasonably related to the allegations

  in the EEOC charge, or that fall within the EEOC investigation which can reasonably be expected

  to grow out the charge of discrimination.” Id. (internal quotation marks and citations omitted).

         In responding to the defendant’s argument that his OSHA complaint failed to exhaust “six

  new categories” of believed misconduct that appeared in the plaintiff’s second amended complaint

  in federal court, the plaintiff in Erhart highlighted that he submitted a cover letter with his OSHA

  complaint “that also enclosed a thumb drive of documents related to his allegations.” Id. at *8

  (further noting the thumb drive contained “the same documents Mr. Erhart had submitted to the OCC

  in early March 2015," one of which was a fifteen-page, typewritten document containing factual

  allegations that corresponded with five out of six of the categories challenged on exhaustion

  grounds). Noting an OSHA complaint is “not expected to meet the standards of pleading that apply

  to claims filed in federal court under Rule 12(b)(6),” see Wadler, 141 F. Supp. 3d at 1020, and

  further noting “[n]o particular form of complaint is required,” 29 C.F.R. § 1980.103(b), the court in

  Erhart stated a “reasonable investigation of the OSHA Complaint would encompass at least

  skimming the items Erhart submitted with his pleading.” Id. at *9. According to the court, the

  fifteen-page factual timeline and summary sufficiently aligned with almost all of the plaintiff’s

  challenged district court allegations. Id.

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          The court further noted the record did not establish the plaintiff “was trying to circumvent

  the Sarbanes–Oxley Act exhaustion requirement.” Id. (quoting Jones, 777 F.3d at 669). Although

  the plaintiff “could have more skillfully completed his administrative pleading,” the court in Erhart

  stated Sarbanes–Oxley’s “exhaustion requirement should not become a tripwire for hapless

  plaintiffs.” Id. In conclusion on this issue, the court denied the defendant’s “request to summarily

  adjudicate five of the conduct categories for Erhart’s Sarbanes–Oxley claim on exhaustion grounds,”

  but granted partial summary judgment in the defendant’s favor on Erhart’s Sarbanes–Oxley “claim

  with respect to his allegations regarding alteration of financial statements because he did not exhaust

  this issue.” Id.

          With these cases in mind, the Court does not agree with Defendants that “the lesson from

  Wallace is that the OSHA complaint must be factually specific and must state every ‘category’ of

  law enumerated in 18 U.S.C. § 1514A that the complaint alleged observed being violated.” Docket

  Entry # 113 at p. 5, n. 2 & p. 6 (emphasis in original). The Fifth Circuit in Wallace noted the

  plaintiff, in his OSHA complaint, “was required to identify the conduct by his employer that he

  believes was illegal,” noting the plaintiff failed “entirely to reference a distinct category of protected

  activity [wired-fraud issue] in his OSHA complaint.” Wallace, 796 F.3d at 476-77. The Fifth Circuit

  held one reference in the OSHA complaint to an “apparent oral agreement with a customer to match

  prices with a particular station,” which the plaintiff stated resulted in “anti-trust issues,” was

  insufficient to prompt an OSHA investigation into the plaintiff’s belief that Tesoro was committing

  wire fraud through practices such as price signaling and inconsistent discounts. Id. at 477 (further

  noting the court had similarly held that an EEOC complaint claiming sex discrimination would not

  reasonably lead to an investigation that would encompass race discrimination as a motivation for the

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  same adverse action).

          By focusing its discussion on whether the OSHA complaint, which listed anti-trust issues as

  a category of violation, should also encompass another category not referenced at all in the OSHA

  complaint, Wallace does not stand for the proposition that a complainant’s OSHA complaint must

  be factually specific, especially when considering statements of the Fourth Circuit Court of Appeals

  in Jones, which the Fifth Circuit cited in Wallace. In Jones, the Fourth Circuit stated the appellee’s

  OSHA complaint was substantially similar to her complaint in the federal court action and the

  alleged harm, a retaliatory termination, was identical. Jones, 777 F.3d at 670. According to the

  Fourth Circuit, “[n]othing more precise is required,” noting the Department of Labor regulations in

  effect at the time the appellee filed the complaint expressly provided that “[n]o particular form of

  complaint is required.” Id. (quoting 29 C.F.R. § 1980.103(b) (2009)).

          Here, although the factual allegations in the initial OSHA complaint are sparse, Plaintiff

  asserts any “reasonable investigation of this [OSHA] complaint would address the specific factual

  underpinning of the alleged violations of anti-money laundering laws as well as violations of the

  ‘consent decree’ which are the basis of this lawsuit.” Docket Entry # 110 at p. 4. The Court agrees,

  noting this is not a case where the plaintiff’s federal court complaint bears little or no connection to

  the preceding administrative complaints. The general nature of the allegations pled in the initial

  OSHA complaint and the complaint before this Court is the same. See Wong, 890 F. Supp. 2d at 418;

  see also Sharkey, 805 F.Supp. 2d at 53 (stating the “appropriate inquiry under SOX is not whether

  every fact forming the basis for the belief that gave rise to a plaintiff’s protected activity was

  previously administratively pled, but whether each separate and distinct claim was pled before the

  agency”). Plaintiff’s OSHA complaint identified the two categories of conduct by his employer that

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  Plaintiff believes were illegal: “violation of anti-money laundering laws” and “violation of a consent

  decree.”

         What is more, Plaintiff’s twenty-four page First Amended [Administrative] Complaint filed

  on March 26, 2018, wherein Plaintiff attached his initial OSHA complaint as Exhibit A, is

  substantially similar to Plaintiff’s complaint in this action. See Docket Entry # 23-9. The First

  Amended Complaint contains allegations similar to those contained in his SAC, including failure

  to comply with the DPA, factual allegations regarding specific violations of the DPA, and a

  chronological narrative containing the complainant’s protected activities and the respondent’s

  adverse actions.

         The Court finds the claims asserted in this case regarding Defendants’ alleged violation of

  anti-money laundering laws and violation of a consent decree “can reasonably be expected to grow

  out of the charges” found in the initial OSHA complaint, which were subsequently set out in more

  detail in Plaintiff’s administrative complaints before the DOL’s ALJ. OSHA was given an

  opportunity to make a merits determination on the entirety of the allegations now before this Court.

  As noted by the Fifth Circuit in Wallace, the reason for the exhaustion requirement is “to trigger the

  agency’s defined investigation and conciliation procedures.” Wallace, 796 F.3d at 476. The Fifth

  Circuit further explained the “exhaustion requirement should go only as far as is necessary to give

  the agency its initial crack at the case rather than focusing only on the four corners of the facts

  included in the original agency complaint.” Id.

         Nothing in the record before the Court suggests Plaintiff was trying to circumvent the

  Sarbanes–Oxley Act exhaustion requirement. See Jones, 777 F.3d at 669 (citing Woodford v. Ngo,



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  548 U.S. 81, 90, 126 S.Ct. 2378, 165 L.Ed.2d 368 (2006) (“[E]xhaustion requirements are designed

  to deal with parties who do not want to exhaust. . . .”)). As noted by the court in Erhart,

  Sarbanes–Oxley’s “exhaustion requirement should not become a tripwire for hapless plaintiffs.”

  Erhart, 2020 WL 1550207, at *9 (quoting Jones, 777 F.3d at 669). Recognizing a primary objective

  of exhaustion requirements is to put parties on notice of the allegations against them, see Jones, 777

  F.3d at 670, the Court also notes Defendants were put on notice of Plaintiff’s allegations against

  MoneyGram in the underlying administrative action. See Docket Entry # 23-10 (In MoneyGram’s

  Response to Revised First Amended Complaint, MoneyGram argued the detailed allegations

  Plaintiff’s First Amended Complaint were broader than those presented in the initial complaint

  presented to OSHA).

         Having determined that Plaintiff’s additional allegations are encompassed in the scope of the

  investigation that could reasonably be expected to grow out of Plaintiff’s administrative complaints,

  the Court recommends Defendants’ combined motion for summary judgment be denied.

                                    VIII. RECOMMENDATION

         Based on the foregoing, it is hereby

         RECOMMENDED that Defendant MoneyGram International, Inc.’s Motion for Summary

  Judgment, and Brief in Support (Docket Entry # 83) be DENIED. It is further

         RECOMMENDED that Defendants’ Motion for Summary Judgment, and Brief in Support

  (Docket Entry # 109) be DENIED.


                                                Objections

         Within fourteen (14) days after service of the magistrate judge’s report, any party must serve

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     and file specific written objections to the findings and recommendations of the magistrate judge.

     28 U.S.C. § 636(b)(1)(C). In order to be specific, an objection must identify the specific finding or

     recommendation to which objection is made, state the basis for the objection, and specify the place

     in the magistrate judge’s report and recommendation where the disputed determination is found. An

     objection that merely incorporates by reference or refers to the briefing before the magistrate judge
 .
     is not specific.

             Failure to file specific, written objections will bar the party from appealing the unobjected-to

     factual findings and legal conclusions of the magistrate judge that are accepted by the district court,

     except upon grounds of plain error, provided that the party has been served with notice that such

     consequences will result from a failure to object. See Douglass v. United Servs. Auto. Ass’n, 79 F.3d

     1415, 1417 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1)

     (extending the time to file objections from ten to fourteen days).

            SIGNED this 19th day of October, 2020.




                                                            ____________________________________
                                                            CAROLINE M. CRAVEN
                                                            UNITED STATES MAGISTRATE JUDGE




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